     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 1 of 76
TRUSTEE1960-051924                                          Huong Le Nguyen                                                   Pagess 1..4
                                                                  Page 1                                                              Page 3
      ·1· · · · · · · · · · · CAUSE NO. 2020-01418                         ·1·   · · · · · · · · · · · · ·I N D E X
      ·2· ·KME HOLDINGS, LLC,· · · · · ) IN THE DISTRICT COURT OF          ·2
      · · · · · · · · · · · · · · · · ·)                                   · ·   · · · · · · · · · · · · · · · · · · · · · · · PAGE
      ·3· · · · · · ·Plaintiffs,· · · ·)                                   ·3
                                                                           ·4·   ·APPEARANCES................................· · 2
      · · · · · · · · · · · · · · · · ·)
                                                                           ·5·   · · ·HUONG LE NGUYEN
      ·4· ·VS.· · · · · · · · · · · · ·) HARRIS COUNTY, TEXAS
                                                                           ·6·   ·EXAMINATION
      · · · · · · · · · · · · · · · · ·)                                   · ·   · · ·BY MS. ZIEK............................· · 5
      ·5· ·1960 FAMILY PRACTICE,· · · ·)                                   ·7
      · · ·P.A., PHYSICIANS ALLIANCE· ·)                                   ·8·   ·CORRECTIONS AND SIGNATURE..................· 183
      ·6· ·OF RED OAK, L.P., UNITED· · )                                   ·9·   ·REPORTER'S CERTIFICATION...................· 185
      · · ·MEMORIAL MEDICAL CENTER,· · )                                   10
      ·7· ·LLC, HUONG LE NGUYEN,· · · ·)                                   11
                                                                           12·   · · · · · · · · · · ·E X H I B I T S
      · · ·QUOC D. LE, AND ALEX L.· · ·)
                                                                           13·   ·NO.· · · · · ·DESCRIPTION· · · · · · · · · ·PAGE
      ·8· ·NGUYEN,· · · · · · · · · · ·) 189TH JUDICIAL DISTRICT
                                                                           · ·   ·Exhibit 21· · Second Amended Notice of
      · · · · · · · · · · · · · · · · ·)
                                                                           14·   · · · · · · · ·Intention to take the Oral
      ·9· · · · · · ·Defendants.· · · ·)                                   · ·   · · · · · · · ·Deposition of Huong Le
      10                                                                   15·   · · · · · · · ·Nguyen· · · · · · · · · · · · · ·8
      11· ·**********************************************************      · ·   ·Exhibit 22· · Tenant and Guarantor
      12· · · · · · · ·ORAL DEPOSITION OF HUONG LE NGUYEN                  16·   · · · · · · · ·Estoppel Certificate,
      · · · · · · · · · · · · · · MAY 19, 2022                             · ·   · · · · · · · ·3/27/18, 837 FM 1960 Road
      13                                                                   17·   · · · · · · · ·West, Houston, Texas· · · · · · 50
                                                                           · ·   ·Exhibit 23· · Tenant and Guarantor
      · · ·**********************************************************
                                                                           18·   · · · · · · · ·Estoppel Certificate,
      14
                                                                           · ·   · · · · · · · ·3/27/18, 845 FM 1960 Road
      15· · · · · · ·ORAL DEPOSITION OF HUONG LE NGUYEN, produced as       19·   · · · · · · · ·West, Houston, Texas· · · · · · 50
      16· ·a witness at the instance of the Plaintiff and duly sworn,      · ·   ·Exhibit 24· · Asset Purchase Agreement· · · · 60
      17· ·was taken in the above styled and numbered cause on             20·   ·Exhibit 25· · Sublease Agreement,
      18· ·Thursday, May 19, 2022, from 10:08 a.m. to 4:04 p.m.,           · ·   · · · · · · · ·LE-KME000217-LE-KME000251· · · ·72
      19· ·before SARA BIELAMOWICZ, CSR, RPR, in and for the State of      21·   ·Exhibit 26· · Consent to Sublease,
      20· ·Texas, reported by computerized stenotype machine, at the       · ·   · · · · · · · ·LE-KME000376-LE-KME000380· · · ·73
                                                                           22·   ·Exhibit 27· · Sublease Agreement (Bld 3
      21· ·offices of Porter Hedges, 1000 Main Street, 36th Floor,
                                                                           · ·   · · · · · · · ·- 847 Cypress Creek
      22· ·Houston, Texas, pursuant to the Texas Rules of Civil
                                                                           23·   · · · · · · · ·Parkway),
      23· ·Procedure and the provisions stated on the record herein.
                                                                           · ·   · · · · · · · ·LE-KME000095-LE-KME000108· · · ·74
      24                                                                   24
      25                                                                   25

                                                                  Page 2                                                              Page 4
      ·1·   · · · · · · · · · · A P P E A R A N C E S                      ·1· · · · · · · · · · · · · INDEX (Cont.)
      ·2                                                                   ·2· · Exhibit 28· · Managed Access and Service
      · ·   ·FOR THE PLAINTIFF:                                            · · · · · · · · · · Agreement· · · · · · · · · · · 102
      ·3·   · · · Ms. Robin M. Ziek                                        ·3· · Exhibit 29· · Notice of Default from KME
      · ·   · · · ROBIN M. ZIEK - ATTORNEY AT LAW
                                                                           · · · · · · · · · · Holdings, LLC· · · · · · · · · 109
      ·4·   · · · 24 Greenway Plaza, Suite 2050
                                                                           ·4· · Exhibit 30· · Defendant Huong Le
      · ·   · · · Houston, Texas· 77046
      ·5·   · · · 713.222.8030                                             · · · · · · · · · · Nguyen's Second Amended
      · ·   · · · Rziek@sbcglobal.net                                      ·5· · · · · · · · · Answer, Counterclaim and
      ·6                                                                   · · · · · · · · · · Cross-Claim· · · · · · · · · · 111
      ·7·   ·FOR THE DEFENDANT, HUONG LE NGUYEN:                           ·6· · Exhibit 31· · Invoice AR History,
      · ·   · · · Ms. Amy C. Falcon                                        · · · · · · · · · · LE-KME000011· · · · · · · · · ·137
      ·8·   · · · PORTER HEDGES, LLP                                       ·7· · Exhibit 32· · Email String, Subject:
      · ·   · · · 1000 Main Street, 36th Floor                             · · · · · · · · · · Fw: December Rent and CAM
      ·9·   · · · Houston, Texas· 77002
                                                                           ·8· · · · · · · · · Invoice, 12/20/19,
      · ·   · · · 713.226.6681
                                                                           · · · · · · · · · · LE-KME000018· · · · · · · · · ·144
      10·   · · · Afalcon@porterhedges.com
      11                                                                   ·9· · Exhibit 33· · Defendant Huong Le
      · ·   ·FOR THE DEFENDANT, UNITED MEMORIAL MEDICAL CENTER:            · · · · · · · · · · Nguyen's Objections and
      12·   · · · Ms. Sharlene A. Poyser                                   10· · · · · · · · · Responses to Subpoena
      · ·   · · · THE POYSER LAW FIRM                                      · · · · · · · · · · Duces Tecum· · · · · · · · · · 156
      13·   · · · 1001 Texas Avenue, Suite 400                             11· · Exhibit 34· · Text Messages,
      · ·   · · · Houston, Texas· 77002                                    · · · · · · · · · · LE-KME000195· · · · · · · · · ·163
      14·   · · · 832.498.5434                                             12· · Exhibit 35· · Exhibit A/B #11b, UMC
      · ·   · · · sharlene@thepoyserlawfirm.com
                                                                           · · · · · · · · · · Receivable Detail· · · · · · · 174
      15
                                                                           13
      16·   ·FOR THE DEFENDANT, ALEX L. NGUYEN:
      · ·   · · · Mr. Jeff Matthews                                        14
      17·   · · · ATTORNEY AT LAW                                          15· ·REPORTER'S NOTE:
      · ·   · · · P.O. Box 982                                             16· ·All quotations from exhibits are reflected in the manner
      18·   · · · Katy, Texas· 77492                                       17· ·in which they were read into the record and do not
      · ·   · · · 281.772.0772                                             18· ·necessarily denote an exact quote from the document.
      19·   · · · Jeff.superdocs@gmail.com                                 19
      20                                                                   20
      · ·   ·ALSO PRESENT:
                                                                           21
      21·   · · · ALEX L. NGUYEN
                                                                           22
      22·   · · · ALEXANDRA SMOOTS
      23                                                                   23
      24                                                                   24
      25                                                                   25


      888-893-3767                                                                                        TRUSTEE1960-051924
      www.lexitaslegal.com                                                                                                                     YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 2 of 76
TRUSTEE1960-051925                                               Huong Le Nguyen                                                       Pagess 5..8
                                                                    Page 5                                                                     Page 7
      ·1· · · · · · · · · · · · HUONG LE NGUYEN,                             ·1· · · · A.· I don't know what the defendant -- I know myself
      ·2· · HAVING BEEN DULY SWORN, TESTIFIED AS FOLLOWS: ·2· · is.
      ·3· · · · · · · · · · · · · · EXAMINATION                              ·3· · · · Q.· Okay.· Are you married, ma'am?
      ·4· · BY MS. ZIEK:                                                     ·4· · · · A.· Yes.
      ·5· · · · Q.· Dr. Le, my name is Robin Ziek, and I represent           ·5· · · · Q.· Who are you married to?
      ·6· · KME Holdings, LLC.· Do you understand, that ma'am?               ·6· · · · A.· Minh Nguyen, M-I-N-H N-G-U-Y-E-N.
      ·7· · · · A.· That you are represent, yes.                             ·7· · · · Q.· Okay.· Do you have any children, ma'am?
      ·8· · · · Q.· Okay.· That I am the attorney for them?                  ·8· · · · A.· Yes.
      ·9· · · · A.· Yes.                                                     ·9· · · · Q.· How many?
      10· · · · Q.· Okay.· Dr. Le, I'm going to ask you -- or I'm            10· · · · A.· Two.
      11· · going to go through a series of admonishments with you.          11· · · · Q.· And what are their names?
      12· · Have you ever had your deposition taken before?                  12· · · · A.· Michael, M-I-C-H-A-E-L, Nguyen.· Same last name.
      13· · · · A.· Yes.                                                     13· · · · Q.· Okay.· And your daughter's name?
      14· · · · Q.· Okay.· So do you recall the admonishments they           14· · · · A.· Michelle, M-I-C-H-E-L-L-E, Nguyen, N-G-U-Y-E-N.
      15· · gave you, that you must give a verbal answer to my               15· · · · Q.· Okay.· Are either --
      16· · questions so that the court reporter can take it down?           16· · · · · · · · · MS. FALCON:· Do you need her to speak up?
      17· · Correct?                                                         17· · · · · · · · · (Discussion off the record.)
      18· · · · A.· Yes.                                                     18· · · · Q.· (BY MS. ZIEK)· Dr. Le, is Michael Nguyen married?
      19· · · · Q.· Okay.· Would you also agree with me that if you          19· · · · A.· Who?· My son?
      20· · don't understand a question that I'm asking, that you will       20· · · · Q.· Yes, ma'am.
      21· · ask me to rephrase it or to ask it again until you               21· · · · A.· No.
      22· · understand the question so that you give a truthful answer       22· · · · Q.· He's not married.· Is he a doctor?
      23· · to that?· Can we have that agreement?                            23· · · · A.· No.
      24· · · · A.· Yes.                                                     24· · · · Q.· Michelle Nguyen, is she married?
      25· · · · Q.· Can we also have the agreement that if you want          25· · · · A.· No.

                                                                    Page 6                                                                     Page 8
      ·1· · to take a break at any point in time to talk to your             ·1· · · · Q.· Is she a doctor?
      ·2· · lawyer, to go to the restroom, or just to take a break           ·2· · · · A.· No.
      ·3· · from the questioning, that if there is a question that has       ·3· · · · Q.· Is your husband a doctor?
      ·4· · been asked, that you will answer that question before you ·4· · · · A.· Yes.
      ·5· · ask to take a break?· Can we have that agreement?                ·5· · · · Q.· Where do you and Mr. Nguyen -- Dr. Nguyen reside?
      ·6· · · · A.· Yes.                                                     ·6· · · · A.· 50 Palmer Crest Drive, The Woodlands 77381.
      ·7· · · · Q.· Okay.· Can we also have the agreement that you           ·7· · · · Q.· Are you the only two parties that live in that
      ·8· · will allow me to finish my questions before you begin your ·8· · residence?
      ·9· · answer so that the court reporter takes it down in a clear       ·9· · · · A.· Yes.
      10· · manner?                                                          10· · · · · · · · · (Exhibit 21 marked.)
      11· · · · A.· Yes.                                                     11· · · · Q.· (BY MS. ZIEK)· Dr. Le, it's my understanding that
      12· · · · Q.· Can I have that agreement?                               12· · you are here today in accordance with Exhibit 21.· Let me
      13· · · · A.· Yes.                                                     13· · show you.· And it's the only copy I have, unfortunately.
      14· · · · Q.· Okay.· Could you state your full name for the            14· · The other copies are for an earlier date.
      15· · record, ma'am?                                                   15· · · · · · · · · Prior to coming here, Dr. Le, have you seen
      16· · · · A.· Dr. Huong, H-U-O-N-G, Le, L-E, Nguyen,                   16· · that document?
      17· · N-G-U-Y-E-N.                                                     17· · · · A.· Yes.· I -- I'm...
      18· · · · Q.· Okay.· Do you normally go by Dr. Le?                     18· · · · · · · · · MS. FALCON:· Yes.
      19· · · · A.· Yes.                                                     19· · · · · · · · · THE WITNESS:· Yes.
      20· · · · Q.· Would it be okay if I call you Dr. Le today?             20· · · · · · · · · MS. FALCON:· Sorry.
      21· · · · A.· Yes.                                                     21· · · · A.· Yes.· Yes.
      22· · · · Q.· Okay.· Dr. Le, are you related to any of the             22· · · · Q.· (BY MS. ZIEK)· Okay.· And, Dr. Le, on the very
      23· · other guarantors in this suit, the other defendants?             23· · back, attached to it, is the subpoena duces tecum.· And
      24· · · · A.· What do you mean by "related"?                           24· · your counsel was nice enough to provide me those documents
      25· · · · Q.· Okay.· Are any of them your children?                    25· · early on with a response.· Do you recall providing


      888-893-3767                                                                                               TRUSTEE1960-051925
      www.lexitaslegal.com                                                                                                                              YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 3 of 76
TRUSTEE1960-051926                                                Huong Le Nguyen                                                      Pagess 9..12
                                                                         Page 9                                                                Page 11
      ·1· · documents pursuant to that subpoena duces tecum?                      ·1· · · · A.· Family practice.
      ·2· · · · A.· I don't think I've seen this.                                 ·2· · · · Q.· Are you boarded in family practice?
      ·3· · · · Q.· Okay.· We'll go through it in a minute, but let's             ·3· · · · A.· I was until I retire.
      ·4· · go back to your background a little bit and then we'll go             ·4· · · · Q.· Okay.· And when did you retire, Dr. Le?
      ·5· · through the listing on the back of the notice of                      ·5· · · · A.· I think 1998.· And then I went back to reinstate
      ·6· · deposition.                                                           ·6· · during COVID time.
      ·7· · · · · · · · · Are you originally from the United States?              ·7· · · · Q.· So approximately 2019 or 2020 --
      ·8· · · · A.· No.                                                           ·8· · · · A.· I'm sorry.· 2018 or 2019 -- I cannot remember --
      ·9· · · · Q.· Where were you born, ma'am?                                   ·9· · I retire.· And then COVID hits and then I went back to
      10· · · · A.· Vietnam.                                                      10· · reinstate to help out with COVID.
      11· · · · Q.· And when did you come to the United States?                   11· · · · Q.· Okay.· So you didn't retire in 1998?
      12· · · · A.· 1975.                                                         12· · · · A.· No, no, I'm sorry 20 -- I'm sorry, not 1998.
      13· · · · Q.· Okay.· And how old would you have been in 1975? 13· · 2018 or 2019, I cannot remember.
      14· · · · A.· 13.                                                           14· · · · Q.· Okay.· And when you retired, when you said you
      15· · · · Q.· Where did you go to college, ma'am?                           15· · gave up your license, did you just put it in an inactive
      16· · · · A.· Rice University.                                              16· · status?
      17· · · · Q.· And what year did you graduate?                               17· · · · A.· Correct.
      18· · · · A.· 1981.                                                         18· · · · Q.· When did you marry your husband?
      19· · · · Q.· And what degree did you have in 1981 from Rice                19· · · · A.· I don't remember.· I remember April 2nd was our
      20· · University?                                                           20· · anniversary, 19, oh I was in -- 1989 or '88, one of those
      21· · · · A.· Bachelor of Arts.                                             21· · years.
      22· · · · Q.· Okay.· Did you subsequently go to medical school? 22· · · · Q.· So pretty close to when you finished your
      23· · · · A.· Yes.                                                          23· · residency?
      24· · · · Q.· Okay.· What medical school did you attend?                    24· · · · A.· No, medical school.
      25· · · · A.· Baylor College of Medicine.                                   25· · · · Q.· Medical school, okay.

                                                                        Page 10                                                                Page 12
      ·1· · · · Q.· And what years did you go to Baylor College of                ·1· · · · · · · · · Is your husband boarded in anything?
      ·2· · Medicine?                                                             ·2· · · · A.· I don't know.· You'd have to ask him.· I know
      ·3· · · · A.· I graduate in 1985.                                           ·3· · he's a radiologist.
      ·4· · · · Q.· Okay.· And in 1985 when you graduated, did you                ·4· · · · Q.· Have you and your husband ever worked together in
      ·5· · then do a residency in any specialty?                                 ·5· · the same group of doctors before?
      ·6· · · · A.· Yes.                                                          ·6· · · · A.· We have our own separate practices.
      ·7· · · · Q.· What residency did you do?                                    ·7· · · · Q.· Okay.· What was the name of the group that you
      ·8· · · · A.· Family practice.                                              ·8· · originally worked for when you got through with your
      ·9· · · · Q.· Okay.· Did you subsequently do any fellowships?               ·9· · residency in '92?
      10· · · · A.· No.                                                           10· · · · A.· Red Oak Family Practice.
      11· · · · Q.· Once you completed your residency -- was your                 11· · · · Q.· And who owned Red Oak Family Practice?
      12· · residency also done at Baylor College of Medicine?                    12· · · · A.· It was a group of doctors.· I don't know who
      13· · · · A.· No.                                                           13· · owned it back then.
      14· · · · Q.· Where was your residency done?                                14· · · · Q.· Okay.· Did you subsequently buy into Red Oak
      15· · · · A.· Montgomery County Foundation in Conroe, Texas. 15· · Family Practice?
      16· · · · Q.· And when did your residency end?                              16· · · · A.· There was a physician who retired, Dr. Lewis
      17· · · · A.· 19 -- I'd say 1992.· Oh, I take it back.· I think             17· · Foxhall, and I did buy in, yes.
      18· · all my dates are mixed up.                                            18· · · · Q.· And how long were you with Red Oak Family
      19· · · · · · · · · I graduate from Rice in 1985.· I graduate               19· · Practice?
      20· · from Baylor in 1989.· And I finished my residency in 1992. 20· · · · A.· From 1992 to -- I don't remember.· It's been so
      21· · · · Q.· Okay.· And when you finished your residency, did              21· · long.
      22· · you then go to work for a doctor or did you go to work for            22· · · · Q.· Okay, ma'am.· When -- after you left Red Oak
      23· · a hospital?                                                           23· · Family Practice, did you sell your portion to another
      24· · · · A.· I went to work for a group of doctors.                        24· · doctor?
      25· · · · Q.· Okay.· And what was your primary practice?                    25· · · · A.· I don't know.· I think Red Oak Family Practice


      888-893-3767                                                                                                 TRUSTEE1960-051926
      www.lexitaslegal.com                                                                                                                               YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 4 of 76
TRUSTEE1960-051927                                                Huong Le Nguyen                                                  Pagess 13..16
                                                                    Page 13                                                                  Page 15
      ·1· · become 1960 Family Practice.                                      ·1· · Practice?
      ·2· · · · Q.· Did you buy out the other physicians?                     ·2· · · · A.· No.
      ·3· · · · A.· Yes.                                                      ·3· · · · Q.· At any point in time did Dr. Quoc Le and Alex
      ·4· · · · Q.· So when it became 1960 Family Practice, how many ·4· · Nguyen together own 50 percent of 1960 Family Practice?
      ·5· · owners were there?                                                ·5· · · · A.· No.
      ·6· · · · A.· It was myself, originally.                                ·6· · · · Q.· So at all points in time you were the majority
      ·7· · · · Q.· Did the ownership subsequently change?                    ·7· · shareholder in 1960 Family Practice.· Is that a correct
      ·8· · · · A.· Yes.                                                      ·8· · statement?
      ·9· · · · Q.· When did it change, ma'am?                                ·9· · · · A.· Yes.
      10· · · · A.· I don't remember.                                         10· · · · Q.· Okay.· Did Dr. Alex Nguyen subsequently leave
      11· · · · Q.· Okay.· Who else was an owner of 1960 Family               11· · 1960 Family Practice?
      12· · Practice?                                                         12· · · · A.· Yes.
      13· · · · A.· Quoc Le.                                                  13· · · · Q.· Do you recall what date?
      14· · · · Q.· And that's spelled, for the court reporter,               14· · · · A.· I don't remember -- 2018 to 2019.· I don't
      15· · Q-U-O-C -- and what was his last name?                            15· · remember exact date.
      16· · · · A.· Le, L-E.                                                  16· · · · Q.· Okay.· Did you buy out Dr. Nguyen's portion of
      17· · · · Q.· Okay.· Was that person any relationship to you?           17· · the practice?
      18· · · · A.· No.                                                       18· · · · A.· No.
      19· · · · Q.· And how much of 1960 Family Practice did the              19· · · · Q.· So what happened to Dr. Nguyen's shares of stock
      20· · other Dr. Le own?                                                 20· · in 1960 when he left?
      21· · · · A.· I don't remember.                                         21· · · · A.· They were still there.
      22· · · · Q.· Was it more than 50 percent, ma'am?                       22· · · · Q.· Setting aside the issue of the bankruptcy right
      23· · · · A.· No.                                                       23· · now, is it your statement that if -- if 1960 Family
      24· · · · Q.· Did Quoc Le subsequently leave 1960 Family                24· · Practice was not in bankruptcy, that Dr. Alex Nguyen would
      25· · Practice?                                                         25· · still own shares of stock in it?

                                                                    Page 14                                                                  Page 16
      ·1· · · · A.· Yes.                                                      ·1· · · · A.· Yes.
      ·2· · · · Q.· Do you recall when Dr. Quoc Le left?                      ·2· · · · Q.· Would the statement still be true as far as
      ·3· · · · A.· I don't remember when.                                    ·3· · Dr. Quoc Le?
      ·4· · · · Q.· Was it before 2018, ma'am?                                ·4· · · · A.· No, Dr. Quoc Le was bought out.
      ·5· · · · A.· Yes.                                                      ·5· · · · Q.· Okay.· And he was bought out by you and Dr. Alex
      ·6· · · · Q.· Did you buy his portion of the practice back,             ·6· · Nguyen?
      ·7· · ma'am?                                                            ·7· · · · A.· And Dr. Annie Hoang.· Dr. Annie Hoang came to
      ·8· · · · A.· Yes.                                                      ·8· · replace Dr. Quoc Le.
      ·9· · · · Q.· And so after Dr. Quoc Le left, you were then a            ·9· · · · Q.· So did Dr. Annie Hoang, when she replaced
      10· · hundred percent owner of 1960 Family Practice again,              10· · Dr. Quoc Le, did she buy his stock or did the company buy
      11· · correct?                                                          11· · the stock back and reissue stock to her?
      12· · · · A.· No.                                                       12· · · · A.· The company bought the stock back and reissue to
      13· · · · Q.· Okay, ma'am.· Who else was an owner?                      13· · her.
      14· · · · A.· Alex Nguyen.                                              14· · · · Q.· Was she reissued the same amount of stock that
      15· · · · Q.· Okay.· Did Dr. Nguyen, Dr. Alex Nguyen -- let me          15· · Dr. Quoc Le had?
      16· · just use first and last names.· Did Dr. Alex Nguyen buy           16· · · · A.· No.
      17· · into the practice?                                                17· · · · Q.· Was it more or less?
      18· · · · A.· Yes.                                                      18· · · · A.· Less.
      19· · · · Q.· Do you recall when?                                       19· · · · Q.· Again, setting aside the bankruptcy proceeding,
      20· · · · A.· I don't remember.                                         20· · if 1960 Family Practice was no longer -- or was not in
      21· · · · Q.· Okay.· Was there a time that you, Dr. Quoc Le,            21· · bankruptcy, would Dr. Annie Hoang still have her portion
      22· · and Alex Nguyen owned 1960 Family Practice?                       22· · of 1960 Family Practice?
      23· · · · A.· Yes.                                                      23· · · · A.· Yes.
      24· · · · Q.· At any of those times did either Dr. Quoc Le or           24· · · · Q.· So the shareholders of 1960 Family Practice at
      25· · Dr. Alex Nguyen own more than 50 percent of 1960 Family 25· · the time the bankruptcy was filed were you, Dr. Le,


      888-893-3767                                                                                             TRUSTEE1960-051927
      www.lexitaslegal.com                                                                                                                             YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 5 of 76
TRUSTEE1960-051928                                             Huong Le Nguyen                                                  Pagess 17..20
                                                                 Page 17                                                               Page 19
      ·1· · correct?                                                       ·1· · no to that shift.
      ·2· · · · A.· Yes.                                                   ·2· · · · Q.· How many independent contractors does Viventi
      ·3· · · · Q.· Dr. Alex Nguyen, correct?                              ·3· · Med, LLC, have?
      ·4· · · · A.· Correct.                                               ·4· · · · · · · · · MS. FALCON:· Objection.· Form.
      ·5· · · · Q.· And Dr. Annie Hoang, correct?                          ·5· · · · A.· I don't know.
      ·6· · · · A.· Correct.                                               ·6· · · · Q.· (BY MS. ZIEK)· Would your husband know the
      ·7· · · · Q.· Did those three -- did all three shareholders          ·7· · answers to these questions, ma'am?
      ·8· · vote to put 1960 Family Practice, PA, into bankruptcy? ·8· · · · A.· I don't know.
      ·9· · · · A.· No.                                                    ·9· · · · Q.· Do you or your husband own any other LLCs, ma'am?
      10· · · · Q.· Were they aware that you were going to file            10· · · · A.· Yes.
      11· · bankruptcy for 1960 Family Practice?                           11· · · · Q.· Okay.· Let's start with you, Dr. Le.· How many
      12· · · · A.· I don't know.                                          12· · LLCs have you been involved with?
      13· · · · Q.· Okay.· Has your medical license ever been              13· · · · · · · · · MS. FALCON:· Objection.· Form.
      14· · suspended for any reason, ma'am?                               14· · · · A.· I don't know.
      15· · · · A.· No.                                                    15· · · · Q.· (BY MS. ZIEK)· Would it be more than ten, ma'am?
      16· · · · Q.· How are you currently employed?                        16· · · · A.· I cannot -- I don't know.
      17· · · · A.· I am an independent contractor.                        17· · · · Q.· Okay.· How many are you involved with currently?
      18· · · · Q.· Okay.· When you say you're an independent              18· · · · A.· I don't -- I don't know.· I have staff that
      19· · contractor, who are you working for as an independent 19· · handle that.· I don't know.
      20· · contractor?                                                    20· · · · Q.· Okay.· Who would know the answers to these
      21· · · · A.· For a company that staff emergency room.               21· · questions of your staff?
      22· · · · Q.· So a company that staffs emergency rooms?              22· · · · A.· Stacy Williams.
      23· · · · A.· Yes.                                                   23· · · · Q.· And what company does Stacy Williams work for?
      24· · · · Q.· Okay, ma'am.· And what's the name of that              24· · · · A.· She works for Viventi Med, LLC.
      25· · company?                                                       25· · · · Q.· And how long have you known Ms. Williams?

                                                                 Page 18                                                               Page 20
      ·1· · · · A.· Viventi Med, LLC.                                      ·1· · · · A.· More than 20 years.
      ·2· · · · Q.· Could you spell that, please?                          ·2· · · · Q.· Was she originally employed by 1960 Family
      ·3· · · · A.· Viventi, V-I-V-E-N-T-I, Med, M-E-D, LLC.               ·3· · Practice, ma'am?
      ·4· · · · Q.· Do you have any own ownership in Viventi Med,          ·4· · · · A.· Yes.
      ·5· · LLC?                                                           ·5· · · · Q.· And how long was she with 1960 Family Practice?
      ·6· · · · A.· I don't think so.                                      ·6· · · · A.· More than 20 years.· I would think until the day
      ·7· · · · Q.· Does your husband have any ownership in Viventi        ·7· · it filed for bankruptcy.
      ·8· · Med, LLC?                                                      ·8· · · · Q.· After it filed for bankruptcy, did your husband
      ·9· · · · A.· Yes.                                                   ·9· · hire Ms. Williams?
      10· · · · Q.· How much of that does your husband own?                10· · · · · · · · · MS. FALCON:· Objection.· Form.
      11· · · · A.· I don't know.                                          11· · · · Q.· (BY MS. ZIEK)· Well, who at Viventi Medical, LLC,
      12· · · · Q.· Does he have any other members in that LLC with        12· · hired Ms. Williams?
      13· · him, ma'am?                                                    13· · · · · · · · · MS. FALCON:· Objection.· Form.
      14· · · · A.· I don't know.                                          14· · · · Q.· (BY MS. ZIEK)· You can answer the question,
      15· · · · Q.· Where are the offices of Viventi Med, LLC?             15· · ma'am.
      16· · · · A.· I don't know.                                          16· · · · · · · · · MS. FALCON:· If you know.
      17· · · · Q.· You don't know where your employer is, ma'am?          17· · · · A.· I don't know.
      18· · · · A.· It's -- everything is online.· I don't know where      18· · · · Q.· (BY MS. ZIEK)· Well, how did Ms. Williams know
      19· · they're located to tell --                                     19· · that there was an opening at Viventi Med, LLC?
      20· · · · Q.· Okay.· How do you find out where you are supposed 20· · · · · · · · · MS. FALCON:· Objection.· Form.
      21· · to go to staff emergency rooms?                                21· · · · A.· She hired -- they hire me as an independent
      22· · · · A.· They email me.                                         22· · contractor to staff emergency room, and I'm also their
      23· · · · Q.· And what does the email contain?                       23· · medical director for the emergency room.
      24· · · · A.· It says this location needs a physician on this        24· · · · Q.· (BY MS. ZIEK)· When you say you're the medical
      25· · date and day, can you cover that shift.· I can say yes or 25· · director for the emergency room, what emergency room?


      888-893-3767                                                                                          TRUSTEE1960-051928
      www.lexitaslegal.com                                                                                                                       YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 6 of 76
TRUSTEE1960-051929                                                  Huong Le Nguyen                                                 Pagess 21..24
                                                                     Page 21                                                                 Page 23
      ·1· · · · A.· Houston Medical Emergency Room.                            ·1· · practice?
      ·2· · · · Q.· And where is that located?                                 ·2· · · · A.· No.
      ·3· · · · A.· 2306 Rayford Road, Spring, Texas 77386.                    ·3· · · · Q.· Do you have any businesses with your children?
      ·4· · · · Q.· And who hired you as the medical director for              ·4· · · · A.· I don't understand the question.
      ·5· · that emergency room, ma'am?                                        ·5· · · · Q.· Okay, ma'am.· I'll get to it in a second.
      ·6· · · · A.· The director of human resources.                           ·6· · · · · · · · · Allergy of Texas, LLC, what is that, ma'am?
      ·7· · · · Q.· And who was that, ma'am?                                   ·7· · · · A.· It's an LLC.
      ·8· · · · A.· Melissa Igo.                                               ·8· · · · Q.· Okay.· And who runs that LLC?
      ·9· · · · Q.· And how long have you known Melissa Igo?                   ·9· · · · A.· I do.· I do.· I'm the manager.
      10· · · · A.· More than five years.                                      10· · · · Q.· You're the managing member?
      11· · · · Q.· Has Melissa Igo ever worked for 1960 Family                11· · · · A.· No, not managing.· Manager.
      12· · Practice?                                                          12· · · · Q.· Okay.· So is that LLC managed by managers and not
      13· · · · A.· Yes.                                                       13· · members, then?
      14· · · · Q.· Other than working as the medical director for             14· · · · A.· Correct.
      15· · the emergency room Houston Medical Room and working for 15· · · · Q.· Okay.· Are you the only member of Allergy of
      16· · Viventi Med, LLC, do you hold any other positions?                 16· · Texas, LLC?· I'm sorry, let me rephrase it.
      17· · · · A.· No.· I do through my various LLC but not as a              17· · · · · · · · · Are you a member of Allergy of Texas, LLC?
      18· · pay -- payroll position..                                          18· · · · A.· I don't know.
      19· · · · Q.· Well, as an independent contractor, ma'am, are             19· · · · Q.· Who would know, ma'am?
      20· · you a 1099 employee or a W-2?                                      20· · · · A.· Stacy Williams.· It's an unpaid position, so I
      21· · · · A.· I am a -- both.· I am a W-2.· No, I'm sorry, I             21· · don't know.
      22· · think I'm a W-2.                                                   22· · · · Q.· And what does Allergy of Texas, LLC, do?
      23· · · · Q.· So you are not an independent contractor?                  23· · · · A.· It's a management company/staffing.
      24· · · · A.· Yeah, I'm not an independent contractor.· I think          24· · · · Q.· And what does it staff?
      25· · originally I was an independent contractor, but I changed 25· · · · A.· It staff the administrative staff, like billing,

                                                                     Page 22                                                                 Page 24
      ·1· · my status to W-2.                                                  ·1· · collection, accounting.
      ·2· · · · Q.· And when was that status changed?                          ·2· · · · Q.· And how long has Allergy of Texas -- how long
      ·3· · · · A.· I don't remember.                                          ·3· · have you been the manager of Allergy of Texas, LLC?
      ·4· · · · Q.· Was it within the last 12 months, ma'am?                   ·4· · · · A.· Since 2019, after 1960 Family Practice sold to
      ·5· · · · A.· I don't -- it will be on the record.· I don't              ·5· · United Memorial Group.
      ·6· · remember when.                                                     ·6· · · · Q.· Okay.· Was Allergy of Texas, LLC, in existence
      ·7· · · · Q.· Okay, ma'am.· How long have you worked for                 ·7· · prior to you selling 1960 Family Practice's assets to
      ·8· · Viventi Medical, LLC?                                              ·8· · UMMC?
      ·9· · · · A.· Since COVID hit in 2019 -- I'm sorry, 2020.                ·9· · · · · · · · · MS. FALCON:· Objection.· Form.
      10· · · · Q.· Was it before or after you sold the assets of              10· · · · A.· Yes.
      11· · 1960 Family Practice to United Memorial Medical Center?            11· · · · Q.· (BY MS. ZIEK)· Were you the manager of it when
      12· · · · A.· After.                                                     12· · you were also a shareholder in 1960 Family Practice, PA?
      13· · · · Q.· And how long have you been the medical director            13· · · · A.· I don't remember.
      14· · for the emergency room?                                            14· · · · Q.· You don't remember whether you were managing it
      15· · · · A.· One year or so, since -- ever since I was hired            15· · when you were working for 1960 Family Practice, PA?
      16· · with Viventi Med.· It was -- I remember it was during              16· · · · A.· Yes.· Allergy of Texas was created to hire
      17· · COVID time, when they need someone to be the medical 17· · allergists to do allergy testing for 1960 Family Practice.
      18· · director.                                                          18· · · · Q.· And when did its purpose change?
      19· · · · Q.· And would that be, again, after you sold the               19· · · · A.· 2019, after UMMC bought 1960 Family Practice.
      20· · assets to UMMC?                                                    20· · · · Q.· So, in 2019, you, as the manager, changed the
      21· · · · A.· Yes.                                                       21· · purpose of Allergy of Texas, LLC, to become a staffing
      22· · · · Q.· Have you ever worked for your husband in any of            22· · company versus hiring allergists to do allergy testing?
      23· · his LLCs?                                                          23· · · · A.· Correct.
      24· · · · A.· No, I don't think so.                                      24· · · · Q.· And how many people does Allergy of Texas, LLC,
      25· · · · Q.· So you've never done anything with his radiology           25· · employ?


      888-893-3767                                                                                              TRUSTEE1960-051929
      www.lexitaslegal.com                                                                                                                             YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 7 of 76
TRUSTEE1960-051930                                                 Huong Le Nguyen                                                        Pagess 25..28
                                                                    Page 25                                                                     Page 27
      ·1· · · · A.· When?· During what period?                                ·1· · · · Q.· Is that pharmacy still ongoing?
      ·2· · · · Q.· I'm sorry.· From -- let's start out in 2018,              ·2· · · · A.· It was sold to UMMC in 2021.
      ·3· · before COVID.                                                     ·3· · · · Q.· And who were the members of Express Specialty,
      ·4· · · · A.· I think it didn't have anyone.· I'm sorry.                ·4· · LLC?
      ·5· · Allergy of Texas created to hire allergists to do allergy         ·5· · · · A.· It was myself and my husband.
      ·6· · testing.· For a short period of time in the mid 2000, they ·6· · · · Q.· Were you sending any of your patients to Express
      ·7· · have done a little bit of allergy testing.· And then they         ·7· · Specialty, LLC?
      ·8· · stop.· And then it was -- it has no employee.                     ·8· · · · A.· I stopped practicing medicine, seeing patients
      ·9· · · · · · · · · UMMC bought out 1960 Family Practice asset          ·9· · since 2016, so, no, I would not.· I don't have patients.
      10· · in 2019, September 2019.· The billing and collections             10· · · · Q.· Were you recommending that the doctors who worked
      11· · staff, Stacy Williams and Melissa Igo, move from 1960             11· · for 1960 Family Practice send their patients to have
      12· · Family Practice to Allergy of Texas and they create a             12· · their -- to have their prescriptions filled at Express
      13· · payroll for administrative and billing staff since                13· · Specialty, LLC?
      14· · September 19th -- since September 2019.                           14· · · · A.· No, because they're sending to their pharmacy at
      15· · · · Q.· So Stacy Williams and Michelle Igo never went to          15· · Express Specialty that's owned by the Family Practice.
      16· · work for UMMC, correct?                                           16· · The other pharmacy was not located inside the Suite 105
      17· · · · A.· Melissa Igo.                                              17· · where the Family Practice is.
      18· · · · Q.· I'm sorry.· Melissa.                                      18· · · · Q.· Okay.· Where was this pharmacy located?
      19· · · · A.· No, they did not.                                         19· · · · A.· It was located in a different location at Spring.
      20· · · · Q.· Did 1960 Family Practice ever own a pharmacy?             20· · · · Q.· Did you have any family member or relative
      21· · · · A.· Yes.                                                      21· · working at the Express Specialty, LLC, pharmacy?
      22· · · · Q.· And what was the name of the pharmacy?                    22· · · · A.· Yes.
      23· · · · A.· Express Specialty Pharmacy.                               23· · · · Q.· Who was working there?
      24· · · · Q.· Did that specific pharmacy supply all of the              24· · · · A.· Briefly my daughter.· She's a pharmacist.
      25· · pharmaceutical needs of 1960 Family Practice?                     25· · · · Q.· And when did she cease working there?

                                                                    Page 26                                                                     Page 28
      ·1· · · · A.· No.· It's a retail pharmacy.· It fills                    ·1· · · · A.· I cannot remember.· Sometime, I think, 20 -- I
      ·2· · prescription like Walgreens or CVS --                             ·2· · think she worked there 2019 after UMMC bought out the
      ·3· · · · Q.· Okay.                                                     ·3· · Family Practice pharmacy.
      ·4· · · · A.· -- for the patients of 1960 Family Practice.              ·4· · · · Q.· Did your daughter originally work for the
      ·5· · · · Q.· So that's where 1960 Family Practice would send           ·5· · pharmacy Express Specialty Pharmacy that 1960 owned?
      ·6· · the patients to have their prescriptions filled?                  ·6· · · · A.· I don't remember.· I don't know.
      ·7· · · · A.· If the patient choose that.                               ·7· · · · Q.· You don't remember if your daughter worked for
      ·8· · · · Q.· Okay.· Is that pharmacy still in existence today?         ·8· · the pharmacy you owned?
      ·9· · · · A.· No.                                                       ·9· · · · A.· No, because all pharmacy are managed by the
      10· · · · Q.· When did that pharmacy cease to exist?                    10· · pharmacist in charge.
      11· · · · A.· November 2019 or December 2019.· By the end of 11· · · · Q.· All right.· Who was the pharmacist in charge?
      12· · 2019, it was closed.                                              12· · · · A.· His name -- it was Marcia Smith.· And then it
      13· · · · Q.· Okay.· And why was the pharmacy closed?                   13· · was -- she resigned and Freeman -- somebody named Freeman
      14· · · · A.· Because the pharmacy was losing money.                    14· · something.
      15· · · · Q.· How long had the pharmacy been losing money,              15· · · · Q.· And who hired the managing pharmacist?
      16· · ma'am?                                                            16· · · · A.· They have a manager there.· Her name is Julia
      17· · · · A.· For a year -- a year or more.                             17· · Valdez.
      18· · · · Q.· Have you ever opened any other pharmacy?                  18· · · · Q.· And so you would not have been the person who
      19· · · · A.· Yes.                                                      19· · would have ever interviewed the pharmacist that worked
      20· · · · Q.· When was that pharmacy opened?                            20· · either for Express Specialty Pharmacy and/or Express
      21· · · · A.· When?· I don't remember.· 20 -- in the mid 2000s. 21· · Specialty, LLC.· Is that a correct statement?
      22· · I cannot remember the exact date.                                 22· · · · A.· I don't get involved in the day-to-day operation.
      23· · · · Q.· So in the mid 2000s, what other pharmacy did you          23· · · · Q.· That wasn't the question, ma'am.
      24· · open?                                                             24· · · · · · · · · MS. ZIEK:· Objection.· Nonresponsive.
      25· · · · A.· Express Specialty, LLC.                                   25· · · · Q.· (BY MS. ZIEK)· The question was did you ever


      888-893-3767                                                                                               TRUSTEE1960-051930
      www.lexitaslegal.com                                                                                                                                YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 8 of 76
TRUSTEE1960-051931                                               Huong Le Nguyen                                                    Pagess 29..32
                                                                      Page 29                                                              Page 31
      ·1· · interview the pharmacists for those positions?                      ·1· · Houston, LLC, own?
      ·2· · · · A.· No.                                                         ·2· · · · A.· I don't understand the question.
      ·3· · · · Q.· Including your daughter?                                    ·3· · · · Q.· Does it own the hospital, ma'am?
      ·4· · · · A.· Marcia interview my daughter.                               ·4· · · · A.· Yes.
      ·5· · · · Q.· Where does your daughter currently work?                    ·5· · · · Q.· And where is that hospital located?
      ·6· · · · A.· She went -- after that -- she was there for --              ·6· · · · A.· It's on Red Oak.
      ·7· · very briefly as a relief -- they call a relief pharmacist.          ·7· · · · Q.· And how many beds does that hospital have?
      ·8· · · · Q.· Yes, ma'am.                                                 ·8· · · · A.· 16.
      ·9· · · · A.· And then she went to work at Kroger Pharmacy.               ·9· · · · Q.· Who runs the hospital Providence Hospital of
      10· · · · Q.· And I believe your earlier testimony is your                10· · North Houston, LLC?· Who operates it?
      11· · daughter is not married.· Is that correct?                          11· · · · A.· CEO, COO.
      12· · · · A.· Correct.                                                    12· · · · Q.· And are the CEO and the COO -- excuse me, are
      13· · · · Q.· Does she have a significant other she lives with?           13· · they employees of Providence Hospital of North Houston,
      14· · · · · · · · · MS. FALCON:· Objection.· Form.                        14· · LLC, or a different entity?
      15· · · · A.· I think that's...                                           15· · · · A.· They were employed by TMMS staffing that staff
      16· · · · Q.· (BY MS. ZIEK)· Do you have any grandkids, ma'am? 16· · the Providence Hospital of North Houston.
      17· · · · A.· No, I don't.                                                17· · · · Q.· And do you-all have any interest in that staffing
      18· · · · Q.· Texas Radiology Associates, who owns that                   18· · company?
      19· · business, ma'am?                                                    19· · · · A.· Yes.
      20· · · · A.· My husband.                                                 20· · · · · · · · · MS. FALCON:· Objection.· Form.
      21· · · · Q.· Was that business started while you were in --              21· · · · A.· TMMS.
      22· · while you were married to him?                                      22· · · · Q.· (BY MS. ZIEK)· Is that a yes?
      23· · · · A.· I don't know.                                               23· · · · A.· Yes.
      24· · · · Q.· I think you earlier testified that you and your             24· · · · Q.· Is TMMS an LLC also?
      25· · husband got married out of medical school, correct?                 25· · · · A.· Yes.

                                                                      Page 30                                                              Page 32
      ·1· · · · A.· Yes.                                                        ·1· · · · Q.· And who owns TMMS LLC?
      ·2· · · · Q.· Was your husband a practicing physician, a                  ·2· · · · A.· Myself.· Myself and my husband.
      ·3· · practicing radiologist at the time you got married?                 ·3· · · · Q.· Does TMMS LLC also provide the doctors for
      ·4· · · · A.· He just finished his residency.                             ·4· · Providence Hospital of North Houston?
      ·5· · · · Q.· Have you been continuously married to your                  ·5· · · · A.· No.
      ·6· · husband since you got married out of medical school?                ·6· · · · Q.· Who provides the doctors?
      ·7· · · · A.· Yes, yes.                                                   ·7· · · · A.· Doctors are not being hired by the hospital.
      ·8· · · · Q.· Who owns Providence Hospital of North Houston,              ·8· · Hospital cannot hire the physician.· Against corporate
      ·9· · LLC?                                                                ·9· · practice of medicine.
      10· · · · A.· It's a partnership.· It's an LLLC who owns it.              10· · · · Q.· Okay.· So are the doctors independent contractors
      11· · · · Q.· I understand it's an LLC, ma'am.· Do you have               11· · who have staff privileges there?
      12· · membership interests in that LLC?                                   12· · · · A.· We don't call them independent contractor.· Any
      13· · · · A.· Yes.                                                        13· · doctors can apply for staff privileges and they get staff
      14· · · · Q.· And how much of Providence Hospital of North                14· · privileges.
      15· · Houston do you own?                                                 15· · · · Q.· Do you know how many doctors at Providence
      16· · · · A.· I don't remember.                                           16· · Hospital of North Houston have staff privileges there?
      17· · · · Q.· Is it more than 50 percent, ma'am?                          17· · · · A.· Between active and courtesy, over 200.
      18· · · · A.· I don't think so.                                           18· · · · Q.· (BY MS. ZIEK)· Dr. Le, let me show you --
      19· · · · Q.· Who are the other members?                                  19· · · · · · · · · MS. ZIEK:· Our lease is in there?
      20· · · · A.· My husband.                                                 20· · · · · · · · · MS. FALCON:· Yeah, yeah.
      21· · · · Q.· So between you and your husband, you own a                  21· · · · · · · · · MS. ZIEK:· Okay.· So tell me what number
      22· · hundred percent of Providence Hospital of North Houston, 22· · they are.
      23· · LLC.· Is that a correct statement?                                  23· · · · · · · · · MS. FALCON:· B2 is Number 2.
      24· · · · A.· Yes.                                                        24· · · · · · · · · MS. ZIEK:· Okay.
      25· · · · Q.· And what does Providence Hospital of North                  25· · · · · · · · · MS. FALCON:· B3 is Number 3.


      888-893-3767                                                                                               TRUSTEE1960-051931
      www.lexitaslegal.com                                                                                                                           YVer1f
     Case 20-35493 Document 113-40
                            112-40 Filed in TXSB on 01/09/23
                                                    01/08/23 Page 9 of 76
TRUSTEE1960-051932                                                Huong Le Nguyen                                                  Pagess 33..36
                                                                    Page 33                                                                  Page 35
      ·1· · · · Q.· (BY MS. ZIEK)· I'm going so show you just --              ·1· · understand the terms and conditions of them, ma'am?
      ·2· · we're going to already have these in the record, but I            ·2· · · · · · · · · MS. FALCON:· Objection.· Form.
      ·3· · want you to have these in front of you.                           ·3· · · · A.· I have lawyer who review the lease.
      ·4· · · · · · · · · MS. FALCON:· You need these two?                    ·4· · · · Q.· (BY MS. ZIEK)· Okay.· And based on whatever
      ·5· · · · · · · · · MS. ZIEK:· I'll just give her copies.               ·5· · advice your lawyer gave you, did you understand your
      ·6· · They're the same ones.                                            ·6· · lawyer's advice?
      ·7· · · · Q.· (BY MS. ZIEK)· Let me show you what has been              ·7· · · · A.· I don't understand the question.· What do you
      ·8· · marked as B1 and B2.                                              ·8· · mean?
      ·9· · · · · · · · · MS. FALCON:· B2 and B3.                             ·9· · · · Q.· Okay, ma'am.· Before you entered into this, had
      10· · · · · · · · · MS. ZIEK:· I'm sorry, B2 and B3.                    10· · you made yourself aware of everything you thought you
      11· · · · Q.· (BY MS. ZIEK)· Have you seen these documents 11· · needed to be aware of before you signed it?
      12· · prior to coming here today?                                       12· · · · · · · · · MS. FALCON:· Objection.· Form.
      13· · · · A.· Yes.                                                      13· · · · A.· I had the lease review by the lawyer, and I ask
      14· · · · Q.· Okay.· What are they, ma'am?                              14· · him, is this okay?· And he said, it looks fine.
      15· · · · A.· They are -- this is the lease for Building 2 on           15· · · · Q.· (BY MS. ZIEK)· Okay.· So could you turn to
      16· · 847 FM 1960.                                                      16· · page 21, ma'am.
      17· · · · Q.· Okay.· And B3?                                            17· · · · · · · · · MS. FALCON:· Of which exhibit?
      18· · · · A.· B3?· I don't have B3.· Okay.                              18· · · · · · · · · MS. ZIEK:· I'm sorry, of either one, either
      19· · · · Q.· It's right there.                                         19· · B2 or B3.· They're still the same.
      20· · · · A.· Okay.                                                     20· · · · · · · · · MS. FALCON:· Let's be clear.
      21· · · · · · · · · MS. FALCON:· Do we need a stapler?                  21· · · · Q.· (BY MS. ZIEK)· Go ahead and turn to B2, page 21.
      22· · · · · · · · · MS. ZIEK:· We couldn't staple them.· They           22· · · · A.· Okay.
      23· · weren't going through all the way, so unless you have a 23· · · · Q.· Did you understand when you entered into this
      24· · really thick one.· That's why we put paper clips on them. 24· · agreement that if you were going to assign either B2 or
      25· · · · A.· I don't see the difference.                               25· · B3, either lease, that you needed the consent of the

                                                                    Page 34                                                                  Page 36
      ·1· · · · Q.· (BY MS. ZIEK)· Did I hand you two of the same             ·1· · landlord?
      ·2· · kind?· One would have handwriting that says "Building 2"          ·2· · · · · · · · · MS. FALCON:· Objection.· Form.
      ·3· · at the top.                                                       ·3· · · · A.· I'm not a lawyer, so I don't know what that
      ·4· · · · A.· Yes.                                                      ·4· · means.
      ·5· · · · Q.· And the other one would be Building 3 with the B3         ·5· · · · Q.· (BY MS. ZIEK)· Okay, ma'am.· Let's just read the
      ·6· · in the first paragraph.                                           ·6· · first paragraph.
      ·7· · · · A.· Yes.· Yes.                                                ·7· · · · A.· Okay.
      ·8· · · · Q.· Okay.· Do your signatures appear on each of these         ·8· · · · Q.· A starts out with "Tenant" --
      ·9· · documents, ma'am, on behalf of 1960 Family Practice, PA? ·9· · · · · · · · · Was 1960 Family Practice PA the tenant?
      10· · · · A.· It is shown on the last page, right here.                 10· · · · A.· Yes.
      11· · · · Q.· Well, it looks like it's on page 34 of my copy --         11· · · · Q.· Okay.
      12· · · · A.· Correct.                                                  12· · · · · · · · · -- "may not assign, mortgage, or pledge this
      13· · · · Q.· -- on B2, correct?                                        13· · lease, voluntarily or involuntarily, whether by operation
      14· · · · A.· Correct.                                                  14· · of law or otherwise, or sublet any of the leased premises
      15· · · · Q.· And it looks like it's also on page 34 on B3,             15· · at any time, to any other person in each case without the
      16· · correct?                                                          16· · prior written consent of landlord, which consent shall not
      17· · · · A.· Hold on.· Hold on.· Correct.                              17· · be unreasonably withheld, conditioned, or delayed provided
      18· · · · Q.· Okay, ma'am.· And these lease agreements were             18· · that..." and then it continues on, correct, ma'am?
      19· · originally with Broadstone FMFP Texas B2, LLC, and                19· · · · A.· Yes.
      20· · Broadstone FMFP Texas B3, LLC, correct?                           20· · · · Q.· Did I read that correctly?
      21· · · · A.· Correct.                                                  21· · · · A.· Yes.
      22· · · · Q.· And were these leases for buildings on 1960               22· · · · Q.· So you, 1960, understood that you could not
      23· · that -- 1960 Family Practice was utilizing?                       23· · assign this lease, correct, without the consent of the
      24· · · · A.· Yes.                                                      24· · landlord?
      25· · · · Q.· Okay.· When you signed these agreements, did you 25· · · · A.· Did I assign the lease?


      888-893-3767                                                                                            TRUSTEE1960-051932
      www.lexitaslegal.com                                                                                                                             YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 10 of 76
TRUSTEE1960-051933                                               Huong Le Nguyen                                                   Pagess 37..40
                                                                    Page 37                                                                     Page 39
      ·1· · · · Q.· I'm asking did you understand that provision when         ·1· · what -- you are trying to ask me to be a lawyer, and I'm
      ·2· · you signed this, ma'am?                                           ·2· · telling you I'm not a lawyer.· Every time I do something,
      ·3· · · · · · · · · MS. FALCON:· Objection.· Form.                      ·3· · I tell my lawyer and I just -- they do what they need to
      ·4· · · · A.· I understand that I may not assign, mortgage, or          ·4· · do.
      ·5· · pledge, voluntarily or involuntarily, whether by operation        ·5· · · · Q.· Okay.· So is it your testimony -- did you read
      ·6· · of law or otherwise, is exactly what's written in here.           ·6· · these agreements before you signed them?
      ·7· · · · Q.· (BY MS. ZIEK)· Okay.· And that you could not              ·7· · · · A.· My lawyer reads them.
      ·8· · sublet any of the lease premises at any time without the          ·8· · · · Q.· Okay.· Ma'am, that wasn't the question.· The
      ·9· · consent of the landlord, correct?                                 ·9· · question was, did you read them?
      10· · · · A.· I don't think we ever sublease out to anyone              10· · · · A.· I glanced at them, but I don't understand -- even
      11· · without consent.                                                  11· · if you're reading it to me right now, right in front of my
      12· · · · Q.· Okay.· That's what I'm asking.· You understood            12· · face, and you could repeat it a hundred times, I still
      13· · that if you were going to sublease, you had to go get the         13· · don't understand.· I just turn it to my lawyer and my
      14· · landlord's consent, correct?                                      14· · lawyer tells me yea or nay and they take over.
      15· · · · · · · · · MS. FALCON:· Objection.· Form.                      15· · · · · · · · · MS. ZIEK:· Objection.· Responsiveness.
      16· · · · Q.· (BY MS. ZIEK)· Did you or did you not understand,         16· · · · · · · · · Do we have the lease guaranties?
      17· · ma'am, that you needed the landlord's consent to sublet           17· · · · · · · · · MS. FALCON:· Yeah.
      18· · any portion of premises in either Building 2 or 3?                18· · · · · · · · · MS. ZIEK:· What numbers are they?
      19· · · · · · · · · MS. FALCON:· Objection.· Form.                      19· · · · · · · · · MS. FALCON:· 4 is the one dated June 23,
      20· · · · Q.· (BY MS. ZIEK)· You can still answer, ma'am.               20· · 2011.
      21· · · · A.· Like I said, I do things with -- whenever I do            21· · · · · · · · · MS. ZIEK:· It's B4?
      22· · something, I ask my lawyer.                                       22· · · · · · · · · MS. FALCON:· Uh-huh.· It's -- no, it's just
      23· · · · Q.· Okay, ma'am.                                              23· · Exhibit 4.
      24· · · · A.· And if my lawyer say yes, I say okay.· I'm not a          24· · · · · · · · · MS. ZIEK:· Okay.
      25· · lawyer.· I can't do things without having a lawyer say yes 25· · · · · · · · · MS. FALCON:· And it's the one for

                                                                    Page 38                                                                     Page 40
      ·1· · or no.                                                            ·1· · Building 2.
      ·2· · · · Q.· Okay.· So later on down that paragraph after              ·2· · · · · · · · · MS. ZIEK:· Uh-huh.
      ·3· · small little 3, iii, "Any assignment, mortgage, or pledge         ·3· · · · · · · · · MS. FALCON:· Exhibit 5 is the one for
      ·4· · of this lease or any subletting of any portion of the             ·4· · Building 3.· And Exhibit 6 is the one with --
      ·5· · lease premises without the landlord's prior written               ·5· · · · · · · · · MS. ZIEK:· Yeah, the modification.
      ·6· · consent shall be null and void."                                  ·6· · · · · · · · · MS. FALCON:· -- the modification, yeah.
      ·7· · · · · · · · · MS. ZIEK:· Amy, I think he's trying to give         ·7· · · · Q.· (BY MS. ZIEK)· Okay.· Let me show you what has
      ·8· · you something.                                                    ·8· · been marked as Exhibits 4 and 5 that are already in
      ·9· · · · Q.· (BY MS. ZIEK)· Do you see that, ma'am?                    ·9· · evidence.· And I'll get them down there as well.· And I'm
      10· · · · A.· Yes, I do see that.                                       10· · not -- please understand I'm not throwing documents at
      11· · · · Q.· Okay.· So did you understand in your capacity as          11· · you.· I'm trying to get them across the table.
      12· · the president of 1960 that you could not sublet or assign         12· · · · · · · · · Please let me know when you are ready so --
      13· · any portions of these leases without the landlord's               13· · I don't want to --
      14· · consent?                                                          14· · · · · · · · · MS. FALCON:· Do you need any ice water or
      15· · · · A.· What I'm saying is that whenever there is that            15· · anything?
      16· · case, I turn to my lawyer and -- that's it.· I don't --           16· · · · · · · · · THE WITNESS:· I'm good.· Can I get another
      17· · I'm not a lawyer.· I'm not a -- I don't read leases. I            17· · bottle of water?
      18· · listen to my lawyer.                                              18· · · · A.· Yes, ma'am, I'm ready.
      19· · · · Q.· Okay.· So you didn't read --                              19· · · · Q.· (BY MS. ZIEK)· Okay.· Have you seen Exhibits 4
      20· · · · · · · · · MS. FALCON:· Before you move on, don't --           20· · and 5 before coming here today?
      21· · make sure you don't talk about what your lawyer tells you 21· · · · A.· If I have, been so long ago, I don't remember.
      22· · because that is privileged.                                       22· · · · Q.· Okay.· Dr. Le, what did you do to prepare for
      23· · · · Q.· (BY MS. ZIEK)· Yeah, that is privileged.· I don't         23· · your deposition today?
      24· · want you to say that.                                             24· · · · A.· I talked to my lawyer.
      25· · · · A.· Yes.· But that's what I'm trying to say.· I --            25· · · · Q.· Okay.· And other than talking to your lawyer, did


      888-893-3767                                                                                              TRUSTEE1960-051933
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 11 of 76
TRUSTEE1960-051934                                              Huong Le Nguyen                                                    Pagess 41..44
                                                                    Page 41                                                                Page 43
      ·1· · you review any documents prior to coming here today?              ·1· · · · A.· No.
      ·2· · · · A.· No.                                                       ·2· · · · Q.· Okay, ma'am.· Going -- continuing down, paragraph
      ·3· · · · Q.· I need to ask another question.· Are you on any           ·3· · number 9, it states that the "Guarantor's liability shall
      ·4· · type of medication that would keep you from answering             ·4· · be primary and joint and several with that of the tenant
      ·5· · truthfully today?                                                 ·5· · and any other Guarantors on this lease."
      ·6· · · · A.· No.· I'm on doxycycline antibiotics.                      ·6· · · · · · · · · Do you see that, ma'am?
      ·7· · · · Q.· With regard to Exhibit Number 4, ma'am, what is           ·7· · · · A.· Yes.
      ·8· · your understanding of what this document is?                      ·8· · · · Q.· Do you understand what "joint and several
      ·9· · · · A.· It's a lease guaranty.                                    ·9· · liability" means?
      10· · · · Q.· Okay.· Is your signature on it on page 5?                 10· · · · · · · · · MS. FALCON:· Objection.· Form.
      11· · · · A.· Yes.                                                      11· · · · A.· No.
      12· · · · Q.· Okay.· And is also your signature on page 5 of            12· · · · Q.· (BY MS. ZIEK)· Did you discuss that provision
      13· · Exhibit 5?                                                        13· · with your lawyer?
      14· · · · A.· Yes.                                                      14· · · · · · · · · MS. FALCON:· Objection.
      15· · · · Q.· In layman's terms, not lawyer terms, what was             15· · · · · · · · · Don't answer that question.· That's a
      16· · your understanding of these two documents?                        16· · privilege question.
      17· · · · A.· That we guarantee a lease.                                17· · · · Q.· (BY MS. ZIEK)· I didn't ask what the lawyer said.
      18· · · · Q.· Okay.· And when you say you guaranteed a lease,           18· · I asked did you discuss that with your lawyer?
      19· · are we talking about Exhibit B2 and B3?                           19· · · · · · · · · MS. FALCON:· You may answer that question
      20· · · · A.· These -- the lease guaranty, yes.                         20· · only.
      21· · · · Q.· Okay.· But what did these guaranties actually             21· · · · A.· No.
      22· · guarantee?· Were they the leases that are marked as B2 and 22· · · · Q.· (BY MS. ZIEK)· Okay.· Then it continues on that
      23· · B3?                                                               23· · "Landlord may proceed against a guarantor under this
      24· · · · A.· Yes.                                                      24· · guaranty without exhausting or initiating any remedy
      25· · · · Q.· And who were the original guarantors on Exhibit 4         25· · against any other guaranties of the lease."

                                                                    Page 42                                                                Page 44
      ·1· · and 5?                                                            ·1· · · · · · · · · Do you see that, ma'am?
      ·2· · · · A.· On page 5, Huong Le, Quoc Le, and Alex Nguyen. ·2· · · · A.· Yes.
      ·3· · · · Q.· Okay, ma'am.· And what was your understanding of          ·3· · · · Q.· Do you understand what that means?
      ·4· · everybody's liability with regard to this lease guaranty?         ·4· · · · A.· No.
      ·5· · · · · · · · · MS. FALCON:· Objection.· Form.                      ·5· · · · Q.· And it continues on that it "may proceed against
      ·6· · · · A.· I don't understand, I truly don't.                        ·6· · the Tenant, Guarantor, or any other Guarantors under this
      ·7· · · · Q.· (BY MS. ZIEK)· Did you read this agreement before         ·7· · lease agreement separately or concurrently."
      ·8· · you signed it, ma'am?                                             ·8· · · · · · · · · Do you understand that, ma'am?
      ·9· · · · A.· My lawyer read it, yes.                                   ·9· · · · A.· No.· To me, it's like Chinese.· I don't
      10· · · · · · · · · MS. ZIEK:· Objection.· Responsiveness.              10· · understand.· I'm not a lawyer.· I didn't go to school to
      11· · · · Q.· (BY MS. ZIEK)· Did you read this agreement,               11· · be a lawyer.
      12· · ma'am, before you signed it?                                      12· · · · Q.· I'm not asking what you understand as a lawyer.
      13· · · · A.· I don't remember.                                         13· · I'm not asking you.· I'm asking you as a layperson what
      14· · · · Q.· Okay, ma'am.· Under paragraph 3, it says that the         14· · you understood your obligations under this guaranty would
      15· · "Guarantors waive presentment, demand, protest, notice of 15· · be when you signed it?
      16· · default, nonpayment and protest of all demands, notices,          16· · · · A.· No.· Like I said, if my lawyer said to sign it, I
      17· · and surety defenses generally."                                   17· · sign it.
      18· · · · · · · · · Do you see that, ma'am?                             18· · · · Q.· Okay.· And I'm asking a different question,
      19· · · · A.· Yes.                                                      19· · ma'am.· Did you understand what your obligations were
      20· · · · Q.· Did you discuss that provision with your lawyer?          20· · under this guaranty before you signed it?
      21· · Not what he said.· I'm asking did you discuss that                21· · · · A.· No.
      22· · provision with your lawyer?                                       22· · · · Q.· You didn't understand that the landlord could go
      23· · · · A.· No.                                                       23· · against you only, as a guarantor, on all of these causes
      24· · · · Q.· Do you understand that provision as you sit here          24· · of action?
      25· · today?                                                            25· · · · · · · · · MS. FALCON:· Objection.· Form.


      888-893-3767                                                                                            TRUSTEE1960-051934
      www.lexitaslegal.com                                                                                                                           YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 12 of 76
TRUSTEE1960-051935                                               Huong Le Nguyen                                                    Pagess 45..48
                                                                    Page 45                                                                      Page 47
      ·1· · · · A.· No.                                                       ·1· · leases, ma'am?
      ·2· · · · Q.· (BY MS. ZIEK)· You didn't understand that even if         ·2· · · · A.· Loans at the bank.
      ·3· · the Court -- even if we added all the guarantors in a             ·3· · · · Q.· Okay.· With loans at the bank, what happens if
      ·4· · lawsuit, that we didn't have to proceed against any of            ·4· · the maker defaults on their loan?
      ·5· · them; we could proceed against one or none of them?               ·5· · · · A.· I don't know.· Like I said, the lawyer reads it
      ·6· · · · · · · · · MS. FALCON:· Objection.· Form.                      ·6· · and they tell me.· That's what I have lawyers for.
      ·7· · · · A.· No.                                                       ·7· · · · Q.· Okay, ma'am.· But your lawyers aren't the people
      ·8· · · · Q.· (BY MS. ZIEK)· Okay.· Number 10 says that the             ·8· · that are going to be sued if something goes wrong on these
      ·9· · "Landlord shall not be required to pursue any remedies it         ·9· · agreements, correct?
      10· · may have against the Tenant or pursue security or any             10· · · · A.· But they were hired to work for me.
      11· · other parties as a condition to the enforcement of this           11· · · · Q.· I understand they were hired to work for you.
      12· · guaranty."                                                        12· · · · A.· Correct.
      13· · · · · · · · · Did you understand that when you signed it?         13· · · · Q.· I asked you a question.· The lawyers aren't the
      14· · · · A.· I didn't even understand it today.· I don't know          14· · ones who are going to be sued on these agreements, are
      15· · what you're saying.                                               15· · they, ma'am?
      16· · · · Q.· Ma'am, what do you understand your liability to           16· · · · A.· I don't know.
      17· · be in this lawsuit?                                               17· · · · Q.· So is it your testimony before the judge and a
      18· · · · · · · · · MS. FALCON:· Objection.· Form.                      18· · jury that you don't have any clue what a guaranty
      19· · · · A.· I --                                                      19· · agreement is?
      20· · · · · · · · · MS. FALCON:· And don't answer anything that         20· · · · A.· No.· I have an idea.· I just don't know the term.
      21· · you've discussed with us.· That would be privileged.              21· · And I don't sign until a lawyer reads it.· And if he say,
      22· · · · A.· I thought my liability ends in June -- what is            22· · yes, it looks fine, then I sign.
      23· · it, June 2011, which I told Jerry that I would not renew 23· · · · Q.· Okay.· What's your idea of what a guaranty
      24· · the lease with the company.                                       24· · agreement is, ma'am?
      25· · · · Q.· (BY MS. ZIEK)· Okay.· So you think your liability         25· · · · A.· That we are guarantee to be in a space for a

                                                                    Page 46                                                                      Page 48
      ·1· · ends at a time certain, correct?                                  ·1· · lease.
      ·2· · · · A.· Correct, because I asked my staff --                      ·2· · · · Q.· Are you guarantying the financial obligations of
      ·3· · · · Q.· Okay.· Again, I want your understanding, not what         ·3· · the lease, ma'am?· Did you understand that?
      ·4· · you've asked somebody.                                            ·4· · · · A.· Yes.
      ·5· · · · · · · · · Okay.· Your liability ends at a date                ·5· · · · Q.· And that if a tenant defaulted, that the landlord
      ·6· · certain.· You understood that.· Did you understand that if        ·6· · could look to the guarantors to get payment, did you
      ·7· · the tenant had monies or obligations owed at the time that        ·7· · understand that also?
      ·8· · that date certain ended, that you would be liable for             ·8· · · · A.· Yes.
      ·9· · them?                                                             ·9· · · · Q.· Did you understand that the landlord could go
      10· · · · · · · · · MS. FALCON:· Objection.· Form.                      10· · against you, Dr. Quoc Le, and Alex Nguyen, all together,
      11· · · · A.· No, I did not know that.· I did not understand            11· · or it could select one of you just to pursue?· Were you
      12· · that either.                                                      12· · aware of that, ma'am?
      13· · · · Q.· (BY MS. ZIEK)· How many guaranty agreements have 13· · · · A.· No.
      14· · you signed in your life, ma'am?                                   14· · · · Q.· Did you discuss -- strike that.
      15· · · · A.· I don't remember.                                         15· · · · · · · · · And it's also your testimony that you didn't
      16· · · · Q.· Is it more than five?                                     16· · understand that it was joint and several liability,
      17· · · · A.· Yes.                                                      17· · meaning we could recover all of our damages from you if we
      18· · · · Q.· More than ten, ma'am?                                     18· · were the landlord versus recover them from Dr. Nguyen or
      19· · · · A.· I don't think so.· I don't remember.                      19· · Dr. Quoc Le at the time?
      20· · · · Q.· And what do you believe a guaranty agreement              20· · · · A.· I didn't know that.
      21· · does?                                                             21· · · · Q.· What did 1960, what -- what did they occupy
      22· · · · A.· It may sound lame, I don't know.· Like I said, I          22· · Building 2 for?
      23· · have lawyers that manage this.· Every time there's a              23· · · · A.· I don't remember, honestly.· I don't.
      24· · lease, they review it.                                            24· · · · Q.· So as we sit here today, when you vacated in 2019
      25· · · · Q.· Have you only signed guaranties in regard to              25· · and sold the assets to UMMC September of 2019, you can't


      888-893-3767                                                                                              TRUSTEE1960-051935
      www.lexitaslegal.com                                                                                                                                 YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 13 of 76
TRUSTEE1960-051936                                                   Huong Le Nguyen                                                Pagess 49..52
                                                                       Page 49                                                                Page 51
      ·1· · remember what you were utilizing Building 2 for?                     ·1· · · · A.· Oh, "estoppel."· Okay.
      ·2· · · · · · · · · MS. FALCON:· Objection.· Form.                         ·2· · · · Q.· Okay.· Ma'am, does your signature appear on
      ·3· · · · Q.· (BY MS. ZIEK)· Is that your statement, ma'am?                ·3· · these?
      ·4· · · · · · · · · MS. FALCON:· Objection.· Form.                         ·4· · · · A.· On page 5.
      ·5· · · · A.· Yes, because I -- it has so many uses, I don't               ·5· · · · Q.· Go to the third page, ma'am.· And the first three
      ·6· · remember.· At one point it was our conference room.                  ·6· · pages aren't -- don't appear to be -- don't appear to have
      ·7· · Another point, the IT people stay.· Another point, the               ·7· · numbers on them, but go to page 3.
      ·8· · building people move in.· I just -- it revolves, like                ·8· · · · A.· Yes.
      ·9· · going through a revolving door.· I don't remember.                   ·9· · · · Q.· Did you sign as the president of 1960 Family
      10· · · · Q.· (BY MS. ZIEK)· Okay.· Do you recall what                     10· · Practice and also as a guarantor on this?
      11· · Building 3 was being occupied for?                                   11· · · · A.· Yes.
      12· · · · A.· Initially it was for an OB-GYN practice, a pain              12· · · · Q.· And who -- whose signatures as guarantors also
      13· · management practice, then become a research.· I think even 13· · follows yours on that?
      14· · some allergies practice.· It just, like I say, revolving             14· · · · A.· Alex Nguyen.
      15· · door.· I just don't remember what it was used for, but I             15· · · · Q.· And who else, ma'am?
      16· · know it was for medical offices.                                     16· · · · A.· Ann -- Thu A. Hoang.
      17· · · · Q.· (BY MS. ZIEK)· Okay.· And did 1960 continue to               17· · · · Q.· Is that Annie Hoang, who we've been talking
      18· · occupy Building 2 and 3 through September of 2019?                   18· · about?
      19· · · · A.· Correct.                                                     19· · · · A.· Yes.
      20· · · · Q.· Was 1960 Family Practice's medical facility                  20· · · · Q.· Okay, ma'am.· And what is the date of both
      21· · located at that -- those buildings -- located in those               21· · Exhibit 23 and -- 22 and 23 -- I'm sorry 23 and 24?
      22· · buildings?· I'm sorry.                                               22· · · · · · · · · MS. FALCON:· 22 and 23.
      23· · · · A.· In Building 1, yes.                                          23· · · · Q.· (BY MS. ZIEK)· 22 and 23?
      24· · · · Q.· Do you recall when Building 2 and 3 were                     24· · · · A.· It says March 27, 2018.
      25· · transferred to my client KME Holdings, LLC?                          25· · · · Q.· Okay, ma'am.· Do you recall signing this, signing

                                                                       Page 50                                                                Page 52
      ·1· · · · A.· I remember I met with Jerry -- he identified as              ·1· · both of these documents?
      ·2· · the landlord -- sometime -- I can't remember exact date              ·2· · · · A.· It's my signature.· I don't remember.· This is so
      ·3· · when, but he came by and introduced himself as the new ·3· · long ago.
      ·4· · landlord.                                                            ·4· · · · Q.· It was approximately four years ago, correct,
      ·5· · · · · · · · · MS. ZIEK:· 21 was the beginning one?                   ·5· · ma'am?
      ·6· · · · · · · · · MS. FALCON:· Yes.                                      ·6· · · · A.· Yes.
      ·7· · · · · · · · · (Exhibits 22 & 23 marked.)                             ·7· · · · Q.· Okay, ma'am.· On paragraph 2 it basically says,
      ·8· · · · Q.· (BY MS. ZIEK)· Let me show you what's been marked ·8· · "The Guaranty executed by Guarantors is in full force and
      ·9· · as Exhibit 21 and 22.· And these are huge, so -- again,              ·9· · effect and constitutes the valid binding and forceable
      10· · not throwing them.                                                   10· · obligations of Guarantors."
      11· · · · · · · · · REPORTER:· Don't you already have a 21?                11· · · · · · · · · Do you see that, ma'am?
      12· · · · · · · · · MS. FALCON:· Oh, you do.· You sure do.                 12· · · · A.· Yes.
      13· · · · · · · · · MS. ZIEK:· Okay.· So let's do 22 and 23.               13· · · · Q.· Continues to say, "There are no amendments,
      14· · · · · · · · · MS. FALCON:· So 23 is --                               14· · assignments or modifications of any kind to the guaranty."
      15· · · · · · · · · MS. ZIEK:· Okay.· Hold on one second.· Here            15· · · · · · · · · Is that correct?
      16· · we go.                                                               16· · · · A.· Correct, it says that here.
      17· · · · · · · · · Can you read me which exhibits are which?              17· · · · Q.· "There are no promises, agreements,
      18· · I'm sorry.                                                           18· · understandings or commitments between Landlord and
      19· · · · · · · · · MS. FALCON:· So 22 is Building 3, I believe.           19· · Guarantors which are not set forth in the Guaranty."
      20· · · · · · · · · MS. ZIEK:· And 23 would be Building 2?                 20· · · · · · · · · Do you see that as well?
      21· · · · · · · · · MS. FALCON:· Yes.                                      21· · · · A.· Yes.
      22· · · · Q.· (BY MS. ZIEK)· Can you identify Exhibits 22 and              22· · · · Q.· Okay, ma'am.
      23· · 23, ma'am?                                                           23· · · · · · · · · MS. ZIEK:· And I am sure -- I know this is
      24· · · · A.· Tenant and Guarantor Estoppel Certificate.                   24· · the lease addendum.· What number is it?
      25· · · · Q.· "Estoppel" certificate?                                      25· · · · · · · · · MS. FALCON:· I don't think we have that.


      888-893-3767                                                                                                  TRUSTEE1960-051936
      www.lexitaslegal.com                                                                                                                              YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 14 of 76
TRUSTEE1960-051937                                              Huong Le Nguyen                                                 Pagess 53..56
                                                                     Page 53                                                               Page 55
      ·1· · · · · · · · · MS. ZIEK:· Oh, wow.· Okay.· 24, is that what         ·1· · things I don't know.
      ·2· · it would be?                                                       ·2· · · · Q.· So is it fair to say you don't know why you
      ·3· · · · · · · · · MS. FALCON:· Is it the guaranty addendum? ·3· · signed that either?
      ·4· · · · · · · · · MR. MATTHEWS:· Yes.                       ·4· · · · A.· I don't.· Basically it's this.· Whenever there is
      ·5· · · · · · · · · MS. ZIEK:· Yes.                                      ·5· · a thing, I turn to my lawyer, have them review it.· This
      ·6· · · · · · · · · MS. FALCON:· Oh, no, no, we do have that.            ·6· · looks -- they say sign and I sign.
      ·7· · · · · · · · · MS. ZIEK:· That's what I thought.                    ·7· · · · Q.· Would you ever discuss the conditions with your
      ·8· · · · · · · · · MS. FALCON:· Sorry.· That's Number 6.                ·8· · lawyer of what's in these documents?
      ·9· · · · Q.· (BY MS. ZIEK)· Let me show you, Dr. Le, what's ·9· · · · A.· Like what?
      10· · been marked as Exhibit Number 6.· And, again, I'm not 10· · · · · · · · · MS. FALCON:· Objection.
      11· · throwing this at you.· I'm just trying to toss it across           11· · · · Q.· (BY MS. ZIEK)· For instance, if there was --
      12· · to get it to you.                                                  12· · · · · · · · · MS. FALCON:· Don't -- don't answer questions
      13· · · · A.· That's fine.                                               13· · that she asks you to say what your lawyer and you
      14· · · · Q.· Have you ever seen this document, ma'am?                   14· · discussed.· That's privileged.
      15· · · · A.· I don't remember.                                          15· · · · Q.· (BY MS. ZIEK)· Correct.· I'm asking more along
      16· · · · Q.· Okay, ma'am.· Do you know what it is?                      16· · the lines of would you have told your lawyer if there had
      17· · · · A.· No.· What is this?                                         17· · been a default in the lease?
      18· · · · Q.· Do you recall an occasion where 1960 Family                18· · · · · · · · · MS. FALCON:· Don't answer that question.
      19· · Practice requested that Dr. Quoc Le get off as the                 19· · That's privileged.
      20· · guarantor and that Annie Hoang come on?                            20· · · · Q.· (BY MS. ZIEK)· Okay, ma'am.· How would your
      21· · · · A.· Yes.                                                       21· · lawyer know one way or the other whether the statements
      22· · · · Q.· Do you know if this -- this is the agreement that 22· · herein were true and correct?
      23· · reflects that, ma'am?                                     23· · · · · · · · · MS. FALCON:· That's privileged.· Don't
      24· · · · · · · · · MS. FALCON:· Objection.· Form.                       24· · answer the question.
      25· · · · A.· I don't know.                                              25· · · · A.· I listen to my lawyer, see.· I only listen to my

                                                                     Page 54                                                               Page 56
      ·1· · · · Q.· (BY MS. ZIEK)· Do you know Dr. Hoang's signature, ·1· · lawyer.· That's it.
      ·2· · ma'am?                                                             ·2· · · · Q.· (BY MS. ZIEK)· Okay, ma'am.· But your lawyer is
      ·3· · · · A.· I don't know.                                              ·3· · not responsible for the statements that are made herein
      ·4· · · · Q.· How long did you work with Dr. Hoang?                      ·4· · and the representations you have made to the landlord and
      ·5· · · · A.· More than 15 years.                                        ·5· · any prospective purchaser, are they?
      ·6· · · · Q.· In 15 years of practice, you don't know whether            ·6· · · · A.· I don't understand your question.
      ·7· · that's her signature or not?                                       ·7· · · · Q.· Okay, ma'am.· Do you understand what an estoppel
      ·8· · · · A.· No, we -- no.                                              ·8· · certificate is?
      ·9· · · · Q.· Okay.· Do you understand why you would have                ·9· · · · A.· Like I told you, I even -- I thought it was
      10· · signed a Tenant and Guarantor Estoppel Certificate that            10· · estoppel.· I don't know.· I don't know what an estoppel
      11· · said there had been no amendments, assignments, or                 11· · is.
      12· · modifications of any kind to the guaranty?                         12· · · · Q.· Okay, ma'am.· It basically describes that the
      13· · · · A.· I don't know.· What is estoppel?                           13· · tenant and the guarantor gives this tenant and guarantor
      14· · · · Q.· Estoppel is basically at that point in time --             14· · estoppel letter to the landlord and KME Holdings as a
      15· · that's the status of it at that point in time.                     15· · buyer.
      16· · · · · · · · · So, basically, do you know why you were              16· · · · · · · · · You understood KME Holdings, LLC, bought
      17· · signing this Tenant and Guarantor Estoppel Certificate?            17· · Buildings 2 and 3, correct?
      18· · · · A.· No.· Why -- why, I don't know.                             18· · · · A.· Yes.
      19· · · · Q.· Do you also understand that you were warranting            19· · · · Q.· Okay.· And as a condition of them buying this,
      20· · that -- well, that you were representing that there was no         20· · that they requested that certain covenants and
      21· · uncured default, event of default, or breach by the                21· · representations be made by you as the guarantor and you
      22· · landlord or tenant existing under the lease, under                 22· · also as the tenant for 1960 Family Practice.· Were you
      23· · paragraph 7, of either Exhibit 22 or 23?                           23· · aware of that, ma'am?
      24· · · · A.· Like I said, this is like Chinese to me.· I don't          24· · · · A.· No.
      25· · know.· I'm not a lawyer.· You're asking me to interpret 25· · · · Q.· Do you know if this tenant and estoppel


      888-893-3767                                                                                            TRUSTEE1960-051937
      www.lexitaslegal.com                                                                                                                           YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 15 of 76
TRUSTEE1960-051938                                              Huong Le Nguyen                                                      Pagess 57..60
                                                                    Page 57                                                                    Page 59
      ·1· · certificate were signed by you, Alex Nguyen, and Annie            ·1· · the note?
      ·2· · Hoang at the same time?                                           ·2· · · · A.· I don't remember.
      ·3· · · · A.· I don't know -- I don't remember.· I don't know.          ·3· · · · Q.· Have you ever had an occasion from the time you
      ·4· · · · Q.· Was there any discussion between you, Dr. Nguyen,         ·4· · got out of medical school until now that a guaranty
      ·5· · and Annie Hoang about signing this Tenant and Guarantor           ·5· · agreement was ever -- that a bank or a financial
      ·6· · Estoppel Certificate?                                             ·6· · institution ever sought to enforce a guaranty agreement
      ·7· · · · A.· I don't remember.· I don't remember.                      ·7· · against you, ma'am?
      ·8· · · · Q.· Would there have been any meetings or any notes           ·8· · · · · · · · · MS. FALCON:· Objection.· Form.
      ·9· · from a meeting that might have been held, had one been            ·9· · · · A.· I don't remember.
      10· · held, of you discussing the Tenant and Guarantor Estoppel         10· · · · Q.· (BY MS. ZIEK)· Do you have any other guaranty
      11· · Certificate?                                                      11· · agreements on any other leased space of which 1960 Family
      12· · · · A.· I don't remember.· And I don't remember any               12· · Practice was leasing buildings?
      13· · minutes or meeting about this.                                    13· · · · A.· Yes.
      14· · · · Q.· Okay.· Did you have any meetings or minutes               14· · · · Q.· And who are those guaranty agreements with?
      15· · within 1960 Family Practice which would have discussed the 15· · · · A.· The 290 building.· I don't know who the landlord
      16· · addendum, which is Exhibit 6 --                                   16· · is.
      17· · · · · · · · · MS. ZIEK:· Is that what it was?                     17· · · · Q.· And any others?
      18· · · · Q.· (BY MS. ZIEK) -- Exhibit 6 to the original lease          18· · · · A.· The first building with Broadstone.
      19· · guaranties when Annie Hoang went on as the guarantor and 19· · · · Q.· Is Broadstone seeking to enforce its guaranty
      20· · Quoc Le was taken off?                                            20· · agreement against you on Building 1?
      21· · · · A.· I don't remember, and I don't have any minutes            21· · · · A.· No.
      22· · regarding about the lease.                                        22· · · · Q.· Was the lease still in effect on Building 1 at
      23· · · · Q.· Even when the lease was entered into?                     23· · the time 1960 Family Practice filed bankruptcy?
      24· · · · A.· Correct.                                                  24· · · · A.· Yes.
      25· · · · Q.· Did you keep -- did 1960 Family Practice, LLC --          25· · · · Q.· And who was occupying Building 1 at the time 1960

                                                                    Page 58                                                                    Page 60
      ·1· · I'm sorry, PA, keep minutes of meetings that they had with        ·1· · Family Practice filed bankruptcy?
      ·2· · all the shareholders?                                             ·2· · · · A.· It was 1960 Physician Associates managed by UMMC.
      ·3· · · · A.· I don't keep the minutes.· If the staff, like             ·3· · · · Q.· Is that building also on leases that are similar
      ·4· · Stacy Williams, were present, then she would put notes.           ·4· · in nature to Exhibits B2 and B3?
      ·5· · But myself, no.                                                   ·5· · · · A.· Before 2019, yes, I believe so.· After 2019, I
      ·6· · · · Q.· So is it your testimony that Stacy Williams would         ·6· · don't know.
      ·7· · act as the secretary when you-all had meetings?                   ·7· · · · Q.· Did -- did the lease on Building 1 expire before
      ·8· · · · A.· Yes.                                                      ·8· · June 23rd of 2023?
      ·9· · · · Q.· And to the extent Stacy Williams would be                 ·9· · · · A.· Yes.
      10· · present, she would take the notes and file the notes of           10· · · · Q.· Were you on a month-to-month -- was 1960 Family
      11· · the minutes of the meetings between you, Dr. Nguyen, and          11· · Practice, PA, on a month-to-month in Building 1 at the
      12· · Dr. Quoc Le at one point and Dr. Annie Hoang at another?          12· · time it filed bankruptcy?
      13· · · · · · · · · MS. FALCON:· Objection.· Form.                      13· · · · A.· No.
      14· · · · A.· I -- she was not required to take minutes.· But           14· · · · Q.· Do you recall how much was left on the lease on
      15· · if she does, then she does.                                       15· · Building 1 when 1960 Family Practice filed bankruptcy?
      16· · · · Q.· (BY MS. ZIEK)· And where would those minutes have 16· · · · A.· It was up to 2011 -- I mean 2021.
      17· · been kept, ma'am?                                                 17· · · · Q.· So it expired in 2021?
      18· · · · A.· I guess -- I don't know where she kept them.              18· · · · A.· Correct.
      19· · · · Q.· Have you ever defaulted on a note at the bank,            19· · · · · · · · · MS. ZIEK:· We on 25 or 26?
      20· · ma'am, or a company you owned defaulted on a note at the          20· · · · · · · · · MS. FALCON:· No.· I think we're on 24.
      21· · bank?                                                             21· · · · · · · · · (Exhibit 24 marked.)
      22· · · · A.· I don't know what you mean by "default on a note 22· · · · · · · · · MS. FALCON:· Is there two there or just one?
      23· · on a bank."                                                       23· · · · · · · · · MS. ZIEK:· It's just one.
      24· · · · Q.· Okay.· Did you ever have a company that you               24· · · · Q.· (BY MS. ZIEK)· What is Exhibit 24, ma'am?
      25· · guaranteed the debt for that didn't make the payments on          25· · · · A.· It's an Asset Purchase Agreement.


      888-893-3767                                                                                                 TRUSTEE1960-051938
      www.lexitaslegal.com                                                                                                                               YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 16 of 76
TRUSTEE1960-051939                                                Huong Le Nguyen                                                   Pagess 61..64
                                                                     Page 61                                                                    Page 63
      ·1· · · · Q.· And who is it between?                                     ·1· · · · · · · · · Do you see that, ma'am?
      ·2· · · · A.· 1960 Family Practice, PA, and Doctors Hospital, ·2· · · · A.· Yes.
      ·3· · which is UMMC.                                                     ·3· · · · Q.· Did that include the two buildings of my client?
      ·4· · · · Q.· Okay, ma'am.· What is the date of this agreement? ·4· · · · A.· I don't know.· And, by the way, they never did
      ·5· · I think it's in the very first paragraph, ma'am.                   ·5· · sign.· So I don't know --
      ·6· · · · A.· Where is it?                                               ·6· · · · Q.· Okay.· Did you ever ask permission from my
      ·7· · · · Q.· The very first paragraph, ma'am.                           ·7· · clients to have a sublease entered into with UMMC?
      ·8· · · · A.· Oh.· September 1, 2019, yes.                               ·8· · · · A.· Like I said, that's the reason why -- it was
      ·9· · · · Q.· Okay.· And did an attorney prepare this agreement ·9· · never signed at the time of purchase, the sublease or the
      10· · for you?                                                           10· · assignment.
      11· · · · A.· No.                                                        11· · · · Q.· That wasn't the question, ma'am.
      12· · · · Q.· Who prepared this agreement?                               12· · · · · · · · · MS. ZIEK:· Objection.· Nonresponsive.
      13· · · · A.· Stacy Williams.                                            13· · · · Q.· (BY MS. ZIEK)· The question was when -- let's
      14· · · · Q.· Why would you have Ms. Williams prepare this               14· · just start -- when did you decide you were going to sell
      15· · agreement in lieu of a lawyer?                                     15· · the assets of 1960 Family Practice?
      16· · · · A.· We didn't have the money to pay for the lawyer. 16· · · · · · · · · MS. FALCON:· Form.
      17· · · · Q.· Okay.· What does this agreement purport to do,             17· · · · A.· It was about July or June, somewhere between May,
      18· · ma'am?                                                             18· · June, July, April, something like that, in 2019.
      19· · · · A.· That they would buy the asset of 1960 Family               19· · · · Q.· (BY MS. ZIEK)· Did you know that you would be
      20· · Practice.                                                          20· · vacating Buildings 2 and 3 that are representative by
      21· · · · Q.· And when you say "they," who do you mean?                  21· · Lease B2 and B3 in June, July?
      22· · · · A.· UMMC.                                                      22· · · · A.· Of 2019?
      23· · · · Q.· Okay.· And what was the purchase price that they           23· · · · Q.· Yes, ma'am.
      24· · were buying the assets of?                                         24· · · · A.· Like I said, I told Jerry that when my lease
      25· · · · A.· $500,000.                                                  25· · expire in June 2021 that I was not going to renew the

                                                                     Page 62                                                                    Page 64
      ·1· · · · Q.· And did this also include locations where 1960             ·1· · lease.
      ·2· · was practicing medicine?                                           ·2· · · · Q.· That wasn't the question, ma'am.
      ·3· · · · A.· I don't know.· I think it does, but I don't                ·3· · · · A.· Your question is -- during that time, 2019, we
      ·4· · remember.· Oh, can I go back to the statement, who                 ·4· · were still occupying the building.
      ·5· · prepared it?                                                       ·5· · · · Q.· I understand that, ma'am, but you were also
      ·6· · · · Q.· Yes.                                                       ·6· · looking to sell your assets.· Is that correct?
      ·7· · · · A.· It was prepared by Stacy Williams and David                ·7· · · · A.· Correct.
      ·8· · Ellent.· Originally David Ellent with Genesis was going to ·8· · · · Q.· Okay.· And part of what you were selling, it
      ·9· · buy the 1960 asset purchase and then -- it was                     ·9· · appears, would have been the locations that those assets
      10· · signed and -- it was going back and forth between Stacy 10· · were -- were occupying, the space those assets were
      11· · and David, David Ellent.                                           11· · occupying, for lack of a better word?
      12· · · · Q.· Okay.                                                      12· · · · A.· Correct, correct.
      13· · · · A.· And so a lot of work was done by David Ellent,             13· · · · Q.· Okay.· And part of your assets or part of 1960's
      14· · too.· So I don't know if he has the lawyer to prepare it           14· · assets were occupied in Buildings 2 and 3, correct?
      15· · or just mainly -- for us, we only have Stacy Williams, but 15· · · · A.· Correct.
      16· · I don't know if David Ellent and Genesis have their own            16· · · · Q.· Okay.· So in May, June, or July, when you are
      17· · lawyer to prepare this or not.· So I don't know if this is         17· · discussing this Asset Purchase Agreement, did you tell the
      18· · prepared by the lawyer or not.                                     18· · landlords that you would be subleasing or assigning these
      19· · · · Q.· Okay.· Can we turn to page 3?· And it says                 19· · leases?
      20· · "Purchase of Assets" -- do you see that, ma'am -- and              20· · · · A.· Because nothing was signed.· We -- it wasn't --
      21· · "Assumption of Liabilities, Article II" on page 3?                 21· · nothing was signed.
      22· · · · A.· Yes.                                                       22· · · · Q.· Okay, ma'am.
      23· · · · Q.· Okay.· It basically says that "Purchaser shall             23· · · · A.· We were looking for buyers.· I got it.· I got it.
      24· · sign a lease or sublease agreement for each of the                 24· · · · Q.· Okay.· So now after you get a buyer -- you
      25· · practice locations."                                               25· · obviously knew sometime before September 1 of 2019 you


      888-893-3767                                                                                               TRUSTEE1960-051939
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 17 of 76
TRUSTEE1960-051940                                                Huong Le Nguyen                                                          Pagess 65..68
                                                                      Page 65                                                                    Page 67
      ·1· · were selling, correct?· You had a buyer?                            ·1· · · · · · · · · MS. FALCON:· There was a pause.· Sorry.
      ·2· · · · A.· The assets.                                                 ·2· · · · Q.· (BY MS. ZIEK)· Okay.
      ·3· · · · Q.· Yes.· And that a sublease or an assignment would            ·3· · · · · · · · · -- from 2011 to June of 2021?
      ·4· · be necessary, correct?                                              ·4· · · · · · · · · MS. FALCON:· Objection.· Form.
      ·5· · · · A.· No.                                                         ·5· · · · Q.· (BY MS. ZIEK)· Is it your testimony, ma'am, that
      ·6· · · · Q.· You didn't know a sublease or an assignment would           ·6· · 1960 Family Practice, PA, owned by you at all points in
      ·7· · be necessary?                                                       ·7· · time has occupied the space in Buildings 2 and 3 from the
      ·8· · · · A.· No, we never sign it because the lease still                ·8· · beginning of the lease, which is June 23, 2011, until
      ·9· · belong to 1960 Family Practice.· The 1960 Family Practice ·9· · June 22nd of 2021?
      10· · own by me, so I would still be on the lease until 20                10· · · · · · · · · MS. FALCON:· Objection.· Form.
      11· · whatever.                                                           11· · · · A.· Yes.
      12· · · · Q.· 2021.                                                       12· · · · Q.· (BY MS. ZIEK)· And that it remained obligated for
      13· · · · A.· Correct.                                                    13· · all amounts due and owing under the lease agreements which
      14· · · · Q.· Okay.· But you've told me earlier that 1960                 14· · are B2 and B3?
      15· · Family Practice wasn't just owned by you; it was owned by           15· · · · · · · · · MS. FALCON:· Objection.· Form.
      16· · Annie Hoang --                                                      16· · · · A.· 1960 Family Practice, yes.
      17· · · · A.· And Alex Nguyen.                                            17· · · · Q.· (BY MS. ZIEK)· Okay.· And that you as a
      18· · · · Q.· -- and Alex Nguyen?                                         18· · guarantor, if 1960 Family Practice failed to make any
      19· · · · A.· I had the majority share vote, yes.                         19· · payments on any of the obligations under lease -- the
      20· · · · Q.· Okay.· Did you tell them that you were selling              20· · lease agreements, which are marked B2 and B3, that the
      21· · the assets -- sorry -- that you were selling the assets of          21· · guarantors would be responsible for those amounts?
      22· · 1960 Family Practice in September of 2019?                          22· · · · · · · · · MS. FALCON:· Objection.· Form.
      23· · · · A.· I don't have to because I'm the majority                    23· · · · · · · · · MS. ZIEK:· What's your objection?
      24· · shareholder, manager, partner and I can make decision               24· · · · · · · · · MS. FALCON:· Your questions are so long,
      25· · and -- based on super majority vote, which is 75 percent. 25· · they're very difficult to follow.· I'm not certain she's

                                                                      Page 66                                                                    Page 68
      ·1· · · · Q.· You could substantially sell all of the assets?             ·1· · actually understanding what you are asking.
      ·2· · · · A.· Correct.                                                    ·2· · · · · · · · · MS. POYSER:· Same objection.
      ·3· · · · Q.· Okay.· So now we've suddenly come to realize that           ·3· · · · Q.· (BY MS. ZIEK)· So did you understand my question?
      ·4· · you have at least 75 percent, correct?                              ·4· · · · A.· Can you repeat it one more time for me?
      ·5· · · · A.· Yes.                                                        ·5· · · · Q.· Yes, because I'm just trying to get in all the
      ·6· · · · Q.· Of 1960 Family Practice?                                    ·6· · facts that are necessary for the question.
      ·7· · · · A.· More than that.                                             ·7· · · · A.· Okay.
      ·8· · · · Q.· More than that, okay.                                       ·8· · · · Q.· Is it your testimony, then, that if there was a
      ·9· · · · A.· Right.                                                      ·9· · default within B2 or B3 by 1960, you, as an individual
      10· · · · Q.· So Alex Nguyen and Annie Hoang had very little              10· · guarantor, would be obligated to make those payments?
      11· · interest in 1960 Family Practice, correct?                          11· · · · A.· No, because what my understanding was that UMMC
      12· · · · A.· Yes.                                                        12· · was continued to make payment on 1960 Family Practice, and
      13· · · · Q.· Okay.· So the question again, ma'am, is, when you           13· · they told me they would not put in default.
      14· · made the election to sell these assets September 1st of             14· · · · Q.· Okay, ma'am.· But where does it say that UMMC was
      15· · 2019, did you contact KME Holdings, LLC, to get their               15· · responsible for the payments under B2 and B3?
      16· · consent to sublease?                                                16· · · · A.· It says they will sign -- they shall sign.· They
      17· · · · · · · · · MS. FALCON:· Objection.                               17· · have not signed a lease, a sublease, because --
      18· · · · A.· We were not subleasing.· There was no sublease. 18· · · · Q.· It doesn't say that, ma'am.· It says buyer agrees
      19· · That's what I keep telling you.· There was no sublease.             19· · to sign.· It doesn't say they will.· It doesn't say they
      20· · · · Q.· (BY MS. ZIEK)· Okay.· So it's 1960 Family                   20· · shall.
      21· · Practice PA's position that at all points in time they              21· · · · A.· It says right here 2 - 1 -- 2.1(d) -- (d),
      22· · have occupied Buildings 2 and 3 --                                  22· · "Purchaser shall" -- shall -- not sign..
      23· · · · A.· Correct.                                                    23· · · · Q.· Wait a minute.· On page 4 --
      24· · · · · · · · · MS. FALCON:· Objection.· Form.                        24· · · · A.· No, page 3.· I'm on page 3.· I'm reading on page
      25· · · · · · · · · MS. ZIEK:· I haven't finished.                        25· · 3.· It says, "Purchaser shall sign."


      888-893-3767                                                                                                  TRUSTEE1960-051940
      www.lexitaslegal.com                                                                                                                                 YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 18 of 76
TRUSTEE1960-051941                                                Huong Le Nguyen                                                          Pagess 69..72
                                                                       Page 69                                                                    Page 71
      ·1· · · · Q.· Okay.· And did you obtain that?                              ·1· · · · · · · · · MS. ZIEK:· Sure.
      ·2· · · · A.· No.· They're supposed to obtain that.                        ·2· · · · · · · · · Off the record, please.
      ·3· · · · Q.· Well, ma'am, you're the one that has the                     ·3· · · · · · · · · (Recess taken from 11:50 a.m. to 12:54 p.m.)
      ·4· · liabilities, would you agree with me, under B2 and B3, as            ·4· · · · Q.· (BY MS. ZIEK)· Dr. Le, when we were on the break,
      ·5· · 1960 Family Practice, and under the guaranties which are 4           ·5· · did you take the chance to look at any documents when you
      ·6· · and 5?                                                               ·6· · were on the break?
      ·7· · · · A.· But it says right here the "Purchaser shall                  ·7· · · · A.· I think -- yes, I think it was the APA.
      ·8· · sign."· They "shall" sign.                                           ·8· · · · Q.· The Asset Purchase Agreement?
      ·9· · · · Q.· Understood.· But where is KME?· Did KME agree to             ·9· · · · A.· Yes, the Asset Purchase Agreement.
      10· · this, ma'am?                                                         10· · · · Q.· Did you look at any other documents?
      11· · · · A.· They "shall sign."                                           11· · · · A.· No.
      12· · · · Q.· Ma'am --                                                     12· · · · Q.· We were discussing Exhibit 24 when we broke,
      13· · · · · · · · · MS. ZIEK:· Objection.· Nonresponsive.                  13· · correct?
      14· · · · Q.· (BY MS. ZIEK)· -- did KME agree or consent to                14· · · · A.· Yes.
      15· · 1960's sale of all of its assets to UMMC?                            15· · · · Q.· Okay.· And we were discussing basically what you
      16· · · · A.· They don't have to because I did not assign the              16· · had done pursuant to the terms of the lease agreements as
      17· · lease.                                                               17· · a representative of 1960 Family Practice to obtain the
      18· · · · Q.· Okay, ma'am.· But as a subtenant, they also have             18· · consent of the landlord KME Holdings, Inc., to sublease to
      19· · to agree.· Would you agree with me?                                  19· · UMMC.· Do you recall that line of questioning, ma'am?
      20· · · · A.· They are not subtenant.· They -- okay.· 1960                 20· · · · · · · · · All I asked is do you recall we were
      21· · Family Practice has the lease.· 1960 PA has always been              21· · discussing that, ma'am.
      22· · occupying that lease.· The asset purchase was done.· They 22· · · · A.· Yes.
      23· · continued to operate.· No changes at all.· There was no              23· · · · Q.· Okay.· So my question is what steps did you
      24· · change at all.· They make their payment and they said that           24· · undertake with KME to see if they -- if UMMC could
      25· · they shall sign, they shall, after.· That means after.               25· · sublease from 1960 Family Practice?

                                                                       Page 70                                                                    Page 72
      ·1· · Not before.· Not, like, they will sign on that day.                  ·1· · · · A.· No.
      ·2· · That's my understanding on a layman's term.                          ·2· · · · Q.· Had you in the past, when you were going to
      ·3· · · · Q.· But you also understood that they hadn't signed a            ·3· · sublease to other parties within Buildings 2 or 3, had you
      ·4· · sublease, correct?                                                   ·4· · undertaken to contact the landlord to obtain their consent
      ·5· · · · A.· Correct, they have not signed, because they --               ·5· · before you went ahead and entered the sublease?
      ·6· · this is my understanding.· They will go up to KME.· They ·6· · · · A.· Yes.
      ·7· · will get a sublease agreement with the landlord and they             ·7· · · · Q.· And so you knew as a condition to sublease, did
      ·8· · shall sign.· That mean if KME allow that, then they shall            ·8· · you not, that you needed the landlord's consent?
      ·9· · sign.· But if --                                                     ·9· · · · A.· Yes.
      10· · · · Q.· What if KME didn't agree to it, ma'am, what would            10· · · · Q.· Hold on a second.
      11· · happen then?                                                         11· · · · · · · · · Well, thank God they were all stapled.
      12· · · · A.· Then they continue to make rent payment for 1960 12· · · · · · · · · Okay.· And along those lines, let me show
      13· · Family Practice.                                                     13· · you what has been marked as Exhibit 26.· Is that correct?
      14· · · · Q.· Under what agreement?                                        14· · · · · · · · · MS. FALCON:· 25, I think.
      15· · · · A.· Under the current agreement.                                 15· · · · · · · · · (Exhibit 25 marked.)
      16· · · · Q.· Where does it say that if there's no -- there is             16· · · · Q.· (BY MS. ZIEK)· Can you identify that document?
      17· · no lease agreement -- where does it say in this document,            17· · · · · · · · · MS. ZIEK:· It is coming apart.· Sorry it's
      18· · ma'am, that if there is no lease agreement with KME                  18· · coming apart.
      19· · Holdings, LLC, that they'll continue to make your lease              19· · · · A.· Yes.
      20· · payments or 1960's lease payments?                                   20· · · · Q.· (BY MS. ZIEK)· What is Exhibit 25?
      21· · · · A.· Because that's what they said they did -- they               21· · · · A.· It's a Sublease Agreement made on the 15th day of
      22· · would do that.                                                       22· · July, 2011, between 1960 Family Practice and Lymphedema
      23· · · · Q.· Okay.· Ma'am.                                                23· · Wound Consultant.
      24· · · · · · · · · MS. FALCON:· Can we take a break, because              24· · · · Q.· And it appears that Lymphedema & Wound Care
      25· · it's been almost two hours?                                          25· · Consultants of America, Inc., were a subtenant of 1960


      888-893-3767                                                                                                   TRUSTEE1960-051941
      www.lexitaslegal.com                                                                                                                                  YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 19 of 76
TRUSTEE1960-051942                                                       Huong Le Nguyen                                                 Pagess 73..76
                                                                          Page 73                                                                   Page 75
      ·1· · Family Practice, PA, in one of the buildings, correct?                  ·1· · · · Q.· And the sublease agreement is between whom?
      ·2· · · · A.· Yes.                                                            ·2· · · · A.· 1960 Family Practice, PA, and UMMC.
      ·3· · · · Q.· Were they still a subtenant at the time that 1960               ·3· · · · Q.· Who drafted this document, ma'am?
      ·4· · Family Practice, PA, ceased being a tenant?· I'm sorry,                 ·4· · · · A.· I don't know.· I don't know.· I think it was just
      ·5· · strike that.                                                            ·5· · a copy of the previous Sublease Agreement.
      ·6· · · · · · · · · Were they still a subtenant at the time that              ·6· · · · Q.· If you look at Exhibit 25, it doesn't appear that
      ·7· · 1960 Family Practice, PA, sold all of their assets to                   ·7· · that is correct.
      ·8· · UMMC?                                                                   ·8· · · · A.· No?· Okay.· I don't know.
      ·9· · · · A.· Yes.                                                            ·9· · · · Q.· Okay.· So you don't know who drafted it.· Do you
      10· · · · · · · · · (Exhibit 26 marked.)                                      10· · know who directed it to be drafted?
      11· · · · Q.· (BY MS. ZIEK)· Let me show you what's been marked               11· · · · A.· Stacy Williams.
      12· · as Exhibit Number 26,                                                   12· · · · Q.· Is Ms. Williams a lawyer?
      13· · · · · · · · · (Discussion off the record.)                              13· · · · A.· No.
      14· · · · Q.· (BY MS. ZIEK)· And can you identify Exhibit                     14· · · · Q.· What is Ms. Williams' educational background?
      15· · Number 26?                                                              15· · · · A.· She work for me as the practice administrator for
      16· · · · A.· It's a Consent to Sublease between Broadstone and 16· · past 20 years.
      17· · 1960 Family Practice and the Eye Physicians of North                    17· · · · Q.· Okay.· Do you know what her educational
      18· · Houston.                                                                18· · background is?
      19· · · · Q.· Okay.· And the Eye Physicians of North Houston,                 19· · · · A.· Oh, it's been so long, I don't know.
      20· · was that another subtenant that was also in one of the                  20· · · · Q.· Do you know if she has any legal training?
      21· · buildings?                                                              21· · · · A.· I don't know.· I don't think so.
      22· · · · A.· Yes.                                                            22· · · · Q.· Was this sublease ever prepared to UMMC for
      23· · · · Q.· Okay.· So it was clear that 1960 Family Practice                23· · signature?
      24· · knew that they were to obtain the consent of the landlord               24· · · · A.· Not by me.· Not by me.· Maybe Stacy, but not by
      25· · if they were going to sublease, correct?                                25· · me.

                                                                          Page 74                                                                   Page 76
      ·1· · · · A.· Yes.· The Eye Physicians of North Houston also                  ·1· · · · Q.· Okay.· Do you know why it wouldn't have been
      ·2· · contact the landlord, Broadstone, for the sublease                      ·2· · signed at the same time that Exhibit 24 was signed?
      ·3· · agreement.                                                              ·3· · · · A.· It just timing, that they said they -- UMMC said
      ·4· · · · Q.· Okay.· But the sublease agreement itself was                    ·4· · they would kind of take care of it.
      ·5· · entered into between -- between you and the eye clinic,                 ·5· · · · Q.· Okay.· Was there some rush that was going on in
      ·6· · correct?                                                                ·6· · August or September of 2019 that necessitated a rush to
      ·7· · · · A.· Yes.                                                            ·7· · get these documents prepared and signed?
      ·8· · · · Q.· Okay.· At the time on September 1st of 2019 when                ·8· · · · A.· Yes.
      ·9· · UMMC was to take over all of the assets of 1960 Family                  ·9· · · · Q.· What was the precipitating event?
      10· · Practice, did you have a sublease prepared for Buildings 2              10· · · · A.· There were a lot of physicians leaving.· One of
      11· · and 3 that were presented to UMMC for signature?                        11· · them is Dr. Nguyen.· And the practice could not meet his
      12· · · · A.· I don't remember.                                               12· · payroll anymore.· So the practice billing has decreased a
      13· · · · Q.· Let me show you what's been marked as Exhibit                   13· · lot.· The expenses will continue to be the same.· And we
      14· · Number 26.· And I just copied one.                                      14· · had a lot of difficulty meeting payroll to employee.
      15· · · · · · · · · (Discussion off record.)                                  15· · · · Q.· Was 1960 Family Practice then defaulting on its
      16· · · · · · · · · (Exhibit 27 marked.)                                      16· · obligations in August or September of 2019?
      17· · · · Q.· (BY MS. ZIEK)· Exhibit 27.                                      17· · · · A.· What kind of obligation?
      18· · · · · · · · · Okay.· So this is just one of two your                    18· · · · Q.· Well, you just said it had an inability to meet
      19· · lawyer has presented to me in response to the subpoena                  19· · payroll.· Had it defaulted in its payroll obligations?
      20· · duces tecum.· Okay?· I'm going to make that representation 20· · · · A.· It has not default in payroll, but we are about
      21· · to you.                                                                 21· · to be default in payroll.
      22· · · · · · · · · This appears to be a Sublease Agreement on                22· · · · Q.· You mean in September or August, you were about
      23· · Building 3 for 847 Cypress Creek Parkway.· Do you see                   23· · to be in default on the payroll?
      24· · that, ma'am?                                                            24· · · · A.· Correct.
      25· · · · A.· Yes.                                                            25· · · · Q.· Okay.· Because as of today, 1960 Family Practice


      888-893-3767                                                                                                    TRUSTEE1960-051942
      www.lexitaslegal.com                                                                                                                                    YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 20 of 76
TRUSTEE1960-051943                                                   Huong Le Nguyen                                                 Pagess 77..80
                                                                      Page 77                                                                   Page 79
      ·1· · has no longer any payroll, correct?                                 ·1· · Le Nguyen Family, LP.
      ·2· · · · A.· Correct.                                                    ·2· · · · Q.· Okay.· Are you current or were you current on the
      ·3· · · · Q.· Okay.· Were there any other items you were about            ·3· · Spring building?
      ·4· · to be in default on?                                                ·4· · · · A.· They were not current.
      ·5· · · · A.· Expenses, supply to manufacturing company,                  ·5· · · · Q.· Okay.· Have you been sued by Physicians Alliance
      ·6· · medical supply, rent.· We weren't sure how we would meet ·6· · of Red Oak, LLC?
      ·7· · our rent obligation.                                                ·7· · · · A.· The Physicians Red Oak, LLC, did not file a
      ·8· · · · Q.· And it wasn't just the rent obligations on                  ·8· · lawsuit with 1960 Family Practice.
      ·9· · Buildings 2 and 3, was it, ma'am?                                   ·9· · · · Q.· Okay.· Did they file against the guarantors?
      10· · · · A.· No, it was total rent on all the buildings that             10· · · · A.· No.
      11· · we owe, that we had paid rent before.                               11· · · · Q.· So as we sit here today, even though there may be
      12· · · · Q.· Okay.· How many buildings was that comprised of?            12· · past due obligations on the Spring building, Physicians
      13· · · · A.· One -- Building 1 on 1960, Family Practice,                 13· · Alliance of Red Oak, LLC, who is the landlord, did not sue
      14· · Building 2, Building 3.· There's a building on Spring and           14· · you individually.· Is that correct?
      15· · there's a building on -- 290 location, Cypress.· There are          15· · · · A.· That is correct.
      16· · total five buildings.                                               16· · · · Q.· Okay.· On the 290 Cypress matter, were you a
      17· · · · Q.· Okay.· We already know that you as the guarantor            17· · guarantor on that building?
      18· · are being sued on Building 2 and 3.· Were you also a                18· · · · A.· Yes.
      19· · guarantor on Building 1?                                            19· · · · Q.· Have you been sued on that?
      20· · · · A.· Yes.                                                        20· · · · A.· Yes.
      21· · · · Q.· Were you being sued by the -- by Broadstone for             21· · · · Q.· And how much of the lease term was still
      22· · past due rent in Building 1?                                        22· · remaining at 290 and Cypress when 1960 Family Practice
      23· · · · A.· Not at this time.· They were threatening a                  23· · sold their assets to UMMC?
      24· · lawsuit, yes.                                                       24· · · · A.· I don't remember exactly, but I think maybe seven
      25· · · · Q.· Okay.· Did they ever follow through with the                25· · to ten months.· I don't remember exact amount -- exact how

                                                                      Page 78                                                                   Page 80
      ·1· · threatening of the lawsuit?                                         ·1· · much lease was left.
      ·2· · · · A.· I don't remember.· But as of today, there are no            ·2· · · · Q.· Okay, ma'am.· How long did you think the leases
      ·3· · lawsuit.                                                            ·3· · were, B2 and B3, in this case?
      ·4· · · · Q.· Okay.· But you don't recall whether Building 1              ·4· · · · A.· June 2021.
      ·5· · had filed a lawsuit against you, the landlord for                   ·5· · · · Q.· You thought they were ten-year leases?
      ·6· · Building 1?                                                         ·6· · · · A.· Correct.
      ·7· · · · A.· I think they did.· I just can't remember how it             ·7· · · · Q.· Why don't you go ahead and look at B2 and B3.
      ·8· · was -- it almost -- they -- I'm not sure -- they would              ·8· · · · · · · · · MS. FALCON:· You mean Exhibit 2 and
      ·9· · threaten a lawsuit, but then all of a sudden it just kind           ·9· · Exhibit 3, the current Exhibit 2 and Exhibit 3?
      10· · of went away.· And then we receive a notice that there's            10· · · · · · · · · MS. ZIEK:· I thought you said they were B2
      11· · non-suit.                                                           11· · and B3?
      12· · · · Q.· So there was a notice of non-suit you received,             12· · · · · · · · · MS. FALCON:· Exhibit 2 and Exhibit 3.· But
      13· · but you don't remember being sued or being served with the          13· · they are -- I mean, their Building 2 is Exhibit 2.
      14· · papers?                                                             14· · · · · · · · · MS. ZIEK:· I thought you said they were
      15· · · · A.· I don't remember whether they served the paper.             15· · Exhibits B2 and B3.· I'm sorry, I misunderstood, Amy.
      16· · I think they sue more of the family practice, 1960 Family           16· · · · · · · · · MS. FALCON:· No worries.
      17· · Practice, not on the guarantor but on the family practice.          17· · · · · · · · · MR. MATTHEWS:· So we all stipulate any
      18· · · · Q.· Okay.· Would it be fair to say that Mr. -- I'm              18· · reference to Exhibit B2 means Exhibit 2?
      19· · sorry, Dr. Nguyen and Dr. Hoang were also on the guaranty           19· · · · · · · · · MS. FALCON:· Exactly.
      20· · of Building 1?                                                      20· · · · · · · · · MR. MATTHEWS:· And the same for B3.
      21· · · · A.· Yes.                                                        21· · · · · · · · · MS. FALCON:· Yes.
      22· · · · Q.· Okay.· The Spring building, who was the landlord            22· · · · Q.· (BY MS. ZIEK)· Okay.· Can you turn to the very
      23· · in the Spring building?                                             23· · last page?
      24· · · · A.· It's Physicians Alliance of Red Oak, and Dr. Alex           24· · · · A.· Yes.· Right here.
      25· · Nguyen is one of the owner and Michael Michelle, LLC, and 25· · · · Q.· How many initial lease terms are there, ma'am?


      888-893-3767                                                                                                  TRUSTEE1960-051943
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 21 of 76
TRUSTEE1960-051944                                                  Huong Le Nguyen                                                      Pagess 81..84
                                                                      Page 81                                                                     Page 83
      ·1· · · · A.· 12.                                                         ·1· · · · · · · · · MS. ZIEK:· What's your objection?
      ·2· · · · Q.· So it's not a ten-year lease, is it?                        ·2· · · · · · · · · MS. FALCON:· Calls for a legal conclusion.
      ·3· · · · A.· No.                                                         ·3· · · · Q.· (BY MS. ZIEK)· Okay.· Ma'am, what's your
      ·4· · · · Q.· It's a 12-year lease, correct?                              ·4· · understanding of paragraph 14?
      ·5· · · · A.· For some reason I always stuck in my mind that ·5· · · · A.· We -- UMMC bought the asset, but 1960 Family
      ·6· · only June 2021.                                                     ·6· · Practice still own by myself and the physician.· And so
      ·7· · · · Q.· Okay.· But it was a 12-year lease, you are aware            ·7· · they bought the furniture, the supply -- the asset.· But
      ·8· · of that, correct, now that I've pointed it out?                     ·8· · the money and the -- I mean, the entity itself is still
      ·9· · · · A.· Now that you show it to me, the initial term is             ·9· · there.
      10· · 12 years.                                                           10· · · · Q.· I understand that the entity is still there, but
      11· · · · Q.· Okay.· And if you'd want to check on also B2                11· · that's not what --
      12· · or -- the very last page --                                         12· · · · A.· But they're not -- but they're not buying more
      13· · · · A.· Okay.                                                       13· · than 50 percent of the asset.· They only buy the asset,
      14· · · · Q.· -- it's also 12 years, correct, the initial term?           14· · so -- the furniture, the supply, all of that asset, they
      15· · · · A.· Yes, I see that.· Yes.                                      15· · did not buy all the -- the 51 percent.
      16· · · · Q.· Okay.· Did you give notification to KME Holdings,           16· · · · · · · · · The entity is still there.· It's always
      17· · LLC, that you were going to sell substantially all of your          17· · there.· It's owned by myself.· It never change.· That's
      18· · assets of 1960 Family Practice to them before you did it? 18· · why I continue to operate the 1960 Family Practice entity
      19· · · · A.· No.                                                         19· · even after they purchase the, quote -- quote, the asset,
      20· · · · Q.· Were you aware that one of the events of default            20· · so they can have the furniture to sit the patient and have
      21· · is if all of the assets of the tenant are sold --                   21· · a computer, the patient can have a phone line.· But it
      22· · · · A.· No.                                                         22· · doesn't mean that they buy a hundred percent of the asset.
      23· · · · Q.· -- that that would cause a default?                         23· · · · Q.· Okay, ma'am.· That's not what paragraph 14 says.
      24· · · · A.· No.                                                         24· · It says, tenant shall sell or transfer or enter into an
      25· · · · Q.· So let's look at B2 and B3 again.· I think it's             25· · agreement to sell or transfer all or substantially all of

                                                                      Page 82                                                                     Page 84
      ·1· · Provision 22.· Let me make sure.· I'm sorry, it's -- yeah,          ·1· · its assets or 51 percent?
      ·2· · it's Provision 22 on page 23.                                       ·2· · · · A.· But they did not buy 51 percent.· That's what I'm
      ·3· · · · · · · · · Provision 22 is "Events of Default,"                  ·3· · trying to say.
      ·4· · correct, ma'am?                                                     ·4· · · · Q.· Okay.· What assets remained after the Asset
      ·5· · · · A.· Yes.                                                        ·5· · Purchase Agreement to UMMC of 1960 Family Practice?· What
      ·6· · · · Q.· Okay.· If you'll turn the page to -- to the one             ·6· · assets remained, ma'am?
      ·7· · on page 24, if you'll turn to (xiv), which is 14, Roman             ·7· · · · A.· We still have the telephone system, the computer
      ·8· · numeral (xiv) --                                                    ·8· · system, the AR -- I mean, the account receivable, and the
      ·9· · · · A.· Uh-huh.                                                     ·9· · name, 1960 Family Practice.· They bought only $500,000
      10· · · · Q.· -- it says, "An event of default is if tenant               10· · worth of furniture, you know, the rug, the lights, the
      11· · shall sell or transfer or enter into an agreement to sell           11· · fixture.
      12· · or transfer all or substantially all of its assets or               12· · · · Q.· Did they buy the patient files?
      13· · 51 percent or more of the direct or indirect equity                 13· · · · A.· No.
      14· · interest in tenant change ownership from that ownership in 14· · · · Q.· Okay.· Where did the patient files go?
      15· · existence on the day thereof are more than 51 percent of            15· · · · A.· The patient file belongs to the physician -- of
      16· · the direct or indirect interest and tenant shall be                 16· · 1960 Physician Associates.
      17· · pledged, transferred, hypothecated or conveyed in a single 17· · · · Q.· Okay.· Who owns Physician Associates?
      18· · transaction or a series of related transactions."                   18· · · · A.· No one owns 1960 Physicians.· It's a nonprofit
      19· · · · · · · · · Do you see that, ma'am?                               19· · organization.
      20· · · · A.· Yes.                                                        20· · · · Q.· Okay, ma'am.· So are you saying that the
      21· · · · Q.· Okay.· So based on the lease, you entering into             21· · telephone, computers, AR, and the name of 1960 Family
      22· · Exhibit Number 24, the Asset Purchase Agreement, was a 22· · Practice was worth more than 500,000?
      23· · default under the lease, correct?                                   23· · · · A.· I'm not saying that.· I'm saying that they
      24· · · · · · · · · MS. FALCON:· Objection.· Form.                        24· · purchased the asset, and the list of asset they purchase
      25· · · · A.· No.                                                         25· · were listed in the APA, the chair, the furniture, the --


      888-893-3767                                                                                                  TRUSTEE1960-051944
      www.lexitaslegal.com                                                                                                                                  YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 22 of 76
TRUSTEE1960-051945                                                     Huong Le Nguyen                                                 Pagess 85..88
                                                                        Page 85                                                                   Page 87
      ·1· · they did not buy the patient file.· They did not buy the              ·1· · · · Q.· Yes, ma'am.
      ·2· · physician.· They did not buy 1960 Physician Associates.               ·2· · · · A.· Yes.
      ·3· · That's the name of the practice, 1960 Physician                       ·3· · · · Q.· What value does the insurance contract have if
      ·4· · Associates.· 1960 Family Practice was an inactive entity.             ·4· · it's no longer seeing patients?
      ·5· · It has the lease, it has the furniture, it has the supply,            ·5· · · · A.· None.
      ·6· · and it has the vendor contracts.                                      ·6· · · · Q.· On the ARs, what value has the trustee assigned
      ·7· · · · Q.· Okay.· So it wasn't an inactive company the way               ·7· · the ARs, if any?
      ·8· · you're describing it.· If it had the vendor contracts, if             ·8· · · · A.· We collect after the closing.· I think we collect
      ·9· · it had the landlord leases, if it had the furniture, the              ·9· · more than 500,000.
      10· · supplies, all of that was necessary to run --                         10· · · · Q.· Okay.· So you have 500,000 there that went
      11· · · · A.· It doesn't have the physician.                                11· · into -- that went where, ma'am?· What did the 500 pay for?
      12· · · · Q.· All of that was necessary to run 1960 Family                  12· · · · A.· 500,000 that UMMC paid to us, that paid for, it
      13· · Practice, correct?                                                    13· · paid for -- like I said, it paid for the furniture, the
      14· · · · A.· All of that in order for the Family Practice --               14· · fixture, the computer system, the telephone system, the --
      15· · like a table, a chair, fixtures.                                      15· · · · Q.· Does 1960 Family Practice, PA, still have that
      16· · · · Q.· Understand, ma'am, what we're talking about.                  16· · 500,000?
      17· · · · A.· They did not buy 51 percent of the asset, period.             17· · · · A.· No, it -- everything went to 1960 Family
      18· · · · Q.· Well, I just asked you --                                     18· · Practice.· No, it does not have that 500,000.
      19· · · · A.· The 1960 Family Practice still belongs to me,                 19· · · · Q.· Okay.· What did you utilize the 500,000 to pay
      20· · period.                                                               20· · for?
      21· · · · Q.· Well, it actually is in bankruptcy right now.                 21· · · · A.· To pay the debt.
      22· · · · A.· Correct.                                                      22· · · · Q.· Okay.· And what debt, ma'am?
      23· · · · Q.· So what were the --                                           23· · · · A.· Payroll, vendor -- there were a lot of debt --
      24· · · · A.· I'm sorry, it belongs to the trustee right now,               24· · supply, vaccine.
      25· · but I have authority -- continue to have authority on 1960 25· · · · Q.· Did you use any of the 500,000 to pay your

                                                                        Page 86                                                                   Page 88
      ·1· · Family Practice after September 2019.                                 ·1· · obligations under the leases?
      ·2· · · · Q.· This will good a lot quicker if you just answer               ·2· · · · A.· I don't know.· I don't know.· I think we did
      ·3· · the questions I'm asking.                                             ·3· · for -- for August -- August payment for -- for the
      ·4· · · · A.· Yes, ma'am.                                                   ·4· · August -- I think we did some.· I don't remember.· I have
      ·5· · · · Q.· Okay?                                                         ·5· · to admit, I don't know.
      ·6· · · · A.· Yes, ma'am.                                                   ·6· · · · Q.· Okay.· And would those be in the books and
      ·7· · · · Q.· So I'm asking you what assets other than a                    ·7· · records of 1960 Family Practice?
      ·8· · telephone system, a computer system, some ARs, and a name, ·8· · · · A.· Yeah, it's in the bankruptcy filing.· If you go
      ·9· · did 1960 Family Practice, PA, still have after they signed            ·9· · through the bankruptcy filing --
      10· · this Asset Purchase Agreement with UMMC?                              10· · · · Q.· That wasn't the question, ma'am.· Did -- was
      11· · · · A.· They still have the name of the practice.· They               11· · it -- did it remain, upon receipt, in 1960 Family Practice
      12· · still have the website.· They still have the contract.                12· · PA's account?
      13· · · · Q.· And when you say "the contract," what contract                13· · · · A.· Which one?
      14· · are you talking about?                                                14· · · · Q.· The 500,000?
      15· · · · A.· Some insurance contracts.                                     15· · · · A.· No, it went to ALT -- AOT.
      16· · · · · · · · · MS. FALCON:· I'm sorry, what was that?                  16· · · · Q.· Was that Allergy --
      17· · · · · · · · · THE WITNESS:· Insurance contract.                       17· · · · A.· Of Texas, correct.
      18· · · · Q.· (BY MS. ZIEK)· What value does the insurance                  18· · · · Q.· Okay.· And why did Allergy of Texas receive money
      19· · contract have if 1960 Family Practice, PA, is no longer               19· · that belonged to 1960 Family Practice?
      20· · doing business?                                                       20· · · · A.· Because Allergy of Texas took over TMMS Staffing
      21· · · · A.· 1960 Family Practice, you mean, or not the PA?                21· · and there were about 20-plus billing/collection employee
      22· · There's two.· There's 1960 PA, which is 1960 Physician                22· · that UMMC did not hire and we need them to continue to
      23· · Associates.                                                           23· · operate.
      24· · · · Q.· No, I'm talking about 1960 Family Practice, PA.               24· · · · Q.· Operate what, ma'am?
      25· · · · A.· Okay.· 1960 Family Practice, PA.                              25· · · · A.· The 1960 Family Practice collection --


      888-893-3767                                                                                                    TRUSTEE1960-051945
      www.lexitaslegal.com                                                                                                                                  YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 23 of 76
TRUSTEE1960-051946                                                     Huong Le Nguyen                                                  Pagess 89..92
                                                                        Page 89                                                                 Page 91
      ·1· · billing/collection.· There were a lot of account                      ·1· · · · · · · · · MS. FALCON:· Objection.· Form.
      ·2· · receivables that still have to be work up on.                         ·2· · · · Q.· (BY MS. ZIEK)· Had they, ma'am?
      ·3· · · · Q.· Okay.· And of all the account receivables that                ·3· · · · A.· They had not signed a sublease and they had not
      ·4· · had to be worked up for 1960 Family Practice, PA,                     ·4· · been assigned --
      ·5· · approximately how much of it was collected?                           ·5· · · · Q.· And they had no lease with us, correct?
      ·6· · · · A.· I think it was over a million-something.                      ·6· · · · A.· Correct.· 1960 Family Practice has the lease with
      ·7· · · · Q.· Okay.· And did any of that million dollars, was               ·7· · KME.
      ·8· · it utilized to pay any of the amounts due my client under             ·8· · · · Q.· Okay.· All right.· And so when 1960 knew that
      ·9· · their lease agreements that 1960 owed them?                           ·9· · UMMC wasn't paying portions of building -- I think it's
      10· · · · A.· UMMC was supposed to pay those.                               10· · Building 2 --
      11· · · · Q.· Wait a minute, ma'am.· We don't have a sublease               11· · · · A.· I did not know that.
      12· · with UMMC.· Would you agree with me on that?                          12· · · · Q.· How did you not know that if --
      13· · · · A.· Correct.                                                      13· · · · A.· How do I know?
      14· · · · Q.· And we had no assignment of your leases either,               14· · · · Q.· Okay, ma'am.· Well, wait a minute.· You are
      15· · did we?                                                               15· · responsible for the payment no matter what, correct,
      16· · · · A.· Correct.                                                      16· · because there's been no assignment --
      17· · · · Q.· Okay.· So whether UMMC had a deal with you or not 17· · · · A.· Correct.
      18· · didn't affect me, correct?                                            18· · · · Q.· -- and no sublease?
      19· · · · · · · · · MS. FALCON:· Objection.· Form.                          19· · · · A.· Correct.
      20· · · · Q.· (BY MS. ZIEK)· Didn't affect my clients.· My                  20· · · · Q.· Okay.· So were you or 1960 -- were you as a
      21· · clients were still looking to 1960 Family Practice and you            21· · guarantor or was 1960 Family Practice, PA, writing those
      22· · as a guarantor to pay the debt, correct?· Is that a yes,              22· · checks to my client every month?
      23· · ma'am?                                                                23· · · · A.· Up to September 1, 2019.
      24· · · · A.· Correct, yes.                                                 24· · · · Q.· And after September 1st, what agreement can you
      25· · · · Q.· So the question was, of that million dollars, how             25· · point to that my client was obligated to accept payments

                                                                        Page 90                                                                 Page 92
      ·1· · much of that went to pay my client the amounts it was owed            ·1· · from anybody other than you?
      ·2· · under the lease agreements?                                           ·2· · · · A.· Well, they did accept it.
      ·3· · · · A.· Like I say, UMMC said they would satisfy the                  ·3· · · · Q.· I didn't ask that question.· I ask what agreement
      ·4· · liability, so they would pay the landlord directly.                   ·4· · obligated my client to accept payments from anybody other
      ·5· · · · Q.· When you say "they would satisfy the                          ·5· · than the guarantors or the tenant?
      ·6· · liabilities," what liabilities did UMMC specifically say              ·6· · · · A.· Well, you ask your client.· They cashed a check.
      ·7· · and assume pursuant to this agreement?                                ·7· · · · · · · · · MS. ZIEK:· Objection.
      ·8· · · · A.· The lease.                                                    ·8· · · · · · · · · (Simultaneous speakers.)
      ·9· · · · Q.· They didn't assume the lease, did they, ma'am,                ·9· · · · Q.· (BY MS. ZIEK)· You did cash some of my client's
      10· · because you didn't have the landlord's consent to assume              10· · checks, and we'll get to that in a minute.
      11· · the lease, correct?                                                   11· · · · · · · · · But what I'm asking right now is -- I'm
      12· · · · A.· But they would pay the liability.· See, 1960                  12· · asking you a question, ma'am, and the question is what
      13· · Family Practice continue to have the liability with the               13· · obligated UMMC, not 1960, to pay us?
      14· · landlord.· The liability of that -- that we have to                   14· · · · A.· They assume my liability.
      15· · continue to obligate to you is being taken care of by                 15· · · · Q.· Okay.· And that's an agreement between you and
      16· · UMMC.                                                                 16· · UMMC, correct?
      17· · · · Q.· That's what you thought, correct?                             17· · · · A.· That is correct.
      18· · · · A.· Well, that's what -- that's what we all thought,              18· · · · Q.· Okay.· And so if UMMC wasn't paying for any
      19· · because they -- that's what they thought so too.· Because 19· · reason whatsoever, ma'am -- and it didn't matter, we
      20· · if they weren't, why would they make payment to KME?                  20· · weren't obligated to accept payments from them -- you were
      21· · · · Q.· Well, whether they made payment to KME or not,                21· · to have made those payments, correct?
      22· · ma'am, they have not been assigned the lease, correct?                22· · · · A.· Yes.
      23· · · · A.· Correct.                                                      23· · · · Q.· Was UMMC ever given the right to use the name
      24· · · · Q.· They had not assumed all the -- ail of the                    24· · "1960 Family Practice"?
      25· · obligations under these leases, had they?                             25· · · · A.· No.


      888-893-3767                                                                                                  TRUSTEE1960-051946
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 24 of 76
TRUSTEE1960-051947                                                   Huong Le Nguyen                                                  Pagess 93..96
                                                                        Page 93                                                                 Page 95
      ·1· · · · Q.· So at no point in time after the sale did UMMC                ·1· · to is who started this nonprofit, did you or someone you
      ·2· · ever use "1960 Family Practice"?                                      ·2· · know?
      ·3· · · · A.· That is correct.                                              ·3· · · · A.· No, it was the lawyer -- a group of lawyer.
      ·4· · · · Q.· Okay.· I just have a quick question.· On page 15              ·4· · · · Q.· Do you know if the Physician Associates, LLC,
      ·5· · of Exhibit Number 24, it talks about Benefit and                      ·5· · held contracts to provide physicians for 1960 Family
      ·6· · Assignment.· Do you see that, ma'am?                                  ·6· · Practice, PA?
      ·7· · · · A.· What page are you looking at?                                 ·7· · · · A.· No, the physician -- 1960 Physician Associates
      ·8· · · · Q.· Page 15 under 13.5, Benefit and Assignment.                   ·8· · have their own contract.· They are employed by 1960
      ·9· · · · A.· Okay.· Hold on, hold on.                                      ·9· · Physician Associates.· 1960 Family Practice does have the
      10· · · · Q.· Okay.· The last sentence says, "Seller may assign             10· · chair, the lease, the table, the facility.
      11· · all or part of its rights and obligations hereunder to an             11· · · · Q.· Okay.· I think I got it now.
      12· · Affiliate of Seller, including but not limited to Minh                12· · · · · · · · · So whoever was a physician at 1960 Physician
      13· · Nguyen, MD, or Huong Le, MD."                                         13· · Associates, LLC, could work wherever they wanted?
      14· · · · · · · · · Do you see that, ma'am?                                 14· · · · A.· Correct.
      15· · · · A.· Yes.                                                          15· · · · Q.· Okay.
      16· · · · Q.· Why would this -- why would this contract have                16· · · · A.· There's employment agreement.
      17· · been assignable to you or your husband individually?                  17· · · · Q.· Was there an employment contract between them and
      18· · · · A.· I don't know.· I think at that point -- like I                18· · 1960?
      19· · said, it was -- it was kind of like between David Ellent,             19· · · · A.· No.· There is an employment contract between the
      20· · Stacy, Genesis, and they kind of draft the thing together,            20· · physician and 1960 Physician Associates.
      21· · and then UMMC came in place.                                          21· · · · Q.· Okay.· Did you have an employment contract with
      22· · · · Q.· Did you read it before you signed it, ma'am?                  22· · 1960 Physician Associates, LLC?
      23· · · · A.· Probably, yes.· Yes.· But we didn't assign                    23· · · · A.· Yes.
      24· · anything.· So -- at the point is we just want to leave                24· · · · Q.· Was it still in existence when you sold 1960
      25· · everything open.· We didn't assign.· There was no benefit 25· · Family Practice, PA, in September of 2019?

                                                                        Page 94                                                                 Page 96
      ·1· · assignment.· Nothing happened on that cause..                         ·1· · · · A.· No.· No.
      ·2· · · · Q.· That wasn't the question.                                     ·2· · · · Q.· It had already terminated?
      ·3· · · · · · · · · MS. ZIEK:· And there was no question, so I              ·3· · · · A.· No.· Because I retire, so there was no
      ·4· · object to her response.                                               ·4· · contract -- no employment contract.· I stopped seeing
      ·5· · · · Q.· (BY MS. ZIEK)· Did the bulk of the employees of               ·5· · patients in 2016.
      ·6· · 1960 Family Practice, PA, end up working for UMMC?                    ·6· · · · Q.· When you stopped seeing patients, did you cease
      ·7· · · · A.· Yes, the front desk, the medical assistant, some ·7· · coming to the locations of Building 1, 2, and 3?
      ·8· · of the HR people.                                                     ·8· · · · A.· No, I still come.
      ·9· · · · Q.· And did they then enter into contracts with                   ·9· · · · Q.· And what did you do, then, if you no longer were
      10· · doctors who were staffing 1960 Family Practice, PA?                   10· · seeing patients?
      11· · · · A.· No, they -- there is a 1960 Physician Associates. 11· · · · A.· I still have an office and I help with
      12· · That's where all the -- all the physician contract is                 12· · administration.· I help the 1960 Physician Associates
      13· · held, under that nonprofit organization.                              13· · making sure that they are -- continue to perform so they
      14· · · · Q.· Okay.· And who owns 1960 Physician Associates? 14· · can meet the rent obligation of 1960 Family Practice.
      15· · · · A.· Like I said, no one owns it.· It's a nonprofit                15· · · · Q.· I think one of the reasons you said you ended up
      16· · organization.                                                         16· · selling had something to do with Dr. Alex Nguyen leaving.
      17· · · · Q.· Nonprofit?                                                    17· · Is that correct?
      18· · · · A.· Correct.                                                      18· · · · A.· Well, he was a producer for 1960 Physician
      19· · · · Q.· Did you start 1960 Physician Associates as a                  19· · Associates.· So when he left, there was a lot of sort of
      20· · nonprofit?                                                            20· · like bickering.· There were rumor of defamation.· So a lot
      21· · · · A.· No.· It was started by a nonprofit.                           21· · of physician, after that, felt very uneasy and unstable at
      22· · · · Q.· Okay.· And what nonprofit started it?                         22· · 1960 Physician Associates, so they left also.
      23· · · · A.· It's just nonprofit.· They file a nonprofit --                23· · · · Q.· And when they left, that meant the revenues for
      24· · like Memorial Hermann.                                                24· · 1960 Family Practice, PA, went down.· Is that correct?
      25· · · · Q.· I understand that, ma'am.· What I'm trying to get             25· · · · A.· The 1960 Physician Associates went down, yes.


      888-893-3767                                                                                                  TRUSTEE1960-051947
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 25 of 76
TRUSTEE1960-051948                                               Huong Le Nguyen                                                       Pagess 97..100
                                                                     Page 97                                                                     Page 99
      ·1· · · · Q.· Okay.· So if -- was Physician Associates -- how            ·1· · · · Q.· You think it's an error?
      ·2· · was Physician Associates generating money that 1960 Family ·2· · · · A.· Yes, absolutely.
      ·3· · Practice, PA, was utilizing to pay the rent?                       ·3· · · · Q.· It should have been an ACH agreement to 1960
      ·4· · · · A.· The 1960 Physician generate the money into 1960            ·4· · Family Practice, PA?
      ·5· · Physician Associates, then it pay to 1960 Family Practice, ·5· · · · A.· Correct.· Or this -- this one right here should
      ·6· · the vendor, the supplier, and the rent and all that.· When         ·6· · have been another sublease with the -- there are
      ·7· · it stopped making payment because it doesn't have the              ·7· · Building 1, Building 2, Building 3, 290 building, and
      ·8· · money, then 1960 Family Practice is on the hook.                   ·8· · Spring building.· There are five buildings, so there
      ·9· · · · Q.· Okay.· So in 1960 Family Practice, when the                ·9· · should be five subleases.
      10· · physician association -- or association quit paying 1960           10· · · · Q.· Okay.· So you just think that this was an error?
      11· · Family Practice, PA, at that point in time, were they              11· · · · A.· Yes, yes.· For sure, yes.
      12· · paying in excess -- was 1960 Family Practice, PA, charging         12· · · · Q.· Did you do an appraisal prior to selling the
      13· · any kind of surcharge on the services it was providing the         13· · assets to UMMC?
      14· · doctors?                                                           14· · · · A.· No.
      15· · · · A.· No.                                                        15· · · · Q.· How did you come about deciding $500,000 was all
      16· · · · Q.· It was a straight whatever --                              16· · that the assets of 1960 Family Practice, PA, were worth?
      17· · · · A.· That's true.                                               17· · · · A.· Well, no, they were worth -- like I said, David
      18· · · · Q.· -- 1960 Family Practice, PA, incurred was just             18· · Ellent with Genesis, Stacy Williams had met.· They were
      19· · then passed back with no administrative cost or overhead           19· · interested to buy 1960 Family Practice asset, so they were
      20· · tacked onto it.· Is that a fair statement?                         20· · debate back and forth, back and forth.
      21· · · · A.· Correct.                                                   21· · · · · · · · · And the reason why we did not go with
      22· · · · Q.· Okay.· Pursuant to this sublease, which is                 22· · Genesis and David Ellent is because they would not give
      23· · Exhibit 25 or 26, the Sublease Agreement for Building 3            23· · any cash up front, so we would not be able to get the 500
      24· · between UMMC --                                                    24· · plus the liability.· So we want to know how much -- I ask
      25· · · · · · · · · MS. FALCON:· It's 25.                                25· · my HR company, how much do we need to satisfy one month of

                                                                     Page 98                                                                    Page 100
      ·1· · · · · · · · · MS. POYSER:· It's 27.                                ·1· · payroll to the physician, the malpractice insurance, the
      ·2· · · · · · · · · MS. ZIEK:· 27?· Okay.· Thank you.                    ·2· · vendor, just to get the practice flowing for 30 days, and
      ·3· · · · Q.· (BY MS. ZIEK)· Number 27, ma'am, if you'll turn            ·3· · she said your expenses run between 500- to 600,000 a
      ·4· · to Exhibit C, it has an ACH agreement.· Do you see that,           ·4· · month.
      ·5· · ma'am?                                                             ·5· · · · Q.· Okay.· And so you basically sold what you were
      ·6· · · · A.· Exhibit C.· Hold on.· Yes.                                 ·6· · doing for one month's worth of expenses.· Is that correct?
      ·7· · · · Q.· Okay.· What is Physicians Alliance of Red Oak?             ·7· · · · A.· Correct.· Kind of -- that number was kind of --
      ·8· · · · A.· That's the one that is the building on 2920, the           ·8· · we were in a crisis where we didn't know whether we could
      ·9· · Spring building.                                                   ·9· · meet payroll.
      10· · · · Q.· And that's the actual owner, correct?                      10· · · · Q.· Okay.· Did you ever go seek loans from banks to
      11· · · · A.· Of the Spring building located on FM 2920.                 11· · make payroll?
      12· · · · Q.· Okay.· Why would the sublease have been directing 12· · · · A.· We tried.
      13· · UMMC to pay Physicians Alliance of Red Oak?                        13· · · · Q.· When you say "we tried," did you go seek a loan
      14· · · · A.· Because they occupy the space in that -- at the            14· · from a bank when you knew --
      15· · Spring building, the 2920 building.                                15· · · · A.· No.
      16· · · · Q.· Okay.· But this is for Building 3 of Cypress               16· · · · Q.· -- 1960 Family Practice was in straits, in dire
      17· · Creek, 847 Cypress Creek Parkway, which was one of my              17· · straits?
      18· · client's buildings, correct?                                       18· · · · A.· I paid out of my own personal money, yes.
      19· · · · A.· Correct.· I think it just an error in terms of             19· · · · Q.· And when you say you paid out of your personal
      20· · the location.                                                      20· · money --
      21· · · · Q.· Well, if UMMC was to pay you direct and you in             21· · · · A.· I loaned the practice -- I loaned 1960 Family
      22· · turn were supposed to pay us --                                    22· · Practice over $2 million.
      23· · · · A.· No, no.· Physicians Alliance of Red Oak is the             23· · · · Q.· Did you ever take any money out of 1960 Family
      24· · owner of a Spring building that has nothing to do with             24· · Practice?
      25· · this.· I think this attachment is attaching a wrong --             25· · · · A.· No.· When -- I mean, as a -- when -- like a


      888-893-3767                                                                                                      TRUSTEE1960-051948
      www.lexitaslegal.com                                                                                                                                 YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 26 of 76
TRUSTEE1960-051949                                                 Huong Le Nguyen                                             Pagess 101..104
                                                                    Page 101                                                                 Page 103
      ·1· · salary?                                                            ·1· · · · Q.· Okay.· And what does this Managed Access and
      ·2· · · · Q.· No.· I'm saying as any kind of distribution,               ·2· · Service Agreement do?
      ·3· · dividend, stock -- I mean on your stock, anything?                 ·3· · · · A.· It just provide IT access because -- the Complete
      ·4· · · · A.· Yes.                                                       ·4· · IT Network access.
      ·5· · · · Q.· Did you ever take money out of 1960 Family                 ·5· · · · Q.· Okay.· And was this Complete IT Network access
      ·6· · Practice?                                                          ·6· · part of the assets that 1960 Family Practice retained?
      ·7· · · · A.· Yes.· We stopped doing that after about 2017.              ·7· · · · A.· Yes.
      ·8· · But before that, yes, we did.                                      ·8· · · · Q.· So, in essence, the network and all of the
      ·9· · · · Q.· And how much would you have taken out on a yearly          ·9· · computers that make up this were owned by 1960 Family
      10· · basis before 2017 when you stopped?                                10· · Practice, correct?
      11· · · · A.· It was a good amount.                                      11· · · · A.· Yes.
      12· · · · Q.· More than 2 million?                                       12· · · · Q.· Okay.· And this Managed Access, how much were
      13· · · · A.· No, probably -- no, I don't think over 2 million.          13· · they supposed to pay you to access the IT or the
      14· · · · Q.· So what was the time frame that you personally             14· · information on the network?
      15· · loaned 1960 $2 million?                                            15· · · · A.· It's in here.· I don't know.· It's whatever it
      16· · · · A.· Between 2018 and 2019.                                     16· · state in here.
      17· · · · Q.· Did you receive payment back for any of that               17· · · · Q.· It says 2400 a week.· Do you see that, ma'am, on
      18· · 2 million?                                                         18· · page 2, not numbered but the second page?
      19· · · · A.· I don't know.· I don't think so.                           19· · · · A.· Second page.· Where is that at?
      20· · · · Q.· Would Ms. Williams know?                                   20· · · · Q.· Up at the top, (g).
      21· · · · A.· Yes, my accountant would know, Patricia                    21· · · · A.· Okay, yes.
      22· · McDonnell -- McConnell, M-C-C-O-N-N-E-L-L.· I think I took 22· · · · Q.· And then it goes on to say that UMMC will pay the
      23· · out about 2.6 million against my life insurance policy. I          23· · cost associated with the network done at the request of
      24· · have a -- what do you call -- one of those variable life           24· · UMMC, correct?
      25· · insurance policy.· So I was able to take out a loan                25· · · · A.· Correct.

                                                                    Page 102                                                                 Page 104
      ·1· · against that life insurance policy.                                ·1· · · · Q.· And that basically if they have to disable users,
      ·2· · · · Q.· Is that loan still against the policy?                     ·2· · that kind of stuff, there will be additional charges,
      ·3· · · · A.· I think this year, just now, we paid it.· It was           ·3· · correct?
      ·4· · a high interest rate loan.                                         ·4· · · · A.· Yes.
      ·5· · · · Q.· And when you say "we paid it," who do you mean?            ·5· · · · Q.· Is UMMC still utilizing this -- this network?
      ·6· · · · A.· I paid it.· I pay back to the life insurance               ·6· · · · A.· No, I don't think so.
      ·7· · policy.                                                            ·7· · · · Q.· When did they cease utilizing this network?
      ·8· · · · Q.· Okay.                                                      ·8· · · · A.· I don't know when the last time they pay.· It
      ·9· · · · · · · · · (Exhibit 28 marked.)                                 ·9· · only effective for three months from -- if you go into
      10· · · · Q.· (BY MS. ZIEK)· Let me show you what's been marked 10· · term --
      11· · as Exhibit 28.· What is that, ma'am?                               11· · · · Q.· Uh-huh.
      12· · · · A.· It's a Managed Access Service Agreement on                 12· · · · A.· -- I think they only use it for three months.
      13· · September 16, 2019.                                                13· · · · Q.· Okay.· So for three months, that's all they
      14· · · · Q.· And who is it between?                                     14· · utilized it for?· Is this system still being utilized
      15· · · · A.· Allergy of Texas and UMMC, on these entity.                15· · today?
      16· · · · Q.· 1960 Family Practice -- I'm sorry, 1960 Physician          16· · · · A.· I don't think so.
      17· · Associates, 1960 Family Practice, and that's the PA,               17· · · · Q.· Okay.· Where is all of this, the computer
      18· · correct?                                                           18· · equipment and all of that, now?
      19· · · · A.· Correct.                                                   19· · · · A.· They're located in Building 1.
      20· · · · Q.· 1960 Digital Imaging, correct?                             20· · · · Q.· Is the network still up and running?
      21· · · · A.· Correct.                                                   21· · · · A.· I don't know.
      22· · · · Q.· Providence Hospital of North Houston, correct?             22· · · · Q.· Who would know, ma'am?
      23· · · · A.· Yes.                                                       23· · · · A.· UMMC.
      24· · · · Q.· And TMMS, what does that stand for?                        24· · · · Q.· Did you ultimately sell the network to UMMC?
      25· · · · A.· Texas Medical Management Services.                         25· · · · A.· No.

      888-893-3767                                                                                             TRUSTEE1960-051949
      www.lexitaslegal.com                                                                                                                              YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 27 of 76
TRUSTEE1960-051950                                                     Huong Le Nguyen                                                   Pagess 105..108
                                                                        Page 105                                                                      Page 107
      ·1· · · · Q.· Then why would UMMC know if they only had access               ·1· · · · A.· No.
      ·2· · to it for three months?                                                ·2· · · · Q.· Why not?
      ·3· · · · A.· They have their own network.· They built their                 ·3· · · · A.· Because the HIPAA.· We are not -- we -- okay.
      ·4· · own network.                                                           ·4· · We're a computer with a network.· We're this.· We're not
      ·5· · · · Q.· Okay.· I understand that they built their own                  ·5· · anything.· There's -- the medical record, the patient
      ·6· · network, ma'am, but these were items that belonged to 1960             ·6· · file, everything belongs to the physician, and the
      ·7· · Family Practice.· What happened to the items that belonged             ·7· · physician are employed by 1960 Physician Associates.
      ·8· · to 1960 Family Practice?                                               ·8· · · · Q.· I'm well aware of that, ma'am.· But when I put
      ·9· · · · A.· I think it is still sitting there in the server                ·9· · something on somebody's network and somebody else comes in
      10· · room.                                                                  10· · and says, "I want to see what she put on my network," I
      11· · · · Q.· Do you know if they're using the server?                       11· · have to get somebody else's permission to do that.
      12· · · · A.· Like I said, I don't know.· But all I know is                  12· · · · A.· (Nodding negatively.)
      13· · they stopped paying and they have their own network.· They 13· · · · Q.· No?· Okay.
      14· · said this network is too old.· They only need it for three             14· · · · · · · · · So as far as the physical network itself,
      15· · months to transfer all the medical records from 1960                   15· · servers, computers, everything, you don't know where that
      16· · Physician Associates into their own network.· Their own                16· · stuff is, or you believe it's in Building 1, correct?
      17· · network is a lot more robust than our network.                         17· · · · A.· It is in Building 1, yes.
      18· · · · Q.· So who owns the medical records that were sitting              18· · · · Q.· And you don't know what part, if any, of those
      19· · on this system?                                                        19· · assets that UMMC is still utilizing today?
      20· · · · A.· 1960 Physician Associates.                                     20· · · · A.· Correct.
      21· · · · Q.· Okay.· So why isn't 1960 Physician Associates                  21· · · · Q.· Was that network housed in a different building
      22· · part of this -- part of this agreement?· If they own the               22· · previous to this agreement being made?
      23· · information sitting on the server that was owned by 1960               23· · · · A.· It was housed at the hospital, Providence
      24· · Family Practice, why weren't they part of this agreement?              24· · Hospital of North Houston.· No, I'm sorry, it was not
      25· · · · A.· Because they're 1960 -- they are.· On the asset                25· · housed at Providence Hospital.· It's a network that housed

                                                                        Page 106                                                                      Page 108
      ·1· · purchase or what --                                                    ·1· · at the Building 1.· Providence Hospital of North Houston
      ·2· · · · Q.· No, ma'am.· I'm talking about the Managed Access               ·2· · has the route, but it -- it can access it and inside that
      ·3· · and Service Agreement.                                                 ·3· · network, the firewall.· So they have many, many account.
      ·4· · · · A.· Yeah, 1960 Physician Associates.                               ·4· · Everybody kind of dive into that central hub, and the
      ·5· · · · Q.· No, it basically says -- why haven't -- why                    ·5· · central hub is in Building 1.
      ·6· · weren't they a signatory on this?                                      ·6· · · · Q.· Okay.· So this contract, in your opinion, was
      ·7· · · · A.· Oh, because they only own the record, but we                   ·7· · only good for three months.· Is that correct?
      ·8· · own -- we own the actual line and the server and the                   ·8· · · · A.· I think they renew every three months or they
      ·9· · computer and all that.· They just have is the patient                  ·9· · said they only need it for three months, and I don't know
      10· · database.                                                              10· · what happened after that.
      11· · · · Q.· Okay.· And I'm asking I guess a question that                  11· · · · Q.· Well, who would know, ma'am?
      12· · seems to be difficult to answer.· Why didn't 1960 Family               12· · · · A.· I think Stacy Williams.
      13· · Practice, PA, obtain 1960 Physician Associates --                      13· · · · Q.· And Stacy Williams is employed by a company you
      14· · · · A.· Because there's no ownership of 1960 Physician 14· · own, correct?
      15· · Associates.· There's no one owns it.· No human.                        15· · · · A.· Correct.· That's why she's -- she's working at
      16· · · · Q.· I understand that, but somebody has to have the                16· · Allergy of Texas.· She's business officer.· She signed the
      17· · ability to act on behalf of 1960 Physician Associates,                 17· · agreement.
      18· · would you agree with me, ma'am, even though they're a                  18· · · · · · · · · MS. ZIEK:· The notices of default I know are
      19· · nonprofit?· Nonprofits usually are run through --                      19· · in.· Do you recall what -- what exhibits they are, and
      20· · · · A.· The manager -- the manager would, but not me. I 20· · I'll just give her a copy?
      21· · don't know who.                                                        21· · · · · · · · · MS. POYSER:· 7, I think.
      22· · · · Q.· I didn't ask you if you know who.· I asked you                 22· · · · · · · · · MS. FALCON:· No, no, it is 7.· It is 7.· But
      23· · wouldn't 1960 Physician Associates' manager have been                  23· · I don't think I put in --
      24· · required to give permission to 1960 Family Practice, PA,               24· · · · · · · · · MS. ZIEK:· Did you only put in the one?
      25· · to be able to transfer their data to UMMC?                             25· · · · · · · · · MS. FALCON:· I only put the one in for


      888-893-3767                                                                                                     TRUSTEE1960-051950
      www.lexitaslegal.com                                                                                                                                       YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 28 of 76
TRUSTEE1960-051951                                               Huong Le Nguyen                                                    Pagess 109..112
                                                                   Page 109                                                                    Page 111
      ·1· · Building 2.                                                       ·1· · · · Q.· If you say no, then that's what I'm going to go
      ·2· · · · · · · · · MS. ZIEK:· I'll put in another one.                 ·2· · with.
      ·3· · · · · · · · · (Exhibit 29 marked.)                                ·3· · · · A.· Okay.· I don't know.
      ·4· · · · Q.· (BY MS. ZIEK)· I'm going to show you what's been ·4· · · · · · · · · MS. ZIEK:· Do you have an extra copy of her
      ·5· · marked as Exhibit 7 and Exhibit 29, Dr. Le.                       ·5· · answer for her?
      ·6· · · · · · · · · MS. ZIEK:· I'll give you a copy of both of          ·6· · · · · · · · · (Exhibit 30 marked.)
      ·7· · them.                                                             ·7· · · · Q.· (BY MS. ZIEK)· Dr. Le, I'm going to ask you to
      ·8· · · · Q.· (BY MS. ZIEK)· Have you seen these letters before ·8· · take a look at Exhibit 30, ma'am.
      ·9· · coming here today?                                                ·9· · · · A.· Okay.
      10· · · · A.· No.                                                       10· · · · Q.· This is a Second Amended Answer Counterclaims and
      11· · · · Q.· You've never seen them?                                   11· · Cross-Claim that you filed this morning in this case.
      12· · · · A.· Who is Kim Brown?· Who is she?                            12· · Were you aware of that, ma'am?
      13· · · · Q.· It doesn't matter who Mr. Brown is.· But have you         13· · · · A.· Aware of --
      14· · seen these letters before coming here today?                      14· · · · Q.· That you filed this this morning in this case?
      15· · · · A.· I don't think so.                                         15· · · · A.· I know my attorney did something.· I don't know.
      16· · · · Q.· You reside at 50 Palmer Crest Drive, correct?             16· · · · Q.· Okay.· Did you had a chance to review this before
      17· · · · A.· Correct.                                                  17· · your attorney --
      18· · · · Q.· Okay.· Is there any reason to believe that these          18· · · · A.· No, I don't think so.
      19· · letters didn't make it to you if that's your address?             19· · · · Q.· So you didn't review it?
      20· · · · A.· Yeah.· Did they send it?                                  20· · · · A.· No.
      21· · · · Q.· I'm asking.                                               21· · · · Q.· In this, you're filing -- you filed a
      22· · · · A.· Did I sign for it?· I don't think I have.                 22· · counterclaim against my client.· Were you aware of that,
      23· · · · Q.· Okay, ma'am.· Did 1960 Family Practice, PA, still         23· · ma'am?
      24· · have a location at 2320 Northwest Freeway, Suite 900 --           24· · · · A.· Yes.
      25· · · · A.· No.                                                       25· · · · Q.· Okay.· And in your own words tell me what you are

                                                                   Page 110                                                                    Page 112
      ·1· · · · Q.· -- Jersey Village?                                        ·1· · suing my client for.
      ·2· · · · A.· No.                                                       ·2· · · · A.· That you allow Dr. Quoc Le be removed as a
      ·3· · · · Q.· They were still liable on that lease, correct?            ·3· · guarantor and substitute Dr. Hoang as a guarantor and cap
      ·4· · · · A.· Uh-huh.                                                   ·4· · her only at 5 percent.
      ·5· · · · Q.· Wasn't that the lease building on 290?                    ·5· · · · Q.· But you told my client in Exhibit 22 and 23 that
      ·6· · · · A.· Yes.                                                      ·6· · there had been no modifications.· Do you recall that,
      ·7· · · · Q.· Okay.· And you were still liable on that lease,           ·7· · ma'am?
      ·8· · correct?                                                          ·8· · · · A.· Modification of what?
      ·9· · · · A.· Not now.                                                  ·9· · · · Q.· Of the guaranty.
      10· · · · Q.· I'm not asking about now, ma'am.· I'm asking              10· · · · A.· I don't understand what you are saying.· What are
      11· · about October 22nd --                                             11· · you saying?
      12· · · · A.· Oh, October 22nd.                                         12· · · · Q.· Go to Exhibit 22 and 23.
      13· · · · Q.· -- of 2019, the date on these letters.                    13· · · · A.· Okay.
      14· · · · A.· Oh, I see.· Yes, yes.                                     14· · · · Q.· Okay.
      15· · · · Q.· Okay.· So you were still on the lease at that             15· · · · A.· It is -- yes, I know -- okay.· 22 and 23, okay.
      16· · building, and that's your home address, correct?                  16· · Let me just go there.
      17· · · · A.· Correct.                                                  17· · · · Q.· Under paragraph 2 --
      18· · · · Q.· Okay, ma'am.· But you've never seen these letters 18· · · · A.· Okay.
      19· · before; that's your statement?                                    19· · · · Q.· -- "the Guaranty executed by the Guarantors is in
      20· · · · A.· No.                                                       20· · full force and effect and constitutes a valid binding and
      21· · · · Q.· Okay.                                                     21· · forceable obligation of Guarantors."
      22· · · · A.· I mean, did I sign for it?· I don't know.· Was it         22· · · · · · · · · Do you see that, ma'am?
      23· · ever delivered to my home?                                        23· · · · A.· Yes, I do.
      24· · · · Q.· I'm asking, ma'am, if you've seen it.                     24· · · · Q.· "There are no amendments, assignments or
      25· · · · A.· I don't think so.                                         25· · modifications of any kind to the Guaranty."


      888-893-3767                                                                                               TRUSTEE1960-051951
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 29 of 76
TRUSTEE1960-051952                                                     Huong Le Nguyen                                                Pagess 113..116
                                                                        Page 113                                                                     Page 115
      ·1· · · · · · · · · Do you see that?                                         ·1· · · · Q.· (BY MS. ZIEK)· Okay.· I understand that's your --
      ·2· · · · A.· Yes, ma'am.                                                    ·2· · your allegation.· But under 22 and 23, these are estoppel
      ·3· · · · Q.· Okay.· So that wasn't true when you signed this,               ·3· · certificates given to my client when my client bought the
      ·4· · was it, ma'am?                                                         ·4· · building in 2018, correct?· And did Quoc Le sign this,
      ·5· · · · A.· Signed what?                                                   ·5· · ma'am?
      ·6· · · · Q.· When you signed 23 and 22?                                     ·6· · · · A.· That's something between you and Broadstone. I
      ·7· · · · A.· As I said, all of this I review my attorney and                ·7· · don't know.
      ·8· · they give me something.· They said everything looks fine, ·8· · · · Q.· No.· No, ma'am, it's not between me and
      ·9· · sign it.· I -- I don't --                                              ·9· · Broadstone.· That's between you and Broadstone when you
      10· · · · Q.· Ma'am, is that a true statement as we sit here                 10· · made a representation my client relied upon.· You're aware
      11· · today?· That's a yes-or-no question?                                   11· · of that, correct?
      12· · · · A.· On what?                                                       12· · · · A.· No.· I mean, you buy a building from Broadstone.
      13· · · · Q.· What I just read, that there are "no amendments,               13· · You need to due diligence with Broadstone.· Why would I be
      14· · assignments or modifications of any kind to the guaranty"?             14· · liable for something --
      15· · · · A.· I don't know.· I don't know.· I'm so confused, I               15· · · · Q.· Because you signed something swearing out
      16· · don't know.                                                            16· · something was true or not.· Are you aware of that, ma'am?
      17· · · · Q.· Well, Dr. Le, you just said one of this things                 17· · · · A.· Yes.
      18· · you are suing my client for is that we allowed a                       18· · · · Q.· With this Estoppel Certificate, correct, 23 and
      19· · modification to a guaranty and capped Dr. Hoang's                      19· · 22?
      20· · liability at 5 percent even though I've already pointed                20· · · · A.· Correct.
      21· · out to you you're joint and severally liable regardless,               21· · · · Q.· Okay.· And that statement is made.· And --
      22· · correct?                                                               22· · Broadstone is not -- Broadstone is not making those
      23· · · · A.· Yes.                                                           23· · statements.· You are, correct, ma'am?
      24· · · · Q.· Okay.· So the lease amendment, which is                        24· · · · A.· But --
      25· · exhibit --                                                             25· · · · Q.· Wait a minute.

                                                                        Page 114                                                                     Page 116
      ·1· · · · · · · · · MS. ZIEK:· I don't know.· Somebody give it               ·1· · · · A.· -- the whole thing here is --
      ·2· · to me, please.                                                         ·2· · · · Q.· Ma'am, answer the question asked.
      ·3· · · · · · · · · MR. MATTHEWS:· What's that?                              ·3· · · · A.· Correct, yes.
      ·4· · · · · · · · · MS. ZIEK:· The addendum to the original                  ·4· · · · Q.· If you need to explain, your client's
      ·5· · lease guaranty.· What number is it?                                    ·5· · more than a wonderful adversary.· She can get you to
      ·6· · · · · · · · · MS. FALCON:· 6.                                          ·6· · explain it whenever it's her turn, okay?
      ·7· · · · Q.· (BY MS. ZIEK)· Hold on just one second.                        ·7· · · · A.· Okay.· Sure.
      ·8· · · · · · · · · On Exhibit 6, when was the Addendum to the               ·8· · · · Q.· So your signature is on this, correct, ma'am?
      ·9· · Original Lease Guaranty done?· Number 6, what date was it?             ·9· · · · A.· Correct, yes, ma'am.
      10· · · · · · · · · MS. FALCON:· Exhibit 6.                                  10· · · · Q.· And you knew, because my client is listed as the
      11· · · · · · · · · THE WITNESS:· Oh, October 31, 20 --                      11· · buyer in the paragraph --
      12· · · · · · · · · MS. FALCON:· Are you talking about                       12· · · · A.· Correct.
      13· · Exhibit 6?                                                             13· · · · Q.· -- that you were giving these statements and that
      14· · · · · · · · · MS. ZIEK:· Uh-huh.                                       14· · my client would be relying upon the statements you were
      15· · · · · · · · · MS. FALCON:· She's not on Exhibit 6.                     15· · giving him, correct?
      16· · · · · · · · · MS. ZIEK:· Well, but she's got the date,                 16· · · · A.· Yes.
      17· · because she's obviously reading from it.                               17· · · · Q.· Okay.· Where is Quoc Le's signature on this?
      18· · · · A.· It says Broadstone -- it says Broadstone, not                  18· · · · A.· I don't know.
      19· · KME.                                                                   19· · · · Q.· It's not on there, is it, ma'am?
      20· · · · · · · · · "Broadstone execute an addendum to original              20· · · · A.· Well, you see it isn't.· It's not in there.
      21· · guaranty whereas Broadstone, without permission or consent 21· · · · Q.· That's correct.· But you understood that
      22· · of Dr. Le, remove Dr. Quoc Le as Guarantor and substitute              22· · Dr. Annie Hoang was signing, correct, because you signed
      23· · Thu A. Hoang as Guarantor.· The addendum also cap Hoang's 23· · two rows above her?
      24· · liability at 5 percent."                                               24· · · · A.· Correct.· I signed, but my point is I -- I only
      25· · · · · · · · · Broadstone did that.                                     25· · know myself, and I know I signed this.· I don't know any


      888-893-3767                                                                                                   TRUSTEE1960-051952
      www.lexitaslegal.com                                                                                                                                      YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 30 of 76
TRUSTEE1960-051953                                                Huong Le Nguyen                                               Pagess 117..120
                                                                   Page 117                                                                Page 119
      ·1· · other person.· And you're --                                      ·1· · · · · · · · · MS. FALCON:· Our apologies.· That's our
      ·2· · · · Q.· But you signed it both as 1960 Family Practice,           ·2· · mistake.
      ·3· · PA, correct?                                                      ·3· · · · · · · · · MS. POYSER:· I'm sorry.· Just for
      ·4· · · · A.· Correct.                                                  ·4· · clarification what this is, so the new whatever you are
      ·5· · · · Q.· You already knew Quoc Le -- Dr. Quoc Le had left,         ·5· · going to file subsequently will remove Number 31 from
      ·6· · correct?                                                          ·6· · page 35?
      ·7· · · · A.· Yes.                                                      ·7· · · · · · · · · MS. ZIEK:· And 30.· It would have to.
      ·8· · · · Q.· In fact, you had purchased his -- his shares of           ·8· · · · · · · · · MS. FALCON:· Yeah, it will remove 30 and 31.
      ·9· · stock, correct?                                                   ·9· · · · · · · · · MS. POYSER:· And that is the only thing it
      10· · · · A.· Correct.                                                  10· · will remove?
      11· · · · Q.· Okay.· And did -- was there anything in the               11· · · · · · · · · MS. FALCON:· Yes.
      12· · purchase agreement between 1960 Family Practice, PA, and 12· · · · · · · · · MS. ZIEK:· Okay.
      13· · Dr. Quoc Le that said he would remain liable on any               13· · · · Q.· (BY MS. ZIEK) Okay.· Let's go down, on page 4,
      14· · obligations of 1960 Family Practice, PA, once his stock           14· · the declarations you were asking for.· Do you see this,
      15· · had been bought?                                                  15· · ma'am?
      16· · · · A.· I don't think so.· I don't know.                          16· · · · A.· What page is it?
      17· · · · Q.· Okay.· So two years after the addendum to the             17· · · · Q.· Page 4.
      18· · lease agreement was signed, you represented to my client          18· · · · A.· Okay.· Sorry.· Page 4.
      19· · that there had been no -- no modifications or amendments,         19· · · · Q.· Okay.· You're asking for a declaration, even
      20· · correct --                                                        20· · though the written contract says what it says, that the
      21· · · · A.· Correct.                                                  21· · lease required KME to provide notice to the tenant.· The
      22· · · · Q.· -- to either of the two leases?                           22· · tenant is 1960, correct?
      23· · · · A.· Correct.                                                  23· · · · A.· Yes.
      24· · · · Q.· But you are suing my client now because there's           24· · · · Q.· And 1960 is not a party to this lawsuit any
      25· · an addendum, correct?                                             25· · longer, is it, ma'am, because of the bankruptcy?

                                                                   Page 118                                                                Page 120
      ·1· · · · A.· But it has been removed.· I thought that my               ·1· · · · A.· I don't know.· I don't know the law.
      ·2· · attorney said they removed that claim.                            ·2· · · · Q.· Okay.
      ·3· · · · Q.· Okay.· Well, you just saw that they haven't,              ·3· · · · A.· I don't know.
      ·4· · correct?                                                          ·4· · · · Q.· But you're not -- we're not suing you as the
      ·5· · · · A.· No, I just saw -- I just kind of looked through           ·5· · tenant, correct?
      ·6· · it, and you said I have seen this today.· I said, no, I           ·6· · · · A.· You're suing me as a guarantor.
      ·7· · have not read the specific.· But it is dated today and it         ·7· · · · Q.· Okay.
      ·8· · looks like they removed it.                                       ·8· · · · · · · · · That "KME filed the lawsuit without
      ·9· · · · Q.· No.· Number 31, ma'am, says, "The execution of            ·9· · providing proper notice of intent to accelerate it
      10· · the Guaranty addendum on October 31, 2016, breached the 10· · followed by notice of acceleration required by the lease
      11· · terms of the Guaranty as it modified Dr. Le's obligations         11· · and Texas law," that's your position, correct?
      12· · and liability under the guaranty without her written              12· · · · A.· I don't know what that means, but, yes, I -- all
      13· · agreement."                                                       13· · I know is the lease end 2011 as my guarantor ends.
      14· · · · · · · · · Do you --                                           14· · · · Q.· You mean that the lease that was entered into in
      15· · · · · · · · · MS. FALCON:· Before we go further, that was         15· · 2011 ended your obligations ten years later?
      16· · a mistake.· Those should have been taken out this morning, 16· · · · A.· Correct.
      17· · so that's just a mistake.· You are correct, the                   17· · · · Q.· So that all the obligations that weren't paid by
      18· · counterclaim was removed.· Those were left in there by            18· · anyone, UMMC or any subtenant, remain the obligation of
      19· · mistake.                                                          19· · you as the guarantor, correct?
      20· · · · · · · · · MS. ZIEK:· The counterclaim was removed in          20· · · · · · · · · MS. FALCON:· Objection.· Form.
      21· · its entirety?                                                     21· · · · A.· No.· I -- I only guarantee ten years on lease.
      22· · · · · · · · · MS. FALCON:· No.· The counterclaim relating         22· · · · Q.· (BY MS. ZIEK)· Understand.· But until June 22nd
      23· · to the guaranty change was removed, and the declaration           23· · of 2021, if there were amounts remaining that were due and
      24· · should have been removed as well.                                 24· · owing the landlord, you would be responsible for those as
      25· · · · · · · · · THE WITNESS:· So don't kill the messenger.          25· · a guarantor?


      888-893-3767                                                                                             TRUSTEE1960-051953
      www.lexitaslegal.com                                                                                                                            YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 31 of 76
TRUSTEE1960-051954                                                     Huong Le Nguyen                                                  Pagess 121..124
                                                                        Page 121                                                                     Page 123
      ·1· · · · · · · · · MS. FALCON:· Objection.· Form.                           ·1· · · · A.· Yes.
      ·2· · · · · · · · · MS. ZIEK:· What's the objection?                         ·2· · · · Q.· -- would you agree?· And would you agree you
      ·3· · · · · · · · · MS. FALCON:· You are saying remaining                    ·3· · entered into written obligations?
      ·4· · obligations.· Those could be obligations that go after                 ·4· · · · A.· Right, but I don't know -- I didn't even know the
      ·5· · that date.· So, no, that's not -- that's not the                       ·5· · tenant -- I didn't even know the tenant moved out. I
      ·6· · position --                                                            ·6· · don't know if they have somebody moving in.· I didn't even
      ·7· · · · · · · · · MS. ZIEK:· I think I said it with the date               ·7· · know the building was not even occupied.· I had no idea.
      ·8· · time frame in there.                                                   ·8· · · · Q.· But, ma'am -- but, ma'am, you, as 1960 Family
      ·9· · · · Q.· (BY MS. ZIEK)· So I said from the date you                     ·9· · Practice, PA, remained obligated because you neither got
      10· · guys -- meaning 1960 Family Practice no longer was on the              10· · it assigned or subleased, correct?· So you as the
      11· · premises, okay, which was September 1st of 2019, according 11· · tenant --
      12· · to your asset sale agreement, until June 22nd of 2021, if              12· · · · · · · · · (Simultaneous speakers.)
      13· · there were any obligations that went unpaid during that                13· · · · Q.· (BY MS. ZIEK) -- and the guarantor should have
      14· · time frame, you -- you, as a guarantor, guaranteed the                 14· · remained diligent on what was supposed to be going on with
      15· · tenant's obligations, correct, for those amounts?                      15· · regard to these buildings because you were personally
      16· · · · A.· Yes.                                                           16· · liable under the guaranty, would you agree with me?
      17· · · · Q.· Okay.· Number 25, it says that Dr. Le, as a                    17· · · · A.· But when did they stop occupying the building? I
      18· · guarantor, "has no liabilities or obligations to KME due               18· · didn't even know when they stopped.· I had no idea.
      19· · to KME's failure to comply with lease notice                           19· · · · Q.· Well, ma'am, as a tenant or a guarantor of lease
      20· · requirements."                                                         20· · obligations, don't you think it's something that you
      21· · · · · · · · · Do you see that, ma'am?· On what facts do                21· · should have been aware of?
      22· · you base that?                                                         22· · · · A.· No.· I thought -- I thought everything -- I
      23· · · · · · · · · MS. FALCON:· Objection.· Form.                           23· · thought they were leasing.· I honestly thought.· I didn't
      24· · · · · · · · · MS. ZIEK:· What's the objection?                         24· · even know.· I was, like, surprised.· I was like, oh, my
      25· · · · · · · · · MS. FALCON:· You are asking her to draw                  25· · God, they didn't even occupy.

                                                                        Page 122                                                                     Page 124
      ·1· · legal conclusions from a pleading that is about legal                  ·1· · · · · · · · · I never got any notice that, hey, your
      ·2· · issues.                                                                ·2· · building is empty.· I didn't have anything that said, hey,
      ·3· · · · Q.· (BY MS. ZIEK)· Well, this is her pleading, and I               ·3· · did -- I try to find a tenant for you.
      ·4· · get to ask about her causes of action.                                 ·4· · · · · · · · · Usually, you know, the word in community,
      ·5· · · · · · · · · MS. FALCON:· Yes, you can.· And I can                    ·5· · this building is empty.· Go find someone else.· Y'all did
      ·6· · object.                                                                ·6· · none of that.
      ·7· · · · Q.· (BY MS. ZIEK)· And one of the causes of action                 ·7· · · · Q.· You don't know what we did, do you, ma'am?
      ·8· · says you have no liability.· So tell me why you have no                ·8· · · · A.· I don't know.
      ·9· · liability to my client.                                                ·9· · · · Q.· Okay.· So your statement that we did nothing --
      10· · · · · · · · · MS. FALCON:· Objection.· Form.                           10· · · · A.· But you didn't give it to me.· How do I know?
      11· · · · A.· Because you trying to find another tenant to get 11· · You didn't tell me, hey, your building --
      12· · that sublease.· As a -- I'm a landlord.· In other                      12· · · · Q.· What are your obligations and responsibilities as
      13· · building, when my tenant doesn't pay the lease, I try to 13· · a guarantor under this lease?· What do you think your
      14· · get somebody else to pay.                                              14· · obligations as a guarantor are?
      15· · · · Q.· (BY MS. ZIEK)· And if you can't get somebody else 15· · · · A.· If I was the landlord, I would send a letter to
      16· · to pay, you still go after your tenant, don't you?                     16· · tell you the guarantor -- what is your guarantor?· You
      17· · · · A.· I try -- I'm a good landlord.· I'm nice.· I'm                  17· · know, you guaranty the building.· We just want to let you
      18· · trying to do everything possible.· I hire agent.· I get                18· · know the building is not occupied.· You know, if you know
      19· · the tenant -- you know, hey, y'all need to pay.                        19· · any doctor, you know any practices, can you make sure they
      20· · · · · · · · · I give them notice.· I just don't -- I mean,             20· · occupy -- can you go and talk to current --
      21· · I'm not that greedy.· This is greed.· I felt like it's                 21· · · · Q.· Show me in the lease where my client has that
      22· · greed.· So, anyway, that's just the way I am.                          22· · obligation to you.· Show me in the lease where my client
      23· · · · Q.· Well, I'm glad that's the way you are.                         23· · has that obligation to you?
      24· · · · A.· Yes, that's why I have a heart.· I'm a doctor.                 24· · · · · · · · · MS. FALCON:· Objection.· Form.
      25· · · · Q.· This is a business --                                          25· · · · A.· It is greed.· Yeah.· If you were human, you would


      888-893-3767                                                                                                     TRUSTEE1960-051954
      www.lexitaslegal.com                                                                                                                                      YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 32 of 76
TRUSTEE1960-051955                                                 Huong Le Nguyen                                                Pagess 125..128
                                                                        Page 125                                                                 Page 127
      ·1· · do that.· That's just common sense.· Common sense would ·1· · that you wrote as a tenant or even as the guarantor, who
      ·2· · tell me to do that.                                                    ·2· · knew the tenant was having financial -- financial
      ·3· · · · Q.· (BY MS. ZIEK)· That isn't common sense, ma'am.                 ·3· · hardship, did you write Broadstone and let them know you
      ·4· · · · A.· It is.                                                         ·4· · were having financial problems?
      ·5· · · · Q.· I'm asking you where we're obligated to do that                ·5· · · · A.· I don't know.· I think they have our financials.
      ·6· · in the lease?                                                          ·6· · They request our financials and we provide them the
      ·7· · · · A.· I think that it's just common sense.· Like,                    ·7· · financial of 1960 Family Practice.
      ·8· · you don't -- you -- you know, like, if my credit card is               ·8· · · · Q.· Okay, ma'am.· That wasn't the question, because
      ·9· · default, the credit card company does that, but they send              ·9· · financials can be made to look any way they need to,
      10· · you -- like, I drive a car.· My car go almost empty on the             10· · believe me.
      11· · gas.· Common sense, the car flash, your car is about to be 11· · · · A.· I don't think so.· Not my CPA.
      12· · empty out of gas.                                                      12· · · · Q.· Not your CPA?
      13· · · · Q.· And you've been sued, correct, ma'am?                          13· · · · A.· No.
      14· · · · A.· I didn't sue on this.                                          14· · · · Q.· So you believe your financials would show that
      15· · · · Q.· Yeah.· Okay.· So you had notification?                         15· · you were having financial issues in 1960 Family Practice?
      16· · · · A.· After --                                                       16· · · · A.· Whatever financial we have, we send it in
      17· · · · · · · · · MS. FALCON:· Objection.· Form.                           17· · correctly.
      18· · · · A.· I just got sued this year -- I mean, 20 -- I just              18· · · · Q.· Okay.· Did you also send in financials as a
      19· · got sued.                                                              19· · guarantor?
      20· · · · Q.· (BY MS. ZIEK)· Do you know how many attempts were              20· · · · A.· I don't think they asked for that.
      21· · made to serve you, ma'am?                                              21· · · · Q.· That wasn't the question, ma'am.· Did you send in
      22· · · · A.· Huh-uh, no.                                                    22· · financials as a guarantor?
      23· · · · · · · · · (Court reporter instruction.)                            23· · · · A.· I don't remember.
      24· · · · Q.· (BY MS. ZIEK)· Okay.· We have broken our own                   24· · · · Q.· Did you have any conversations with anyone at
      25· · rules where we're talking over each other.· Okay?· So let              25· · Broadstone as to the financial problems that 1960 Family

                                                                        Page 126                                                                 Page 128
      ·1· · me finish my question.· Answer the question I ask.· And,               ·1· · Practice was having?
      ·2· · again, if you need to expound on anything, you have a                  ·2· · · · A.· I don't know.
      ·3· · lawyer that's more than capable of getting it out of you.              ·3· · · · Q.· You don't know whether you personally did or you
      ·4· · · · · · · · · Okay.· "KME accepted late payments from                  ·4· · don't know whether somebody on your staff did?
      ·5· · tenants."· Which tenants are you talking about, ma'am?                 ·5· · · · A.· I know I personally don't remember talking to
      ·6· · · · A.· I think I'm talking about UMMC.                                ·6· · Broadstone.· I do know that when they ask for financials,
      ·7· · · · Q.· Were you ever late?· 1960?                                     ·7· · we provide them financials.
      ·8· · · · A.· I don't know.                                                  ·8· · · · Q.· Did you have any conversations in 2018 or 2019
      ·9· · · · Q.· Well, who would know, ma'am, if you don't know?                ·9· · with KME about 1960 Family Practice having financial
      10· · · · A.· My accountant would know.· I told you we were in 10· · problems?
      11· · financial problem.· We had financial problem.                          11· · · · A.· Like I said, I only meet Jerry Stein -- I don't
      12· · · · Q.· And, again, how long were you in financial                     12· · know what his name is -- once, and I told him that we
      13· · problems?                                                              13· · would not be renewing the lease.
      14· · · · A.· Starting about 2017.                                           14· · · · Q.· Okay.· Not renewing the lease and having
      15· · · · Q.· So before my client ever bought the building, you              15· · financial problems are two different things.· You are
      16· · were having financial problems.· Is that your statement?               16· · aware of that, right?
      17· · · · A.· When did they buy?                                             17· · · · A.· Correct.
      18· · · · Q.· My client bought sometime in March of 2018,                    18· · · · Q.· Okay.· Question:· Did you tell Jerry Stein, who
      19· · ma'am?                                                                 19· · was a representative of KME at the time, that 1960 was
      20· · · · A.· Okay.                                                          20· · having financial problems?
      21· · · · Q.· So you were having financial trouble before my                 21· · · · A.· He never ask.· I don't remember saying anything
      22· · client bought the building.· Is that your statement?                   22· · about financial or issue with financials.
      23· · · · A.· I think so.                                                    23· · · · Q.· But you agree with me that in 2018 and '19 you
      24· · · · Q.· Okay, ma'am.· Was there anything in the estoppel               24· · were having financial issues at 1960 Family Practice?
      25· · or did -- agreement or letter or certificate or anywhere               25· · · · A.· Correct.· And, amazingly, we make our rent


      888-893-3767                                                                                                TRUSTEE1960-051955
      www.lexitaslegal.com                                                                                                                                  YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 33 of 76
TRUSTEE1960-051956                                                 Huong Le Nguyen                                                      Pagess 129..132
                                                                    Page 129                                                                     Page 131
      ·1· · obligation.                                                        ·1· · · · · · · · · MS. ZIEK:· No, I'm not.
      ·2· · · · Q.· Up until the time you didn't, correct?                     ·2· · · · · · · · · MS. FALCON:· -- which is --
      ·3· · · · A.· Up to September 1, 2019.                                   ·3· · · · · · · · · MS. ZIEK:· No, I'm not.· I'm asking her
      ·4· · · · Q.· And at no point in time when you were dealing              ·4· · about Exhibit 30, the Second Amended Answer and
      ·5· · with David Ellent --                                               ·5· · Counterclaim and Cross-Action.
      ·6· · · · A.· David Ellent.                                              ·6· · · · Q.· (BY MS. ZIEK)· Paragraph 29, do you see it,
      ·7· · · · Q.· -- or UMMC did you inform Jerry Stein or KME that          ·7· · ma'am?
      ·8· · you were selling your assets, correct?                             ·8· · · · A.· Yes.
      ·9· · · · A.· Huh?                                                       ·9· · · · Q.· What does it say, please?
      10· · · · · · · · · MS. FALCON:· Objection.· Form.                       10· · · · A.· That KME reach a settlement with the current
      11· · · · Q.· (BY MS. ZIEK)· That 1960 was selling its assets?           11· · lessee, UMMC, which acquire all of 1960 Family Practice
      12· · · · A.· Huh?                                                       12· · assets and liability and under term of settlement receive
      13· · · · Q.· At no time in 2018 or '19 or during the duration           13· · payment from UMMC for alleged amount owed under the lease.
      14· · that you were talking to David Ellent or UMMC did you ever 14· · The amount payment received by settlement must be credited
      15· · inform KME Holdings, LLC, that you were selling the                15· · towards an outstanding amount alleged owed and due.
      16· · assets, did you?                                                   16· · · · Q.· Okay.· And what paragraph in the lease states
      17· · · · A.· We were selling assets but not at 51 percent. I            17· · that that must occur?
      18· · kept saying that over and over and over again.                     18· · · · A.· All liability is in the APA.
      19· · · · Q.· Ma'am, you and I --                                        19· · · · Q.· No, I didn't -- I'm sorry.· It wasn't a clear
      20· · · · A.· We never sold 51 percent of our asset.                     20· · question.
      21· · · · · · · · · (Discussion off record.)                             21· · · · · · · · · It says, "The amount of payment received by
      22· · · · · · · · · MS. ZIEK:· I still have a while.                     22· · the settlement" -- and that's the settlement reached
      23· · · · · · · · · MR. MATTHEWS:· Do you?                               23· · between KME and UMMC, correct? -- "must be credited
      24· · · · Q.· (BY MS. ZIEK)· Okay.· On 29 you say that KME               24· · towards the outstanding amount alleged owed and due."
      25· · reached a settlement with current lessee, UMMC, which              25· · · · · · · · · Why is that, ma'am?

                                                                    Page 130                                                                     Page 132
      ·1· · acquired all of 1960 Family Practice's assets and                  ·1· · · · A.· Because 2019 to June 2021 --
      ·2· · liabilities.                                                       ·2· · · · Q.· Uh-huh?
      ·3· · · · · · · · · You're telling me now that's not true,               ·3· · · · A.· -- if you said there were rent due or there was
      ·4· · correct?                                                           ·4· · a -- money due, if UMMC paid to KME a certain amount of
      ·5· · · · · · · · · MS. FALCON:· Objection.· Form.                       ·5· · money and paid the lease a certain amount, I should get
      ·6· · · · Q.· (BY MS. ZIEK)· That was your statement earlier,            ·6· · credit for.· Why would they get double-dipping?· You can't
      ·7· · correct?                                                           ·7· · sue me and then you get money from UMMC, for what?
      ·8· · · · · · · · · MS. FALCON:· Objection.· Form.                       ·8· · · · Q.· If I get -- if I lease to UMMC after June --
      ·9· · · · A.· What?                                                      ·9· · · · A.· After '21.
      10· · · · Q.· (BY MS. ZIEK)· That UMMC did not acquire all of            10· · · · Q.· -- of 2021, the only person who would be entitled
      11· · 1960 Family Practice's assets and liabilities, correct?            11· · to that credit would be the tenant, correct?
      12· · · · · · · · · MS. FALCON:· Objection, form.                        12· · · · A.· The 1906 FP or the --
      13· · · · A.· We still have --                                           13· · · · Q.· FP, Family Practice, correct?
      14· · · · · · · · · MS. ZIEK:· What's your objection to the              14· · · · A.· But the money that you receive, is it for the --
      15· · form?                                                              15· · before -- I should get credit for the money that you
      16· · · · · · · · · MS. FALCON:· You are talking about what a            16· · received -- what does that money represent?
      17· · document says without asking her to look at the document 17· · · · Q.· It represents a lease, ma'am, a six-month lease?
      18· · that actually governs what that actually says.                     18· · · · A.· From what time to what time lease?
      19· · · · Q.· (BY MS. ZIEK)· Okay.· Paragraph 29 in your -- in           19· · · · Q.· From June of 2021 through December of 2021?
      20· · exhibit number, whatever it is --                                  20· · · · · · · · · MS. FALCON:· Objection.· Form.
      21· · · · · · · · · MS. POYSER:· 30.                                     21· · · · · · · · · MS. ZIEK:· She asked what it represented. I
      22· · · · · · · · · MS. ZIEK:· Is it 30?                                 22· · gave her that.
      23· · · · · · · · · MS. POYSER:· Uh-huh.                                 23· · · · · · · · · MS. FALCON:· You're -- it's a best evidence.
      24· · · · · · · · · MS. FALCON:· Not that exhibit.· You are              24· · You are describing a document that you have not put in
      25· · asking her about the Asset Purchase Agreement, which -- 25· · front of her and nor do you have in front of you.


      888-893-3767                                                                                                   TRUSTEE1960-051956
      www.lexitaslegal.com                                                                                                                                  YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 34 of 76
TRUSTEE1960-051957                                                       Huong Le Nguyen                                                  Pagess 133..136
                                                                          Page 133                                                                     Page 135
      ·1· · · · · · · · · So, objection.· Form.                                      ·1· · · · Q.· Okay.
      ·2· · · · · · · · · MS. ZIEK:· It doesn't matter.· I know what                 ·2· · · · A.· And what I'm saying is that you receive money
      ·3· · the time frame was.· Okay?                                               ·3· · from UMMC.· That money should have been credit towards me.
      ·4· · · · · · · · · MS. FALCON:· Objection.· Form.                             ·4· · · · Q.· Why would it have been credited towards you if it
      ·5· · · · Q.· (BY MS. ZIEK)· Okay, ma'am.· Just assume with                    ·5· · wasn't for a time frame that you weren't liable for?
      ·6· · me --                                                                    ·6· · · · A.· Because now you holding me liable for that.
      ·7· · · · · · · · · (Simultaneous speakers.)                                   ·7· · · · Q.· I'm not holding you liable for after June 2021.
      ·8· · · · Q.· (BY MS. ZIEK)· Wait a minute.· No.· Time out.                    ·8· · The Court has already said I can't hold you liable for
      ·9· · · · · · · · · Assume with me, ma'am, that the lease                      ·9· · that.
      10· · agreement is June 2021 through December 2021.                            10· · · · A.· Exactly.· So the money you received should have
      11· · · · A.· No, I'm only obligate to June 2021.                              11· · been credit for me.
      12· · · · Q.· Exactly.· My point.                                              12· · · · Q.· Oh, so in your opinion everything that we're
      13· · · · A.· Yeah, you -- you are suing --                                    13· · receiving now should be back-end loaded so that you don't
      14· · · · Q.· So if I get money afterwards, you are not                        14· · owe anything but then 1960 --
      15· · entitled to that credit if it's for rent afterward s,                    15· · · · A.· Yes.
      16· · correct?                                                                 16· · · · Q.· -- that you put into bankruptcy is supposed to
      17· · · · A.· How about rent before?· Why didn't you use that                  17· · bear that burden.· Is that your testimony, Dr. Le?
      18· · money to apply to credit for rent before?                                18· · · · A.· I'm a guarantor.
      19· · · · Q.· Because I didn't have a lease before.· I have a                  19· · · · Q.· Understand.
      20· · lease now for a certain time frame, okay?· And that's                    20· · · · A.· But it means that I didn't occupy the building.
      21· · money for that certain time frame that I'm obligated to                  21· · The tenant occupy the building.· 1960 Family Practice
      22· · mitigate, because you told me to go out and find somebody, 22· · occupy the building.· UMMC paid to you money.· Any money
      23· · right?· That's what a nice landlord does; they go out and                23· · that UMMC paid to you should have been credit toward the
      24· · try to find a tenant, correct?· I think that's what you                  24· · guarantor.
      25· · said.· Not greedy landlords.                                             25· · · · Q.· And I asked you where in the lease that it says

                                                                          Page 134                                                                     Page 136
      ·1· · · · A.· Correct.                                                         ·1· · that?
      ·2· · · · Q.· Okay.· And so --                                                 ·2· · · · A.· Common sense.
      ·3· · · · A.· So the money that -- should have been credited                   ·3· · · · Q.· It's not common sense, ma'am.· I'm asking you,
      ·4· · towards me.                                                              ·4· · where in the lease does it say that?
      ·5· · · · Q.· Okay.· You need to let me finish --                              ·5· · · · A.· Because that's what UMMC told me.
      ·6· · · · A.· Okay.· I'm sorry.· I'm sorry.                                    ·6· · · · Q.· So now UMMC told you --
      ·7· · · · Q.· -- before you start.                                             ·7· · · · · · · · · (Simultaneous speakers.)
      ·8· · · · A.· That's fine.                                                     ·8· · · · A.· Yes.
      ·9· · · · Q.· Okay.· So you've said that already in this                       ·9· · · · Q.· (BY MS. ZIEK)· Wait a minute.
      10· · deposition, correct?                                                     10· · · · A.· I had a conversation with Syed --
      11· · · · A.· Correct.                                                         11· · · · Q.· Okay.· So --
      12· · · · Q.· Okay.· And so if I choose to go out and find a                   12· · · · A.· -- and I said, why did you not pay the lease and
      13· · lessee now for this building, it's for credit up until the               13· · put me into this bind so KME would sue me under the
      14· · end of the initial term, correct?· It's not credit -- it's               14· · guaranty.· And Syed at UMMC said, no, I have to pay every
      15· · not crediting you as a guarantor would receive?                          15· · single dime that was owed to us.
      16· · · · A.· That's why you are double-dipping.· You're trying                16· · · · · · · · · MS. ZIEK:· Okay.· Objection.· Response.
      17· · to get me to go to pay for you before 2021.· Now you get                 17· · · · A.· Okay.· That's fine.
      18· · UMMC to pay you after 2021.· So you're -- and you're suing 18· · · · Q.· (BY MS. ZIEK)· You are saying what somebody else
      19· · both.· You get -- you are suing me for what UMMC did not                 19· · said.· It's called hearsay.
      20· · pay from 2019 to 2021.                                                   20· · · · Q.· Okay.
      21· · · · Q.· Not only what you UMMC but what 1960 Family                      21· · · · · · · · · MS. ZIEK:· So, objection to your response.
      22· · Practice didn't pay?                                                     22· · · · Q.· (BY MS. ZIEK)· Let's move on.
      23· · · · A.· Right.· Did not pay, right.                                      23· · · · · · · · · Are you personally paying Porter & Hedges
      24· · · · Q.· Okay.                                                            24· · for their services here?
      25· · · · A.· Yeah, you are suing that.                                        25· · · · · · · · · MS. FALCON:· You have our engagement


      888-893-3767                                                                                                       TRUSTEE1960-051957
      www.lexitaslegal.com                                                                                                                                        YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 35 of 76
TRUSTEE1960-051958                                                    Huong Le Nguyen                                                  Pagess 137..140
                                                                       Page 137                                                                   Page 139
      ·1· · agreement.                                                            ·1· · the money when you receive a bill from Porter & Hedges,
      ·2· · · · Q.· (BY MS. ZIEK)· I'm asking a question.· Are you                ·2· · that's who pays it?· Is that your testimony?
      ·3· · personally paying for them?                                           ·3· · · · A.· From between Allergy of Texas and myself, yes.
      ·4· · · · A.· Yes.                                                          ·4· · · · Q.· Okay.· Would there be other LLCs that might have
      ·5· · · · Q.· Okay.· It's not coming out of some -- an LLC that             ·5· · paid some of these bills?
      ·6· · you own?                                                              ·6· · · · A.· No.
      ·7· · · · A.· I think that's privileged information between me              ·7· · · · Q.· Okay.· After KME -- after -- I'm sorry.· Let me
      ·8· · and my lawyer.                                                        ·8· · start over.
      ·9· · · · Q.· Well, it's really not, but okay.                              ·9· · · · · · · · · After 1960 Family Practice went into
      10· · · · · · · · · (Exhibit 31 marked.)                                    10· · bankruptcy -- well, let me start before that occurred.
      11· · · · Q.· (BY MS. ZIEK)· Let me show you what's been marked 11· · · · · · · · · After September 1st of 2019, who was
      12· · as Exhibit 31, ma'am.                                                 12· · receiving the subtenant payments on Buildings 2 and 3?
      13· · · · · · · · · MR. MATTHEWS:· 31.· Is that right?                      13· · · · A.· No one.· I don't think we did.· I don't remember.
      14· · · · · · · · · MS. ZIEK:· Uh-huh.· I think that's right.               14· · We supposed to.· And then we pay -- or I thought the
      15· · · · Q.· (BY MS. ZIEK)· This was something that you                    15· · tenant told me, the subtenant, like the eye doctor, told
      16· · produced to show the payments made to Porter & Hedges,                16· · me that Jerry or somebody with KME told them to pay KME
      17· · correct?                                                              17· · directly.
      18· · · · A.· Correct.                                                      18· · · · Q.· Okay.· Was there ever an occasion that you
      19· · · · Q.· Because you've asked for now your attorney's                  19· · received checks from the subtenants that were not passed
      20· · fees, correct?                                                        20· · on to KME?
      21· · · · A.· Correct.                                                      21· · · · · · · · · MS. FALCON:· Objection.· Form.
      22· · · · Q.· Why is the client name yours individually and                 22· · · · A.· I don't know.
      23· · Allergy of Texas, PLLC?                                               23· · · · Q.· (BY MS. ZIEK)· Well, who would know, ma'am?
      24· · · · A.· Because the 1960 trustee sue Allergy of Texas.                24· · · · A.· My accountant would.
      25· · · · Q.· So are these fees yours personally and Allergy of             25· · · · Q.· And who is the accountant?

                                                                       Page 138                                                                   Page 140
      ·1· · Texas, PLLC?· So when the -- so the trustee has sued                  ·1· · · · A.· Patricia McConnell.
      ·2· · Allergy Texas of -- PLLC.· Is Porter & Hedges representing ·2· · · · Q.· Okay.· So Patricia McConnell would be the only
      ·3· · you in that cause of action?                                          ·3· · person that would know if all of the subtenant payments
      ·4· · · · A.· Correct.                                                      ·4· · received by 1960 Family Practice were paid to KME.· Is
      ·5· · · · Q.· Okay.· So are these fees segregated in any way or             ·5· · that your statement?
      ·6· · do you receive one bill for both services?                            ·6· · · · A.· Yes.
      ·7· · · · A.· I don't know.· I receive one bill like this and               ·7· · · · Q.· Okay.· Did you have any direct communications
      ·8· · we pay.                                                               ·8· · with Jerry Stein or did everything go through Stacy
      ·9· · · · · · · · · MS. FALCON:· I'm going to correct that, just            ·9· · Williams and Patricia McConnell?
      10· · because it's on here.· This matter is KME Holdings.· The              10· · · · A.· I do not have any direct communication with Jerry
      11· · other lawsuit is a different matter.                                  11· · Stein except for one time when he came in the back --
      12· · · · Q.· (BY MS. ZIEK)· Okay.· Then why is Allergy of                  12· · · · Q.· When he came into the building?
      13· · Texas, PLLC, listed as the client in the KME Holdings                 13· · · · A.· Yes.
      14· · matter?                                                               14· · · · Q.· Okay.· And do you recall when that was?
      15· · · · A.· You ask the lawyer.· I don't know.                            15· · · · A.· I don't remember.· I -- somewhere when he
      16· · · · · · · · · MS. FALCON:· Because they're both clients of            16· · introduced himself as the new landlord.
      17· · the firm.                                                             17· · · · Q.· So you had notification that KME Holdings had
      18· · · · Q.· (BY MS. ZIEK)· Does Allergy of Texas, PLLC, pay               18· · bought the building.· Is that correct?
      19· · for your personal services in the KME Holdings lawsuit?               19· · · · A.· Jerry came and said he's the new landlord.
      20· · · · A.· I don't know.                                                 20· · · · Q.· Was there ever an occasion that some of the
      21· · · · Q.· Who would know?                                               21· · subtenants didn't pay their common area maintenance
      22· · · · A.· No one, because when we get the bill, whatever 22· · assessments?
      23· · LLC has the money, we pay for that.                                   23· · · · A.· Yes.
      24· · · · Q.· Okay.· So is it your testimony, because this is               24· · · · Q.· Did 1960 have to step in and pay those
      25· · what I think I heard you just say, that whatever LLC has              25· · assessments?


      888-893-3767                                                                                                   TRUSTEE1960-051958
      www.lexitaslegal.com                                                                                                                                   YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 36 of 76
TRUSTEE1960-051959                                              Huong Le Nguyen                                                     Pagess 141..144
                                                                     Page 141                                                               Page 143
      ·1· · · · A.· I don't know.· I don't know.                                ·1· · CAM -- I know that we have sent a lot of notices to them.
      ·2· · · · Q.· Okay.· Since you were considered the landlord on            ·2· · My accountant called them.· We used to have a lawyer and
      ·3· · the subleases, correct --                                           ·3· · she would be calling them.
      ·4· · · · · · · · · MS. FALCON:· Okay.· Form.                             ·4· · · · Q.· And did she get anywhere, ma'am?
      ·5· · · · Q.· (BY MS. ZIEK)· Well, take a look at the sublease            ·5· · · · A.· I don't know.· I thought -- they told me sometime
      ·6· · that I gave you.· In front of Lymphedema, who is listed as          ·6· · Lymphedema pay, sometime they don't pay.
      ·7· · the landlord?                                                       ·7· · · · Q.· Okay.· And if Lymphedema didn't pay, did you ever
      ·8· · · · A.· I am.· We are.                                              ·8· · sue Lymphedema to enforce the sublease?
      ·9· · · · Q.· Okay.· So you were the landlord on the subleases,           ·9· · · · A.· No.
      10· · correct?                                                            10· · · · Q.· Did 1960 then step in and pay it when they knew
      11· · · · · · · · · MS. FALCON:· Objection.· Form.                        11· · Lymphedema hadn't paid the charges they were responsible
      12· · · · A.· With Lymphedema, yes, I think so.                           12· · for?
      13· · · · · · · · · What exhibit is this with Lymphedema?                 13· · · · A.· I don't know.
      14· · · · · · · · · MR. MATTHEWS:· 25.                                    14· · · · Q.· And, once again, the only person who may know is
      15· · · · Q.· (BY MS. ZIEK)· 25.                                          15· · Patricia McConnell?
      16· · · · A.· Okay.· There you go, yes.                                   16· · · · A.· Yes.
      17· · · · Q.· And even on the Building 3 draft that we had that           17· · · · Q.· Did Ms. McConnell report to you when subtenants
      18· · UMMC didn't sign, you were listed as the landlord on that,          18· · weren't paying their bills?
      19· · correct?                                                            19· · · · A.· I think after many attempt, if she tries to
      20· · · · · · · · · MS. FALCON:· Objection.· Form.                        20· · collect them and they did not pay.
      21· · · · A.· The Family Practice, 1960 Family Practice.                  21· · · · Q.· And that was because you were still a guarantor,
      22· · · · Q.· (BY MS. ZIEK)· Okay.· So 1960 Family Practice was 22· · correct?
      23· · listed as landlord on the subleases, correct?                       23· · · · A.· No, because 1960 Family Practice was the
      24· · · · A.· Correct.                                                    24· · landlord.
      25· · · · Q.· Okay.· So if you were the landlord at that time             25· · · · Q.· Was there ever an occasion that she was

                                                                     Page 142                                                               Page 144
      ·1· · and somebody such as Lymphedema wasn't paying their CAM, ·1· · concerned -- if UMMC didn't pay, that she was concerned
      ·2· · what steps did you undertake to make sure the CAM was               ·2· · that you were still the guarantor on the lease?
      ·3· · paid?                                                               ·3· · · · A.· I didn't know that UMMC didn't pay.· I did not
      ·4· · · · · · · · · MS. FALCON:· Objection.· Form.                        ·4· · know that.
      ·5· · · · A.· My staff would notify them.                                 ·5· · · · Q.· Okay.· Did the subtenants always pay on time,
      ·6· · · · Q.· (BY MS. ZIEK)· So other than notification by your           ·6· · ma'am?
      ·7· · staff, did 1960 step in and pay it?                                 ·7· · · · A.· I don't know.
      ·8· · · · A.· That, I don't know.                                         ·8· · · · · · · · · (Exhibit 32 marked.)
      ·9· · · · Q.· Would you agree with me that the CAM was part of            ·9· · · · Q.· (BY MS. ZIEK)· Let me show you what's been marked
      10· · what was required to be paid to KME Holdings?                       10· · as Exhibit Number 32.
      11· · · · A.· No.· I thought we only responsible for the base             11· · · · · · · · · MS. FALCON:· Which exhibit?
      12· · rent.                                                               12· · · · · · · · · MS. ZIEK:· 32.
      13· · · · Q.· You're unaware of the other charges contained               13· · · · Q.· (BY MS. ZIEK)· Have you seen that before, ma'am?
      14· · within the lease that you were responsible for?                     14· · · · A.· No.
      15· · · · A.· I thought we paid CAM directly.                             15· · · · Q.· Okay.· It appears to be from Patricia McConnell,
      16· · · · Q.· When you say you thought you paid CAM directly --           16· · correct?
      17· · · · A.· I thought the Family Practice paid CAM.                     17· · · · A.· Correct.
      18· · · · Q.· In what way, ma'am?                                         18· · · · Q.· Who is your accountant?
      19· · · · A.· I don't -- I don't know, but I thought that we              19· · · · A.· Yes.
      20· · only collect the base rent from the subtenant.                      20· · · · Q.· To Stacy Williams, who works in one of your
      21· · · · Q.· So you thought on subtenants the only thing you             21· · offices, correct?
      22· · collected was base rent?                                            22· · · · A.· Correct.
      23· · · · A.· Correct, that's what I thought.· I don't know.              23· · · · Q.· Hold on one second.
      24· · But I know when they -- they were -- Patricia has                   24· · · · · · · · · And who is that third person?
      25· · mentioned that if Lymphedema has not been paid their                25· · · · A.· Hemant Khemka.


      888-893-3767                                                                                                   TRUSTEE1960-051959
      www.lexitaslegal.com                                                                                                                             YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 37 of 76
TRUSTEE1960-051960                                                 Huong Le Nguyen                                                  Pagess 145..148
                                                                       Page 145                                                                 Page 147
      ·1· · · · Q.· Yes.                                                          ·1· · · · A.· Well, not paying it, but I would be stepping in
      ·2· · · · A.· He was Patricia's boss.                                       ·2· · and seeing why this rent was not paid.
      ·3· · · · Q.· Okay.· And what position did he hold -- did                   ·3· · · · Q.· Okay.· So you think a guarantor just steps in to
      ·4· · Patricia McConnell work for your company or was she a CPA ·4· · see why rent is not being paid; they're not obligated to
      ·5· · on her own?                                                           ·5· · pay it if it's late?
      ·6· · · · A.· She work for me.                                              ·6· · · · A.· I think that the tenant should try everything
      ·7· · · · Q.· Okay.· And so it would stand to reason that her               ·7· · they can, work out the solution with the landlord and
      ·8· · boss worked for you as well, correct?                                 ·8· · get -- and be paid, but the tenant is the one that benefit
      ·9· · · · A.· Correct.                                                      ·9· · from having the space and all that.
      10· · · · Q.· And it says, "I received the email below from                 10· · · · Q.· But 1960 Family Practice was no longer in this
      11· · Jerry Stein today, who is a representative for KME                    11· · location, correct?
      12· · Holdings."                                                            12· · · · A.· No, 1960 Family Practice has kind of never
      13· · · · · · · · · And this is dated December 20, 2019,                    13· · been -- like I said, 1960 Physician Associates are all the
      14· · correct?                                                              14· · physicians that are using the space, but 1960 Family
      15· · · · A.· Correct.                                                      15· · Practice -- we're like the landlord.
      16· · · · Q.· And it basically is a -- this is after the Asset              16· · · · Q.· I understand you are like the landlord, but
      17· · Purchase Agreement, correct?                                          17· · you're our tenant, correct?· You are KME Holdings' tenant?
      18· · · · A.· Correct.                                                      18· · · · A.· Correct.
      19· · · · Q.· And it says, "Last night I received the below                 19· · · · Q.· And you are the one who have leased these
      20· · text from Jerry which I had forwarded to Hemant.· Based on            20· · premises, correct?
      21· · my discussion with Hemant, he was going to talk with Ryan             21· · · · A.· Correct.
      22· · as Jerry is threatening to lock the doors on the IT space             22· · · · Q.· And you are the person who is supposed to be on
      23· · in Building 2 and on Building 3.· These buildings have a              23· · the premises, correct?
      24· · personal guarantee from Dr. Le on them for rent."                     24· · · · A.· No, we -- we, as 1960 Family Practice, lease it
      25· · · · · · · · · Do you see that?                                        25· · out to 1960 Physician Associates for them to see their

                                                                       Page 146                                                                 Page 148
      ·1· · · · A.· Yes.                                                          ·1· · patients.
      ·2· · · · Q.· And this was a notification that rent was late in             ·2· · · · Q.· Okay.· Where is that lease, ma'am?
      ·3· · December of 2019, correct?                                            ·3· · · · A.· I don't know.
      ·4· · · · A.· Yes, I see that.                                              ·4· · · · Q.· There's a lease with a nonprofit?
      ·5· · · · Q.· Okay.· Were you aware of that situation?                      ·5· · · · A.· I don't know.· It may not have.· We just kind
      ·6· · · · A.· No.                                                           ·6· · of -- when we -- 1960 Family Practice has the building.
      ·7· · · · Q.· So your employees weren't passing along things                ·7· · 1960 Physician Associates hire the doctors and they're the
      ·8· · that were going forward, correct?                                     ·8· · ones that occupy the building --
      ·9· · · · A.· Correct.                                                      ·9· · · · Q.· Okay.
      10· · · · Q.· Okay.· So, at the time, did you ever discover                 10· · · · A.· -- since 2016.
      11· · that KME had not received its rent on December 20th of                11· · · · Q.· Other than the declarations you have requested in
      12· · 2019 at all, from any of your employees?                              12· · here, have you requested any other relief against my
      13· · · · A.· No.                                                           13· · client?
      14· · · · Q.· Okay.· Do you know what steps they undertook to 14· · · · A.· What do you mean?· I don't understand the
      15· · make sure that this rent was paid?                                    15· · question.
      16· · · · A.· I think we talked to Ryan.· Ryan is an employee 16· · · · Q.· Well, this is your lawsuit against my client.
      17· · of UMMC.                                                              17· · What have you -- what are you requesting from my client?
      18· · · · Q.· Okay.· But obviously the rent was late, correct?              18· · · · A.· That we would release Dr. Hoang and her
      19· · · · A.· It looks like that was our December rent.                     19· · percentage -- the relief.· You read it today.
      20· · · · Q.· And 1960 Family Practice was obligated to pay it,             20· · · · Q.· Okay.· That's been taken out of your lawsuit.
      21· · correct?                                                              21· · What are you asking the Court to order against my client,
      22· · · · A.· Yes.                                                          22· · KME?
      23· · · · Q.· And if 1960 Family Practice hadn't paid it, then              23· · · · A.· I want to have credit for the money that UMMC
      24· · you, as a guarantor, would have been obligated to pay it, 24· · paid to KME.
      25· · correct?                                                              25· · · · Q.· And you can't, as we sit here today, point to any


      888-893-3767                                                                                                 TRUSTEE1960-051960
      www.lexitaslegal.com                                                                                                                                 YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 38 of 76
TRUSTEE1960-051961                                               Huong Le Nguyen                                             Pagess 149..152
                                                                  Page 149                                                                Page 151
      ·1· · provision where you get credit for any payments made after       ·1· · · · Q.· Okay.· Was any of your staff on those premises
      ·2· · June of 2021, can you?                                           ·2· · after September 1st of 2019?
      ·3· · · · · · · · · MS. FALCON:· Objection.· Form.                     ·3· · · · A.· No.
      ·4· · · · A.· I don't know how much they did not pay.· Like I          ·4· · · · Q.· So you were no longer on the premises, correct?
      ·5· · said, I thought they paid the rent.                              ·5· · · · A.· Yes, I was no longer on the premise.
      ·6· · · · Q.· (BY MS. ZIEK)· Ma'am, what steps did you                 ·6· · · · Q.· You hadn't sold 1960 Family Practice's name,
      ·7· · undertake to ensure that UMMC was paying the rent?               ·7· · correct?
      ·8· · · · A.· Because I was never -- I was never in                    ·8· · · · A.· Correct.
      ·9· · communication with Jerry.· Jerry never told me that they         ·9· · · · Q.· And so who for 1960 Family Practice, PA, was
      10· · didn't pay the rent.· I didn't know they didn't pay the          10· · still on the premises after September 1st of 2019?
      11· · rent.                                                            11· · · · A.· The 1960 Family Practice.· The name is still --
      12· · · · · · · · · MS. ZIEK:· Objection.· Form.                       12· · we are still obligated for the lease, as you said.
      13· · · · Q.· (BY MS. ZIEK)· What steps did you take?                  13· · · · Q.· Okay.· And so what did you or your staff
      14· · · · A.· For what?                                                14· · undertake to ensure that your obligations were being paid?
      15· · · · Q.· Did you write a check every month?· 1960 was             15· · · · A.· That's what we said to UMMC, send us the check
      16· · primarily responsible, correct?· Did 1960 write a check          16· · and we'll send it to the landlord.
      17· · every month?· Because there was no sublease, no                  17· · · · Q.· Okay.· And did that occur?
      18· · assignment, therefore it was 1960 Family Practice's              18· · · · A.· Subtenant told us they are no longer able to send
      19· · obligations to make these payments.· Did you ensure that         19· · a check to me because the landlord direct them to send it
      20· · those payments were made on a monthly basis as the               20· · directly to him.
      21· · president of the tenant?                                         21· · · · Q.· That's correct, because 1960 -- none of your
      22· · · · A.· Because --                                               22· · people were left on the premises, correct?
      23· · · · Q.· I didn't ask -- that's a yes or no, ma'am.               23· · · · A.· But they can mail the check to us or you can wire
      24· · · · A.· I don't know.· I don't know what you are trying          24· · a check to us.· I don't understand what you are trying to
      25· · to ask me to do.· All I know is that UMMC said they would 25· · say.· My point is that --

                                                                  Page 150                                                                Page 152
      ·1· · take care of the rent and they will pay to KME directly.         ·1· · · · Q.· Okay.· Did you --
      ·2· · · · Q.· Okay.                                                    ·2· · · · A.· I was told by Syed at UMMC that Jerry Stein
      ·3· · · · A.· And other subtenant told me that KME, Jerry              ·3· · direct UMMC to send a check to him.· And we all did.· They
      ·4· · and -- they said he was not a nice landlord like you were, ·4· · all listened and send the check to him.
      ·5· · but that's besides the point.· He said that he direct them       ·5· · · · Q.· Okay, ma'am.· But you also understood that UMMC
      ·6· · to pay everything to him, that nothing go through Family ·6· · had no subtenant agreement with you, correct?
      ·7· · Practice anymore.                                                ·7· · · · A.· Correct.
      ·8· · · · Q.· And that was his right when Family Practice              ·8· · · · Q.· Also had no assignment of my lease to them,
      ·9· · abandoned the premises, correct?                                 ·9· · correct?
      10· · · · A.· We didn't abandon the premises.                          10· · · · A.· Correct.· And they are supposed to, but they
      11· · · · Q.· Well, were you still on the premises, ma'am?             11· · didn't do it.
      12· · · · A.· Our stuff was on the premises.· We sold it to            12· · · · Q.· Okay.· And that plays into how is that my
      13· · UMMC.                                                            13· · client's fault?
      14· · · · Q.· Then it's no longer your stuff, is it?                   14· · · · A.· Then why did they -- why did Jerry Stein told the
      15· · · · A.· But at the same time -- no, no, no, the Family           15· · subtenant or other tenant to direct pay to him, because
      16· · Practice, PA, is seeing the patient.                             16· · they do not pay to 1960 Family Practice.
      17· · · · Q.· Ma'am, yes or no.· Once you sold it to UMMC, it          17· · · · Q.· You understand that under those subleases and the
      18· · was no longer 1960 Family Practice's stuff, was it?              18· · consents, we have that right?· You do understand that,
      19· · · · A.· The name was.· The obligation.· You told us there 19· · right?
      20· · was the obligation still there.· You are saying Family           20· · · · A.· Okay.· Okay.· So you do have that right.
      21· · Practice still obligated.                                        21· · · · Q.· Okay.· Were you not aware of that?
      22· · · · Q.· Exactly.· But you weren't on the premises, were          22· · · · A.· My point is you say what step did I take.
      23· · you?· Were you physically on those premises, ma'am, after        23· · There's nothing I can do when the landlord said send all
      24· · September 1st of 2019?                                           24· · the checks to me.· Don't send to Family Practice.· Leave
      25· · · · A.· No.                                                      25· · them kind of like -- get them out of the loop --


      888-893-3767                                                                                             TRUSTEE1960-051961
      www.lexitaslegal.com                                                                                                                           YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 39 of 76
TRUSTEE1960-051962                                                    Huong Le Nguyen                                                   Pagess 153..156
                                                                       Page 153                                                                     Page 155
      ·1· · · · Q.· 1960 Family Practice could have been paying it                ·1· · say --
      ·2· · all along though, correct?                                            ·2· · · · Q.· Well, wait a minute.· Did they move all that
      ·3· · · · A.· What do you mean?                                             ·3· · furniture and equipment and everything out of those
      ·4· · · · Q.· They could have paid for their obligations?                   ·4· · buildings?
      ·5· · · · A.· I didn't know it was not fulfilled.· That's the               ·5· · · · A.· No.
      ·6· · whole point I'm telling you.· I did not know that.                    ·6· · · · Q.· They utilized it within those buildings, correct,
      ·7· · · · Q.· But whose obligation is it when you place people              ·7· · ma'am?
      ·8· · in there my client didn't agree to lease to?· You placed              ·8· · · · A.· They did not utilize it.· I'm telling you.
      ·9· · people in there.· You allowed UMMC in there, correct?                 ·9· · They -- there is no UMMC name.· You walk into 1960 Family
      10· · · · · · · · · MS. FALCON:· Objection.· Form.                          10· · Practice building today, is there a UMMC name on it?
      11· · · · Q.· (BY MS. ZIEK)· 1960 Family Practice sold their                11· · · · Q.· Ma'am --
      12· · assets in place with the location to UMMC, correct?                   12· · · · A.· That's my point, because if you -- if you say
      13· · · · A.· 1960 Family Practice has the lease, and it leased             13· · they occupy your building or I did not -- why did I allow
      14· · to -- like I said, the UMMC bought the equipment and the              14· · them to do that.· Just like Lymphedema, Lymphedema's name
      15· · asset, but it did not buy the company.· The company still 15· · is on the building.
      16· · us.                                                                   16· · · · Q.· Understand, ma'am.
      17· · · · Q.· I don't have a problem with --                                17· · · · A.· UMMC's name is not on the building.
      18· · · · A.· I don't understand what you are trying to tell                18· · · · Q.· But UMMC is not owned by you, is it, ma'am?
      19· · me.                                                                   19· · · · A.· No.
      20· · · · Q.· What I'm trying to say is who allowed UMMC to                 20· · · · Q.· Okay.
      21· · come in and take over the assets?· Who allowed that,                  21· · · · A.· And they did not own the building.
      22· · ma'am?                                                                22· · · · Q.· And neither did you, correct?
      23· · · · A.· We, 1960 Family Practice, has the right to sell               23· · · · A.· Neither is me.
      24· · the asset to UMMC.                                                    24· · · · Q.· Okay.· And so --
      25· · · · Q.· That's correct.· But you have no right to place               25· · · · · · · · · (Simultaneous speakers.)

                                                                       Page 154                                                                     Page 156
      ·1· · them into our building, correct?                                      ·1· · · · · · · · · MR. MATTHEWS:· You-all --
      ·2· · · · A.· They're not placed into your building.· The                   ·2· · · · A.· I think you keep going around and around in
      ·3· · Family Practice, the Physician Associates, has always been ·3· · circle.
      ·4· · there.· Syed did not come and put himself into that                   ·4· · · · Q.· (BY MS. ZIEK)· No, you keep going around in
      ·5· · building, no.· There was no building office going there.              ·5· · circles.
      ·6· · Everything was the same.                                              ·6· · · · A.· I don't know what to tell you anymore.· I'm just
      ·7· · · · · · · · · Before 2019, the building was brown.· The               ·7· · telling you it is the way it is.· 1960 Family Practice --
      ·8· · patient come in.· They see "1960 Family Practice."· After             ·8· · · · Q.· And I'm asking you what -- how did the landlord
      ·9· · 2019, they still see 1960 Family Practice, the same name,             ·9· · consent to the sale of its assets, your sale of its assets
      10· · the same people.· The building says "1960."                           10· · to UMMC, and the use of their building without you still
      11· · · · Q.· So did you receive all of the revenue after 2019              11· · remaining responsible?
      12· · from Physicians Association?· Did 1960 Family Practice,               12· · · · A.· That's why 1960 Family Practice is still
      13· · PA, do all the billing and receive all the monies from the            13· · responsible.
      14· · work being done at those buildings, ma'am?· Did they?                 14· · · · Q.· And you as a guarantor are, up to a certain
      15· · · · A.· Yeah, they kept the money in 1960 PA.· Yes.                   15· · point, correct?
      16· · · · Q.· So 1960 -- after September 1st of 2019, all of                16· · · · A.· Up to June 2021.
      17· · the money on the work that the physicians were doing after            17· · · · Q.· Okay.
      18· · that date flowed through 1960?                                        18· · · · · · · · · REPORTER:· What number is that?
      19· · · · A.· No, it still stay in 1960 PA.· I don't think --               19· · · · · · · · · WITNESS:· 33.
      20· · there is 1960 PA.· It has all the physicians.· The                    20· · · · · · · · · REPORTER:· Oh, it is 33?
      21· · physician come, see the patient at this building, okay,               21· · · · · · · · · MS. ZIEK:· Uh-huh.
      22· · Family Practice building.· UMMC just bought the asset, the 22· · · · · · · · · (Exhibit 33 marked.)
      23· · chairs, the furniture.                                                23· · · · Q.· (BY MS. ZIEK)· Okay.· Dr. Le, will you turn to
      24· · · · Q.· I understand that.                                            24· · page 3.· Okay.· You gave a general objection that you
      25· · · · A.· They did not move over.· The building did not                 25· · basically, in your individual capacity, were responding to


      888-893-3767                                                                                                    TRUSTEE1960-051962
      www.lexitaslegal.com                                                                                                                                     YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 40 of 76
TRUSTEE1960-051963                                                  Huong Le Nguyen                                             Pagess 157..160
                                                                     Page 157                                                                  Page 159
      ·1· · this and not in your capacity as 1960 Family Practice               ·1· · · · Q.· The premises?
      ·2· · president, correct?· That's what the first paragraph                ·2· · · · A.· -- the premises, these Building 2 and Building 3.
      ·3· · basically says.                                                     ·3· · · · Q.· Okay.· So the pharmacy was not in either of those
      ·4· · · · A.· Yes.                                                        ·4· · buildings?
      ·5· · · · Q.· Okay, ma'am.· I asked for "any and all                      ·5· · · · A.· Correct.
      ·6· · correspondence or agreements between KME and you                    ·6· · · · Q.· Okay.· But there is a sale of a pharmacy between
      ·7· · individually."                                                      ·7· · you and UMMC?
      ·8· · · · · · · · · Other than the lease agreements and the               ·8· · · · A.· Correct.
      ·9· · estoppel certificates, do you know of any other                     ·9· · · · Q.· Okay.· How about communications or correspondence
      10· · agreements?                                                         10· · with UMMC -- between you and UMMC?
      11· · · · A.· Not that I know.                                            11· · · · A.· I had a -- there was no written communication,
      12· · · · Q.· Okay.· And it's your testimony that you have no             12· · but I have met with Syed.· And I ask him, why didn't you
      13· · correspondence between you or KME.· Is that your --                 13· · pay the lease, so, you know, I get sued for being a
      14· · · · A.· Not that I know.· Not that I'm aware of                     14· · guarantor.· And he said to me that he already pay all the
      15· · personally.                                                         15· · leases for KME.· He pay all his obligation to KME.
      16· · · · Q.· Okay.· Did you do --                                        16· · · · Q.· His obligations.· He didn't say he paid yours,
      17· · · · A.· Except for the one time.                                    17· · correct?
      18· · · · Q.· Okay.· Did you do a search of your computers to             18· · · · A.· Well, he said he paid all the liability of 1960
      19· · make sure that you had never had any communications with            19· · Family Practice.
      20· · anybody, Jerry Stein, Matt Cartwright, anybody at KME?              20· · · · Q.· And when did he make that statement, ma'am?
      21· · · · A.· I did a search on my AskDrLe@1960familypractice. 21· · · · A.· A month ago.
      22· · They should -- that's my business email.                            22· · · · · · · · · MS. FALCON:· Can we take a quick break?
      23· · · · Q.· Uh-huh.                                                     23· · It's been about two hours.
      24· · · · A.· I did a search on COO@medicalcareoftexas.com.               24· · · · · · · · · MS. ZIEK:· Sure.
      25· · · · Q.· Uh-huh.                                                     25· · · · · · · · · (Recess taken from 3:02 p.m. to 3:22 p.m.)

                                                                     Page 158                                                                  Page 160
      ·1· · · · A.· And I did a search on HLEMD@hotmail.com.                    ·1· · · · Q.· (BY MS. ZIEK)· Dr. Le, before we took a break, we
      ·2· · · · Q.· Uh-huh.                                                     ·2· · were looking at your responses to the subpoena duces
      ·3· · · · A.· I did not see any correspondence.                           ·3· · tecum, which were the documents you were to bring with you
      ·4· · · · Q.· Okay.· The next one is "all correspondence and              ·4· · today.· However, in accordance with my agreement with
      ·5· · agreements between UMMC and you concerning the premises             ·5· · counsel, she produced them early to me, okay?
      ·6· · located at 847 and 845 Cypress Creek Parkway."                      ·6· · · · A.· What exhibit are we looking at, what number?
      ·7· · · · · · · · · Do you see that, ma'am?                               ·7· · · · Q.· We're looking at Exhibit Number 34 -- no, 33.
      ·8· · · · A.· Yes.                                                        ·8· · · · A.· 33.· Okay, I have it.
      ·9· · · · Q.· Okay.· And other than purchase agreement, ma'am,            ·9· · · · Q.· Okay.· And I believe we were on Number 4:· "All
      10· · are there -- and the IT agreement that we've introduced             10· · payments from any person or entity for rent, taxes,
      11· · into evidence, are there any other agreements?                      11· · interest, or other expenses with regard to the two
      12· · · · A.· I don't -- I don't know.· I don't know if there's           12· · premises my client is the landlord on, received by you
      13· · any other agreements.                                               13· · from January 1st of 2018 to present, including all
      14· · · · Q.· Well, did you have an agreement with UMMC, with             14· · payments received by you or any entity owned or controlled
      15· · the pharmacy?                                                       15· · by you for subtenants at either address cited herein."
      16· · · · A.· Oh, the sale of my Express Specialty Pharmacy?              16· · · · · · · · · Okay.· Do you recall receiving any payments
      17· · Yes, it's after 2019.· It was --                                    17· · from subtenants for rent, taxes, or other expenses, which
      18· · · · Q.· Well, this says from January 1st of 2018 to                 18· · are the CAM, after September 1st of 2019?
      19· · present.· Do you see that, ma'am?                                   19· · · · A.· I don't know.
      20· · · · A.· What number is this?                                        20· · · · Q.· Okay, ma'am.· Do you know if you paid ad valorem
      21· · · · Q.· Number 2.                                                   21· · taxes for the years 2019 for either of those premises?
      22· · · · A.· "All correspondence and agreement between United 22· · · · A.· I don't know.
      23· · Medical Center, Defendant, concerning premises located at 23· · · · Q.· Do you know if you paid any insurance for those
      24· · 847" -- right here, right here.                                     24· · premises after September 1st of 2019?
      25· · · · · · · · · I don't have anything regarding --                    25· · · · A.· I don't know.· However, it's in the bankruptcy


      888-893-3767                                                                                                TRUSTEE1960-051963
      www.lexitaslegal.com                                                                                                                                YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 41 of 76
TRUSTEE1960-051964                                                Huong Le Nguyen                                                   Pagess 161..164
                                                                      Page 161                                                                   Page 163
      ·1· · court, I believe.· Patricia would know because she would ·1· · January 1st of 2018 to present."
      ·2· · file that with the bankruptcy court.                                 ·2· · · · · · · · · You objected to that, and you said that you
      ·3· · · · Q.· Okay.· This is before the bankruptcy, ma'am.                 ·3· · would limit your response to responsive communications
      ·4· · Because I understand you filed bankruptcy approximately              ·4· · dated from and after September 19th.· Do you see that?
      ·5· · November or December of 2020, correct?                               ·5· · · · A.· Yes.
      ·6· · · · A.· Correct.                                                     ·6· · · · Q.· But it doesn't show that you produced anything?
      ·7· · · · Q.· Okay.· So for 2019, which taxes and insurance                ·7· · · · A.· Because I don't have anything.· I search my
      ·8· · would have been due sometime -- well, at least ad valorem            ·8· · email.· I did not see anything.
      ·9· · taxes would have been due by January 31st of 2020.· Did              ·9· · · · · · · · · (Exhibit 34 marked.)
      10· · you make any payments for ad valorem taxes on either of              10· · · · Q.· (BY MS. ZIEK)· Well, let's talk about what you
      11· · those locations?                                                     11· · don't have.· Did you see Exhibit Number 34, which is
      12· · · · A.· I think it would be in the bankruptcy court, like            12· · something your counsel did produce?· And I only have one
      13· · I said, because we --                                                13· · extra copy.· I'll give you mine.
      14· · · · Q.· So is that a no, you didn't --                               14· · · · · · · · · This is a text exchange, is it not, that you
      15· · · · A.· I don't know.                                                15· · produced?
      16· · · · Q.· -- make payments?                                            16· · · · A.· I did not produce.· I don't know.
      17· · · · A.· I don't know.                                                17· · · · · · · · · MS. FALCON:· Well, we did.· We did produce
      18· · · · Q.· Who would know if you made any ad valorem tax                18· · it.· This is one that Stacy and your team pulled.
      19· · payments for that year?                                              19· · · · A.· Okay.
      20· · · · A.· Patricia, the CPA.                                           20· · · · Q.· (BY MS. ZIEK)· And at the top it says, "I just
      21· · · · Q.· If they weren't made and they were due, would                21· · emailed both of you an email that I had received from
      22· · Ms. McConnell come to you for the money?                             22· · Jerry Stein this morning.· After I sent that email, I
      23· · · · A.· Yes.                                                         23· · received the following text."
      24· · · · Q.· Okay.· Do you recall Ms. McConnell coming to you             24· · · · · · · · · And it basically says "just sent your email
      25· · to pay any of the ad valorem taxes on either of those                25· · to both Hemant Khemka --

                                                                      Page 162                                                                   Page 164
      ·1· · premises for the year 19 -- I'm sorry, 2019?                         ·1· · · · A.· Uh-huh.
      ·2· · · · A.· No, I don't remember.                                        ·2· · · · Q.· Is that how his name is pronounced?
      ·3· · · · Q.· Okay.· Same question on 2020.                                ·3· · · · A.· Hemant Khemka, yeah.
      ·4· · · · A.· I don't remember.                                            ·4· · · · Q.· Okay.
      ·5· · · · Q.· Okay.· And it's -- and what I'm also asking is,              ·5· · · · · · · · · -- "Hemant Khemka and to Stacy Williams?"
      ·6· · in 2020, did Ms. McConnell, who knew you were the guaranty ·6· · · · · · · · · Do you see that?
      ·7· · on these as per the email we've -- I'm sorry, the email              ·7· · · · A.· Yes, I do see that.
      ·8· · we've looked at, would she have come to you and said, hey,           ·8· · · · Q.· And the email that was being sent was, "Great.
      ·9· · look, 1960 is in bankruptcy.· Somebody needs to pay these            ·9· · It would be nice if someone would have the courtesy to
      10· · ad valorem taxes in 2020?                                            10· · reply to my emails and voicemails.· I am sure we will get
      11· · · · A.· I don't know.                                                11· · your attention when people show up for work Monday morning
      12· · · · Q.· You don't recall that conversation with her or               12· · and the locks have changed," correct?· Did I read that
      13· · you don't think it occurred?                                         13· · correctly?
      14· · · · A.· I don't recall that conversation or I don't                  14· · · · A.· Yeah, you did.
      15· · remember she came and talked to me about the taxes                   15· · · · Q.· Okay.· And it says, "I just sent to Dr. Le, Syed,
      16· · obligation on these buildings.                                       16· · Ravi, and Ryan."
      17· · · · Q.· Do you recall any insurance obligations on these             17· · · · · · · · · Do you see that?
      18· · buildings that 1960 Family Practice was to pay?· And if              18· · · · A.· Yes.
      19· · 1960 Family Practice didn't pay them, you, as a guarantor,           19· · · · Q.· What was sent to you, ma'am?
      20· · were obligated to pay them?                                          20· · · · A.· I don't have it.· I don't know.
      21· · · · A.· Like I said, I don't remember that she asked me              21· · · · Q.· Is there some reason you don't have your emails
      22· · to pay any kind of obligation on the building.                       22· · or your text messages back this far?
      23· · · · Q.· Okay.· Number 5, "All correspondence between you             23· · · · A.· What year is this?· 2019?
      24· · and any entity or person who has occupied the premises               24· · · · Q.· Yes, ma'am.
      25· · located at 847 Cypress Creek or 845 Cypress Creek from               25· · · · A.· Uh-huh.· I look through my email.· Like I said,


      888-893-3767                                                                                                   TRUSTEE1960-051964
      www.lexitaslegal.com                                                                                                                                  YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 42 of 76
TRUSTEE1960-051965                                               Huong Le Nguyen                                                        Pagess 165..168
                                                                      Page 165                                                                     Page 167
      ·1· · AskDrLe@1960FP.net, HLEMD@hotmail, and --                            ·1· · · · A.· There's multiple room.· There's only two suite.
      ·2· · · · Q.· Who is Ravi?                                                 ·2· · · · Q.· Okay.· So if there are only two suites, what
      ·3· · · · A.· Ravi is with UMMC.                                           ·3· · suite would she be in?
      ·4· · · · Q.· Who is Ryan?                                                 ·4· · · · A.· Like I said, I don't know what suite.· Is it A or
      ·5· · · · A.· Ryan work for UMMC.                                          ·5· · B, I'm not sure.
      ·6· · · · Q.· So three parties at UMMC and yourself, because               ·6· · · · Q.· What suite are you in, ma'am?
      ·7· · Syed is UMMC, correct?· Owns it?                                     ·7· · · · A.· I don't even know it either.· I don't know
      ·8· · · · A.· Correct, correct.                                            ·8· · whether Suite A or Suite B.· It's a small building, and I
      ·9· · · · Q.· So you had some indication, at least to December             ·9· · own that building.
      10· · of 2019, things weren't being paid, correct?                         10· · · · Q.· I get that you own it, but I'm finding it
      11· · · · A.· I did not know.· No, I did not.                              11· · difficult to believe you don't know what suite you office
      12· · · · Q.· Well, it says, "I just sent to Dr. Le."· Do you              12· · in?
      13· · have some reason to believe that's not true?                         13· · · · A.· It doesn't matter.· I don't have a suite. I
      14· · · · A.· I have some reason to believe I never received               14· · don't know.· I just walk in.· Whoever's office is open, I
      15· · the email or I never checked the email to see anything               15· · just walk in.· I don't really work in that office either.
      16· · that came through.                                                   16· · · · Q.· Okay.· So it's your testimony you have no email
      17· · · · Q.· Okay.· So Stacy Williams -- I'm sorry, Patricia              17· · correspondence, no text messages, no anything.· Is that
      18· · McConnell, who works for you, never had any conversation 18· · correct?
      19· · with you about, gee, in December of 2019, they're coming             19· · · · A.· Regarding the rent did not make by UMMC.
      20· · to lock the doors because we haven't paid rent at these              20· · · · Q.· Well, it's all communications, ma'am.
      21· · buildings?                                                           21· · · · A.· All communication regarding the --
      22· · · · A.· Correct, I never -- I didn't know that, no.                  22· · · · Q.· Those two premises, correct?
      23· · · · Q.· Okay.· Where does Patricia McConnell live?                   23· · · · A.· Yes, those premises.
      24· · · · A.· In Tomball.                                                  24· · · · Q.· Well, it could be as much as a subtenant telling
      25· · · · Q.· And she works for you at what location?                      25· · you they are going to pay their rent or any of that.· You

                                                                      Page 166                                                                     Page 168
      ·1· · · · A.· I think this was -- before that she was working              ·1· · don't have any communications with subtenants?

      ·2· · from home.                                                           ·2· · · · A.· I have -- no, I have communication with the eye

      ·3· · · · Q.· Where does she work for you now, ma'am?                      ·3· · doctor, Dr. Chundru.

      ·4· · · · A.· Oh, she work in the building -- Spring building              ·4· · · · Q.· Okay.· Did you produce that?

      ·5· · on 2920.                                                             ·5· · · · A.· I can.

      ·6· · · · Q.· 2920.· What's the address?                                   ·6· · · · Q.· Okay.· Was there any reason you didn't produce it

      ·7· · · · A.· 5037-B FM 2920, Spring, Texas 77388.                         ·7· · prior to today?

      ·8· · · · Q.· Okay.· And does that -- does that location --                ·8· · · · A.· I didn't know you wanted it from Dr. Chundru, the

      ·9· · does she have a telephone number that you know?                      ·9· · eye doctor.

      10· · · · A.· I don't know.· I know she has a telephone. I                 10· · · · Q.· Did you have any communications with Lymphedema

      11· · don't even know what that number is.                                 11· · telling them that they owed money?

      12· · · · Q.· Okay.· And if someone were to go look to locate              12· · · · A.· No.· I did have communication with Dr. Kevin

      13· · Ms. McConnell in that office building, what suite would              13· · Moran who was a sublease from me and then it got changed

      14· · she be in?                                                           14· · to Dr. David Ellent.

      15· · · · A.· One of the room in the back.· I don't know what 15· · · · Q.· Okay.· And so you've had communications with them
      16· · suite would that be.                                                 16· · as well?

      17· · · · Q.· Well, ma'am, is it a suite that you have an                  17· · · · A.· Correct.· I didn't know that you want

      18· · office at?                                                           18· · communication with the subtenant other than UMMC about the

      19· · · · A.· Yes, that building, I own that building, that                19· · lease.· I thought the -- I can produce communication

      20· · 5037.                                                                20· · between 1960 Family Practice with the other subtenant.

      21· · · · Q.· But you don't know the suite that Ms. McConnell              21· · · · Q.· Okay.· On Number 6 we asked for "All agreements

      22· · works in.· Is that your statement?                                   22· · to lease, sublet, or offer to lease or any similar

      23· · · · A.· Yes, I don't know what suite.· She takes one of 23· · documents indicating yours or any entity owned or
      24· · the back room.                                                       24· · controlled by you, including 1960 Family Practice's

      25· · · · Q.· Is there more than one suite to that building?               25· · permission to occupy any of the premises located at the's


      888-893-3767                                                                                                   TRUSTEE1960-051965
      www.lexitaslegal.com                                                                                                                                    YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 43 of 76
TRUSTEE1960-051966                                                       Huong Le Nguyen                                               Pagess 169..172
                                                                          Page 169                                                                 Page 171
      ·1· · -- well, it's two -- there's two things -- "located at 847               ·1· · documents produced to Dr. Nguyen by you in Cause
      ·2· · or 845 Cypress Creek from January 1st of '18 to present."                ·2· · Number 2019-46875."
      ·3· · · · · · · · · And even though you objected to it, you                    ·3· · · · · · · · · Do you see that, ma'am?
      ·4· · agreed to produce the subtenant leases in effect on                      ·4· · · · A.· Yes.
      ·5· · September 1st of 2019.· Do you see that, ma'am?                          ·5· · · · Q.· And you objected to that, correct?
      ·6· · · · A.· Yes.                                                             ·6· · · · A.· Correct.
      ·7· · · · Q.· Okay.· Do you recall -- do you recall what                       ·7· · · · Q.· Are you saying that there's no crossover between
      ·8· · subtenants there were when you were no longer -- when 1960               ·8· · those two lawsuits and this lawsuit?
      ·9· · Family Practice, PA, was no longer on the premises?                      ·9· · · · A.· I don't know.· That's -- my attorney would have
      10· · · · A.· Besides UMMC?                                                    10· · to figure it out.
      11· · · · Q.· Yes, ma'am.                                                      11· · · · Q.· Okay, ma'am.· But personally do you believe
      12· · · · A.· The eye doctor, the respiratory doctor,                          12· · there's any crossover between the two?
      13· · Lymphedema, and one more.· I think rheumatology.                         13· · · · A.· What lawsuit?
      14· · · · Q.· What was Genesis?                                                14· · · · Q.· Between the one that -- Dr. Nguyen is suing you
      15· · · · A.· Genesis is a primary care group with oncology,                   15· · for in Cause Number 2019-46875?
      16· · and they sublease from Kevin Moran, who sublease from me. 16· · · · A.· I do think there are some relate.
      17· · He was an orthopedic doctor.                                             17· · · · Q.· So there is some relation, right?
      18· · · · Q.· Okay.· Were you aware that Genesis moved out?                    18· · · · A.· Yes.
      19· · · · A.· Oh, when?· When did they move out?· No, I was not                19· · · · Q.· Okay.· Number 11, "All agreements for settlement,
      20· · aware of that.                                                           20· · indemnification, compromise, guaranty or any other kind of
      21· · · · Q.· Okay.· So you had no idea that Genesis also moved                21· · agreement which you have entered into with any other
      22· · out and broke their sublease?                                            22· · person relating to this lawsuit."
      23· · · · A.· I did not know that.                                             23· · · · · · · · · Have you made any agreements with any of the
      24· · · · Q.· Okay.· Number 8 says "All payments made by you on                24· · other guarantors to indemnify them, ma'am, in this
      25· · the guaranty agreement made the basis of this suit."                     25· · lawsuit?

                                                                          Page 170                                                                 Page 172
      ·1· · · · · · · · · You're saying you've made no payments or you               ·1· · · · A.· In this KME lawsuit?
      ·2· · can't locate any payments?                                               ·2· · · · Q.· Yes, ma'am.
      ·3· · · · A.· I don't know if -- if there were any payment,                    ·3· · · · A.· Well, it's -- the lawsuit is myself, Alex Nguyen,
      ·4· · Patricia would have known.                                               ·4· · and Annie Hoang.
      ·5· · · · Q.· Okay.· Okay.· "All statements made by you in your                ·5· · · · Q.· Correct.
      ·6· · individual capacity or in your capacity as an authorized                 ·6· · · · A.· Correct.
      ·7· · agent for 1960 Family Practice's dealing with the issue of               ·7· · · · Q.· Have you made any agreements with them to
      ·8· · rent following 1960 Family Practice's sale of its assets,                ·8· · indemnify you?
      ·9· · including any statements made in the 341 meeting to the                  ·9· · · · A.· No.
      10· · trustee."                                                                10· · · · Q.· Have you made any agreements to indemnify them?
      11· · · · · · · · · Do you see that?                                           11· · · · A.· (Nodding negatively.)
      12· · · · A.· What number is this?                                             12· · · · Q.· No?
      13· · · · Q.· Number 9.                                                        13· · · · · · · · · You produced the lease guaranty.· You
      14· · · · A.· Okay.                                                            14· · produced...
      15· · · · Q.· Did you produce those?· I didn't get 341 meeting                 15· · · · · · · · · Okay.· Did you make -- I didn't see any
      16· · minutes.                                                                 16· · payments.· How would you normally pay KME?
      17· · · · · · · · · MS. FALCON:· I thought we did produce those.               17· · · · A.· I don't know.
      18· · I think you have to get those from the trustee.                          18· · · · Q.· So you don't know how 1960 Family Practice
      19· · · · · · · · · MS. ZIEK:· If you -- I didn't get -- I                     19· · normally paid KME?
      20· · didn't see them, but I'm not going to say they weren't                   20· · · · A.· No.
      21· · there, because I haven't gone through every native format 21· · · · Q.· Do you know if it was by wire or check?
      22· · thing that you forwarded over.· I've only been through the               22· · · · A.· I don't know.
      23· · PDFs and some other stuff, so it may be there.· If it is                 23· · · · Q.· Who would know?
      24· · there, just point it out and I'll just deal with it.                     24· · · · A.· Patricia.
      25· · · · Q.· (BY MS. ZIEK)· Okay.· The next one is "All                       25· · · · · · · · · MS. ZIEK:· Are we on 35?


      888-893-3767                                                                                                   TRUSTEE1960-051966
      www.lexitaslegal.com                                                                                                                                    YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 44 of 76
TRUSTEE1960-051967                                                Huong Le Nguyen                                                 Pagess 173..176
                                                                    Page 173                                                                      Page 175
      ·1· · · · · · · · · MR. MATTHEWS:· Yeah.                                 ·1· · · · A.· Uh-huh, correct.
      ·2· · · · Q.· (BY MS. ZIEK)· When did 1960 Family Practice file          ·2· · · · Q.· And this was part of what you filed in the
      ·3· · for bankruptcy?                                                    ·3· · bankruptcy court.· Is that correct?
      ·4· · · · A.· It's on the record.· I think November 2021. I              ·4· · · · A.· Correct.
      ·5· · don't -- I don't remember exactly.                                 ·5· · · · Q.· Okay.· And so what did this receivable represent?
      ·6· · · · Q.· Could it be November of 2020?                              ·6· · · · A.· It represent the unpaid, the amount of money that
      ·7· · · · A.· Oh, November 2020, yeah.                                   ·7· · UMMC should have paid.
      ·8· · · · Q.· And I think earlier you said that you placed 1960          ·8· · · · Q.· To whom, ma'am?
      ·9· · Family Practice, PA, into bankruptcy without any meeting           ·9· · · · A.· To -- for example, to the Physicians Alliance of
      10· · with either Drs. Nguyen or Annie Hoang?                            10· · Red Oak, on rent -- for rent in building -- in Spring
      11· · · · A.· We had a meeting.· But since I was the majority            11· · building.· It says right here, ultimately owed to
      12· · shareholder and the managing partner, so the decision was 12· · Physicians Alliance of Red Oak.· Ultimately -- you can see
      13· · made.                                                              13· · all of that -- ultimately owed to Broadstone.
      14· · · · Q.· Okay.· So now you're saying there was a meeting?           14· · · · Q.· But whose receivable was this, ma'am?
      15· · · · A.· There was a meeting with me and my lawyer.                 15· · · · A.· It was UMMC, 2019.
      16· · · · Q.· Okay.· That wasn't what I asked.· I asked was              16· · · · Q.· I understand that.· But who did UMMC owe pursuant
      17· · there ever a meeting with doctors -- I'm sorry, Dr. Nguyen         17· · to your schedule and bankruptcy?
      18· · and Dr. Hoang before 1960 Family Practice, PA, was placed          18· · · · A.· This is rent money.
      19· · into bankruptcy?                                                   19· · · · Q.· I understand that, ma'am.· But isn't this what
      20· · · · A.· According to my lawyer, I don't have to.                   20· · 1960 was claiming was owed to them as a receivable from
      21· · · · Q.· That wasn't the question, ma'am.                           21· · UMMC?
      22· · · · A.· Okay.· No.· No.                                            22· · · · A.· Yes.
      23· · · · Q.· It's yes or no.                                            23· · · · Q.· Okay.· So let's go to page 2.· And I think if you
      24· · · · A.· No.                                                        24· · start down -- and it starts with 9 -- 11/15 of 2019.· It's
      25· · · · Q.· Did you have a meeting with your other                     25· · about halfway down the page.· And the number is $903.79,

                                                                    Page 174                                                                      Page 176
      ·1· · shareholders?                                                      ·1· · "5 percent late fee, November 2019 rent - 847 Cypress
      ·2· · · · A.· No, there was no meeting.                                  ·2· · Creek Parkway, Building 3."
      ·3· · · · Q.· And so in November of 2020, you put 1960 Family            ·3· · · · · · · · · Do you see this?
      ·4· · Practice, PA, into bankruptcy, correct?                            ·4· · · · · · · · · "Amount ultimately payable to KME Holdings,
      ·5· · · · A.· Correct.                                                   ·5· · LLC."
      ·6· · · · Q.· At the time you put it into bankruptcy, you filed          ·6· · · · A.· 992,000 -- I mean, $992.
      ·7· · certain schedules and declared under penalties of perjury          ·7· · · · · · · · · MR. MATTHEWS:· You said the wrong date.
      ·8· · these were the amounts due and owing, correct?                     ·8· · · · Q.· (BY MS. ZIEK)· 903.79.
      ·9· · · · A.· Correct.                                                   ·9· · · · A.· Yes.
      10· · · · Q.· Okay.· Let me show you what's been marked as               10· · · · · · · · · MR. MATTHEWS:· You said the wrong date, I
      11· · Exhibit Number 35.                                                 11· · think.· 12/15.
      12· · · · · · · · · (Exhibit 35 marked.)                                 12· · · · Q.· (BY MS. ZIEK)· 12/15 of 2019?
      13· · · · Q.· (BY MS. ZIEK)· This is an exhibit and it's called          13· · · · A.· I see 12/17 of 2019.
      14· · A/B, up at the top, #11B.· Do you see that, ma'am?· And it 14· · · · Q.· Keep going down, ma'am.
      15· · is a UMMC Receivable Detail.· Do you see that?                     15· · · · A.· Okay.
      16· · · · A.· Where is that, on what -- page 1?                          16· · · · Q.· Till you hit where --
      17· · · · Q.· It's on page 1.                                            17· · · · A.· 2 -- yes, yes.
      18· · · · A.· Yeah.                                                      18· · · · Q.· Do you see it, 11/15 of 2019?
      19· · · · Q.· Up at the top it says "Exhibit A/B #11B,"                  19· · · · A.· Yes.
      20· · correct?                                                           20· · · · Q.· "903.79, 5 percent late fee, November 2019 rent."
      21· · · · A.· Correct.                                                   21· · · · · · · · · Do you see that ultimately owed to KME?
      22· · · · Q.· And it says "UMMC" under that, correct?                    22· · · · A.· Yes.
      23· · · · A.· Correct.                                                   23· · · · Q.· Okay.· Where did you come up with all of these
      24· · · · Q.· And then over to the side, starting on the                 24· · numbers?
      25· · right-hand, it says, "UMMC Receivable Detail," correct?            25· · · · A.· Patricia pull it from her QuickBooks.


      888-893-3767                                                                                               TRUSTEE1960-051967
      www.lexitaslegal.com                                                                                                                                   YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 45 of 76
TRUSTEE1960-051968                                                   Huong Le Nguyen                                                 Pagess 177..180
                                                                        Page 177                                                              Page 179
      ·1· · · · Q.· Okay.· So these are the amounts you acknowledged               ·1· · · · A.· Correct.· I think she thought from November to
      ·2· · are due KME, correct --                                                ·2· · June 2021.
      ·3· · · · · · · · · MS. FALCON:· Objection.· Form.                           ·3· · · · Q.· Okay.· And the same thing, if you go to the
      ·4· · · · Q.· (BY MS. ZIEK) -- as of November of 2020 when you               ·4· · second page, although it is for building -- a different
      ·5· · filed bankruptcy?                                                      ·5· · building, Building 2, she also puts in a year's worth of
      ·6· · · · · · · · · MS. FALCON:· Objection.· Form.                           ·6· · future rent payments on that building as well, correct?
      ·7· · · · Q.· (BY MS. ZIEK)· Well, you swore to the schedule,                ·7· · · · A.· What amount is it?
      ·8· · correct?                                                               ·8· · · · Q.· $43,917.72?
      ·9· · · · A.· Correct.· Whatever is on the schedule, that's                  ·9· · · · A.· Correct.· Right, because we all under the
      10· · correct.                                                               10· · assumption the lease -- that we obligate to --
      11· · · · Q.· Okay.· And so real estate taxes from September of              11· · · · Q.· And the only amount that she actually has you
      12· · '19 to December of '19, amount ultimately owed to                      12· · liable for in Building 3 appears to be the IT space,
      13· · Physicians Alliance of Red Oak, LLP.                                   13· · correct -- I'm sorry, in Building 2?
      14· · · · · · · · · Did Physicians Alliance of Red Oak, LP, pay              14· · · · A.· Yes.
      15· · those taxes?                                                           15· · · · Q.· Okay.· So it has no amounts for subtenants that
      16· · · · A.· Yes.                                                           16· · didn't pay, correct?
      17· · · · Q.· Why would Physicians Alliance of Red Oak, LP, pay              17· · · · A.· Correct.
      18· · taxes owed by 1960 Family Practice, PA, on the buildings               18· · · · Q.· It has no amounts for tenants -- I'm sorry,
      19· · owned by my clients?                                                   19· · subtenants that didn't pay CAM, correct?
      20· · · · A.· No, no, no.· No.· What is it?· I'm confused.· The              20· · · · A.· Correct.
      21· · Physician Red Oak -- Physicians Alliance Red Oak, we don't 21· · · · Q.· And it has no amounts for subtenants who moved
      22· · pay taxes on building that owned by your client.· We pay               22· · out of their spaces prior to their leases ending, correct?
      23· · taxes on both buildings that's owned by Physicians                     23· · · · A.· Correct.
      24· · Alliance of Red Oak on Spring building.                                24· · · · Q.· And then at the bottom you say, "Plus
      25· · · · Q.· Okay.· Well, that's not what that says, ma'am.                 25· · miscellaneous fees, including but not limited to late

                                                                        Page 178                                                              Page 180
      ·1· · $19,518.57, real estate property taxes from September of               ·1· · fees, interest, attorneys' fees for Brookstone Cypress MOB
      ·2· · 2019 to December of 2019 for 847 Cypress Creek Parkway,                ·2· · and KME," correct --
      ·3· · Building 3, Houston, Texas, which is one of my client's                ·3· · · · A.· Correct.
      ·4· · buildings, correct?                                                    ·4· · · · Q.· -- "for which there are pending lawsuits"?
      ·5· · · · A.· Correct.                                                       ·5· · · · A.· Not Broadstone.· Broadstone is a nonsuit now.
      ·6· · · · Q.· And then it says, out to the side, "Amount                     ·6· · · · Q.· Okay.· But you say "for which there are pending
      ·7· · ultimately owed to Physicians Alliance of Red Oak, LP."                ·7· · lawsuits."
      ·8· · · · · · · · · Is that incorrect?                                       ·8· · · · · · · · · Do you see that ma'am?
      ·9· · · · A.· I would have to ask Patricia.· But my suspect is               ·9· · · · A.· Yes.
      10· · that Patricia took -- borrow money from our old building               10· · · · Q.· Okay.· So at least in 2020, November of 2020, you
      11· · and paid the taxes, but I don't know.· I would have to ask 11· · knew there was a lawsuit, correct, ma'am?
      12· · her because she's a CPA and she pulled the schedule for 12· · · · A.· Of what?
      13· · QuickBooks.                                                            13· · · · · · · · · MS. FALCON:· Objection.· Form.
      14· · · · Q.· Okay.· And so as we go down, there's certain                   14· · · · A.· No, I don't know.· Like I said --
      15· · amounts paid.· It looks like the rent goes up on June 1st              15· · · · · · · · · MS. FALCON:· Which lawsuit?
      16· · of 2020, correct?· There's a rent increase?                            16· · · · A.· Which lawsuit, on which company?
      17· · · · A.· Yes.                                                           17· · · · Q.· (BY MS. ZIEK)· It says interest and attorneys'
      18· · · · Q.· And then it continues on.· And then we get down                18· · fees for Broadstone Cypress MOB, LLC, and KME LLC for
      19· · to 11/6 of 2020, and it says, "One year of future rent                 19· · which there are pending lawsuits?
      20· · payments for Building 3."                                              20· · · · A.· Pending lawsuit from Cypress MOB and pending
      21· · · · · · · · · Do you see that?                                         21· · lawsuit from KME.
      22· · · · A.· Yes.                                                           22· · · · Q.· Okay.· So as -- when you filed in November of
      23· · · · Q.· Why would she have been adding one year's worth                23· · 2020, you knew there was a pending lawsuit, correct,
      24· · of rent payments that -- was she also under the assumption             24· · ma'am?
      25· · that this was a ten-year lease?                                        25· · · · A.· No.· Pending law -- okay.· Pending lawsuit of


      888-893-3767                                                                                                 TRUSTEE1960-051968
      www.lexitaslegal.com                                                                                                                               YVer1f
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 46 of 76
TRUSTEE1960-051969                                                  Huong Le Nguyen                                                  Pagess 181..184
                                                                        Page 181                                                             Page 183
      ·1· · Cypress MOB, I don't think it was filed back there. I                  ·1· · · · · · · · · · CORRECTIONS AND SIGNATURE

      ·2· · don't know.· I would have to go back and look at all that              ·2· · WITNESS NAME:· HUONG LE NGUYEN· · · · DATE:· 05/19/2022

      ·3· · number and what it is.· That's why we assigned zero.                   ·3· · PAGE· LINE· CHANGE· · · · · · · · REASON

      ·4· · · · Q.· Well, you assigned zero because it says "unknown               ·4· · ________________________________________________________

      ·5· · amount," correct?                                                      ·5· · ________________________________________________________

      ·6· · · · A.· It's unknown amount.                                           ·6· · ________________________________________________________

      ·7· · · · Q.· OKAY.· But at least you knew there was a lawsuit               ·7· · ________________________________________________________

      ·8· · going on?                                                              ·8· · ________________________________________________________

      ·9· · · · A.· I don't know about that.· I don't.· Seriously, I               ·9· · ________________________________________________________

      10· · don't know.                                                            10· · ________________________________________________________

      11· · · · Q.· Well, somebody knew about it because somebody put 11· · ________________________________________________________
      12· · it on a schedule, correct?                                             12· · ________________________________________________________

      13· · · · A.· Patricia would be the one who filled out a                     13· · ________________________________________________________

      14· · schedule and put on the schedule, correct, yes.                        14· · ________________________________________________________

      15· · · · · · · · · MS. ZIEK:· Can we take a five-minute break?              15· · ________________________________________________________

      16· · I might be pretty close to being finished.                             16· · ________________________________________________________

      17· · · · · · · · · MS. FALCON:· Sure.                                       17· · ________________________________________________________

      18· · · · · · · · · (Recess taken from 3:51 p.m. to 4:02 p.m.)               18· · ________________________________________________________

      19· · · · · · · · · MS. ZIEK:· I'm going to reserve the rest of              19· · ________________________________________________________

      20· · my questions until they finish, see if I have any more,                20· · ________________________________________________________

      21· · but I'm passing the witness.                                           21· · ________________________________________________________

      22· · · · · · · · · MS. FALCON:· If y'all don't mind, it would               22· · ________________________________________________________

      23· · be really nice if we could just reschedule this for a                  23· · ________________________________________________________

      24· · different day.· She's got a depo on Monday.· She's also,               24· · ________________________________________________________

      25· · you know, got her knee thing.· You've got stuff you need               25


                                                                        Page 182                                                             Page 184
      ·1· · to do.· I think it would be very nice.· We can try to get              ·1· · · · I, HUONG LE NGUYEN, have read the foregoing
                                                                                   ·2· ·deposition and hereby affix my signature that same is
      ·2· · some dates.· You said before June 4th?
                                                                                   ·3· ·true and correct, except as noted on the correction
      ·3· · · · · · · · · MS. POYSER:· 4th.
                                                                                   ·4· ·page.
      ·4· · · · · · · · · MS. FALCON:· We'll try to work on that.                  ·5
      ·5· · · · · · · · · We'll look at your schedule tomorrow.                    ·6· · · · · · · · · · · · · ____________________________
      ·6· · · · · · · · · If that's okay with you.                                 · · · · · · · · · · · · · · HUONG LE NGUYEN

      ·7· · · · · · · · · MR. MATTHEWS:· Yeah, it's okay.· I mean, you ·7
                                                                                   ·8· ·THE STATE OF TEXAS· · · )
      ·8· · know, because either way, I don't think we are going to
                                                                                   ·9· ·COUNTY OF _____________ )
      ·9· · finish today.
                                                                                   10
      10· · · · · · · · · MS. FALCON:· That's the point.· Why start if             11· · · · Before me ____________________ on this day
      11· · you're not going to finish.                                            12· ·personally appeared HUONG LE NGUYEN, known to me or
      12· · · · · · · · · MR. MATTHEWS:· Okay.                                     13· ·proved to me on the oath of __________________ or

      13· · · · · · · · · (Deposition Recessed at 4:03 p.m.)                       14· ·through _____________________ (description of identity
                                                                                   15· ·card or other document) to be the person whose name is
      14
                                                                                   16· ·subscribed to the foregoing instrument and acknowledged
      15
                                                                                   17· ·to me that he/she executed the same for the purposes and
      16
                                                                                   18· ·consideration therein expressed.
      17                                                                           19· · · · Given under my hand and seal of office this ______
      18                                                                           20· ·day of _______________, 2022.
      19                                                                           21

      20                                                                           · · · · · · · ·__________________________________
                                                                                   22· · · · · · ·NOTARY PUBLIC IN AND FOR
      21
                                                                                   · · · · · · · ·THE STATE OF T E X A S
      22
                                                                                   23
      23                                                                           24· ·My Commission Expires:
      24                                                                           · · ·_______________________
      25                                                                           25



      888-893-3767                                                                                                  TRUSTEE1960-051969
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 47 of 76
TRUSTEE1960-051970                                          Huong Le Nguyen                                             Pagess 185..188
                                                              Page 185                                                            Page 187
      ·1· · · · · · · · · · · CAUSE NO. 2020-01418                       ·1· · · · I further certify that I am neither counsel for,
      ·2· ·KME HOLDINGS, LLC,· · · · · ) IN THE DISTRICT COURT OF        ·2· ·related to, nor employed by any of the parties in the
      · · · · · · · · · · · · · · · · ·)                                 ·3· ·action in which this proceeding was taken, and further
      ·3· · · · · · ·Plaintiffs,· · · ·)
                                                                         ·4· ·that I am not financially or otherwise interested in the
      · · · · · · · · · · · · · · · · ·)
                                                                         ·5· ·outcome of the action.
      ·4· ·VS.· · · · · · · · · · · · ·) HARRIS COUNTY, TEXAS
                                                                         ·6· · · · Further certification requirements pursuant to Rule
      · · · · · · · · · · · · · · · · ·)
      ·5· ·1960 FAMILY PRACTICE,· · · ·)                                 ·7· ·203 of Texas Code of Civil Procedure will be certified
      · · ·P.A., PHYSICIANS ALLIANCE· ·)                                 ·8· ·to after they have occurred.
      ·6· ·OF RED OAK, L.P., UNITED· · )                                 ·9
      · · ·MEMORIAL MEDICAL CENTER,· · )                                 10· · · · Certified to by me this 2nd day of
      ·7· ·LLC, HUONG LE NGUYEN,· · · ·)
                                                                         11· ·June, 2022.
      · · ·QUOC D. LE, AND ALEX L.· · ·)
                                                                         12
      ·8· ·NGUYEN,· · · · · · · · · · ·) 189TH JUDICIAL DISTRICT
                                                                         13
      · · · · · · · · · · · · · · · · ·)
      ·9· · · · · · ·Defendants.· · · ·)                                 · · · · · · · · · · _____________________________________________

      10· · · · · · · · · ·REPORTER'S CERTIFICATION                      14· · · · · · · · · SARA BIELAMOWICZ, CSR, RPR
      · · · · · · · · · ·DEPOSITION OF HUONG LE NGUYEN                   · · · · · · · · · · CSR NO. 4838; Expiration Date: 1-31-23
      11· · · · · · · · · · · TAKEN MAY 19, 2022                         15· · · · · · · · · Lexitas – Firm Registration No. 95
      12· · · · I, SARA BIELAMOWICZ, Certified Shorthand Reporter
                                                                         · · · · · · · · · · 13101 Northwest Freeway, Suite 210
      13· ·in and for the State of Texas, hereby certify to the
                                                                         16· · · · · · · · · Houston, Texas 77040
      14· ·following:
                                                                         · · · · · · · · · · 281-469-5580
      15· · · · That the witness, HUONG LE NGUYEN, was duly sworn
      16· ·by the officer and that the transcript of the oral            17

      17· ·deposition is a true record of the testimony given by         18
      18· ·the witness;                                                  19
      19· · · · That the deposition transcript was submitted on          20
      20· ·June 02, 2022 to the witness or to the attorney for           21
      21· ·the witness for examination, signature and return to me,
                                                                         22
      22· ·by June 22, 2022; (20 days);
                                                                         23
      23· · · · That pursuant to information given to the
                                                                         24
      24· ·deposition officer at the time said testimony was taken,
      25· ·the following includes all parties of record and the          25


                                                              Page 186                                                            Page 188
      ·1·   ·amount of time used by each party at the time of the        ·1· · · · · ·FURTHER CERTIFICATION UNDER RULE 203 TRCP
      ·2·   ·deposition:
                                                                         ·2· · · · The original deposition was/was not returned to the
      ·3·   ·FOR THE PLAINTIFF:
      · ·   ·04:32                                                       ·3· ·deposition officer on __________________________;
      ·4·   · · · Ms. Robin M. Ziek                                      ·4· · · · If returned, the attached Changes and Signature
      · ·   · · · ROBIN M. ZIEK - ATTORNEY AT LAW
      ·5·   · · · 24 Greenway Plaza, Suite 2050                          ·5· ·page contains any changes and the reasons therefor;
      · ·   · · · Houston, Texas· 77046                                  ·6· · · · If returned, the original deposition was delivered
      ·6·   · · · 713.222.8030
                                                                         ·7· ·to Ms. Robin M. Ziek, Custodial Attorney;
      · ·   · · · Rziek@sbcglobal.net
      ·7                                                                 ·8· · · · That $ ______________ is the deposition officer's
      ·8·   ·FOR THE DEFENDANT, HUONG LE NGUYEN:                         ·9· ·charges to Plaintiff for preparing the original
      · ·   ·00:00
      ·9·   · · · Ms. Amy C. Falcon                                      10· ·deposition transcript and any copies of exhibits;
      · ·   · · · PORTER HEDGES, LLP                                     11· · · · That the deposition was delivered in accordance
      10·   · · · 1000 Main Street, 36th Floor
                                                                         12· ·with Rule 203.3 and that a copy of this certificate was
      · ·   · · · Houston, Texas· 77002
      11·   · · · 713.226.6681                                           13· ·served on all parties shown herein and filed with the
      · ·   · · · Afalcon@porterhedges.com                               14· ·Clerk.
      12
      13·   ·FOR THE DEFENDANT, UNITED MEMORIAL MEDICAL CENTER:          15· · · · Certified to by me this _______ day of
      · ·   ·00:00                                                       16· ·__________________, 2022.
      14·   · · · Ms. Sharlene A. Poyser
                                                                         17
      · ·   · · · THE POYSER LAW FIRM
      15·   · · · 1001 Texas Avenue, Suite 400                           18
      · ·   · · · Houston, Texas· 77002                                  · · · · · · · ·__________________________________
      16·   · · · 832.498.5434
      · ·   · · · sharlene@thepoyserlawfirm.com                          19· · · · · · ·SARA BIELAMOWICZ, CSR, RPR
      17                                                                 · · · · · · · ·CSR NO. 4838; Expiration Date: 10-31-22
      18·   ·FOR THE DEFENDANT, ALEX L. NGUYEN:
                                                                         20· · · · · · ·Lexitas – Firm Registration No. 95
      · ·   ·00:00
      19·   · · · Mr. Jeff Matthews                                      · · · · · · · ·13101 Northwest Freeway, Suite 210
      · ·   · · · ATTORNEY AT LAW
                                                                         21· · · · · · ·Houston, Texas 77040
      20·   · · · P.O. Box 982
      · ·   · · · Katy, Texas· 77492                                     · · · · · · · ·281-469-5580
      21·   · · · 281.772.0772                                           22
      · ·   · · · Jeff.superdocs@gmail.com
      22                                                                 23
      23                                                                 24
      24
                                                                         25
      25


      888-893-3767                                                                                     TRUSTEE1960-051970
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 48 of 76
TRUSTEE1960-051971                      Huong Le Nguyen                    s Index: #11B..1960
                                   $903.79 175:25              18 169:2
                 Exhibits
                                   $992 176:6                  19 10:17 11:20 128:23
                                                                129:13 162:1 177:12
       Nguyen 021 3:13 8:10,12
        50:9                                     (             1906 132:12
       Nguyen 022 3:15 54:23                                   1960 13:1,4,11,19,24
                                   (d) 68:21
        112:5,12                                                14:10,22,25 15:4,7,11,20,
                                   (g) 103:20                   23 16:20,22,24 17:8,11
       Nguyen 023 3:17 51:21
                                                                20:2,5 21:11 22:11 24:4,
       Nguyen 024 3:19 60:21,                    0              7,12,15,17,19 25:9,11,20,
        24 71:12 76:2 82:22 93:5                                25 26:4,5 27:11 28:5
       Nguyen 025 3:20 72:15,      05/19/2022 183:2             33:16 34:9,22,23 36:9,22
        20 75:6 97:23                                           38:12 48:21 49:17,20
                                                                51:9 53:18 56:22 57:15,
       Nguyen 026 3:21 72:13                     1
                                                                25 59:11,23,25 60:2,10,
        73:10,12,14,15 74:13,14                                 15 61:2,19 62:1,9 63:15
                                   1 49:23 59:20,22,25 60:7,
       Nguyen 027 3:22 74:16,                                   65:9,14,22 66:6,11,20
                                    11,15 61:8 64:25 68:21
        17                                                      67:6,16,18 68:9,12 69:5,
                                    77:13,19,22 78:4,6,20
                                                                20,21 70:12 71:17,25
       Nguyen 028 4:2 102:9,11      91:23 96:7 99:7 104:19
                                                                72:22,25 73:3,7,17,23
                                    107:16,17 108:1,5 129:3
       Nguyen 029 4:3 109:3,5                                   74:9 75:2 76:15,25 77:13
                                    174:16,17
       Nguyen 030 4:4 111:6,8                                   78:16 79:8,22 81:18 83:5,
                                   10 45:8                      18 84:5,9,16,18,21 85:2,
        131:4
                                   105 27:16                    3,4,12,19,25 86:9,19,21,
       Nguyen 031 4:6 137:10,                                   22,24,25 87:15,17 88:7,
        12                         1099 21:20                   11,19,25 89:4,9,21 90:12
       Nguyen 032 4:7 144:8,10     11 171:19                    91:6,8,20,21 92:13,24
                                                                93:2 94:6,10,11,14,19
       Nguyen 033 4:9 156:22       11/15 175:24 176:18
                                                                95:5,7,8,9,12,18,20,22,24
       Nguyen 034 4:11 160:7       11/6 178:19                  96:12,14,18,22,24,25
        163:9,11                   11:50 71:3                   97:2,4,5,8,9,10,12,18
                                                                99:3,16,19 100:16,21,23
       Nguyen 035 4:12 174:11,     12 22:4 81:1,10,14           101:5,15 102:16,17,20
        12
                                   12-year 81:4,7               103:6,9 105:6,8,15,20,21,
                                                                23,25 106:4,12,13,14,17,
                      #            12/15 176:11,12              23,24 107:7 109:23
                                   12/17 176:13                 117:2,12,14 119:22,24
       #11B 174:14,19                                           121:10 123:8 126:7
                                   12:54 71:3
                                                                127:7,15,25 128:9,19,24
                      $            13 9:14                      129:11 130:1,11 131:11
                                   13.5 93:8                    134:21 135:14,21 137:24
       $19,518.57 178:1                                         139:9 140:4,24 141:21,22
                                   14 82:7 83:4,23              142:7 143:10,23 146:20,
       $2 100:22 101:15
                                   15 54:5,6 93:4,8             23 147:10,12,13,14,24,25
       $43,917.72 179:8                                         148:6,7 149:15,16,18
                                   15th 72:21
       $500,000 61:25 84:9 99:15                                150:18 151:6,9,11,21
                                   16 31:8 102:13               152:16 153:1,11,13,23


      888-893-3767                                                 TRUSTEE1960-051971
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 49 of 76
TRUSTEE1960-051972                       Huong Le Nguyen                      s Index: 1960's..3
         154:8,9,10,12,15,16,18,    2000 25:6                   22 50:7,9,13,19,22 51:21,
         19,20 155:9 156:7,12                                    22,23 54:23 82:1,2,3
                                    2000s 26:21,23
         157:1 159:18 162:9,18,19                                112:5,12,15 113:6 115:2,
         168:20,24 169:8 170:7,8    2011 39:20 45:23 60:16       19
         172:18 173:2,8,18 174:3     67:3,8 72:22 120:13,15
                                                                22nd 67:9 110:11,12
         175:20 177:18              2016 27:9 96:5 118:10        120:22 121:12
       1960's 64:13 69:15 70:20      148:10
                                                                23 39:19 50:7,13,14,20,23
       1975 9:12,13                 2017 101:7,10 126:14         51:21,22,23 54:23 67:8
                                    2018 11:8,13 14:4 15:14      82:2 112:5,12,15 113:6
       1981 9:18,19
                                     25:2 51:24 101:16 115:4     115:2,18
       1985 10:3,4,19                126:18 128:8,23 129:13     2306 21:3
       1989 10:20 11:20              158:18 160:13 163:1
                                                                2320 109:24
       1992 10:17,20 12:20          2019 11:7,8,13 15:14 22:9
                                                                23rd 60:8
                                     24:4,19,20 25:10,14
       1998 11:5,11,12
                                     26:11,12 28:2 48:24,25     24 51:21 53:1 60:20,21,24
       19th 25:14 163:4              49:18 60:5 61:8 63:18,22    71:12 76:2 82:7,22 93:5
       1st 66:14 74:8 91:24          64:3,25 65:22 66:15 74:8   2400 103:17
        121:11 139:11 150:24         76:6,16 86:1 91:23 95:25
                                     101:16 102:13 110:13       25 60:19 72:14,15,20 75:6
        151:2,10 154:16 158:18
                                     121:11 128:8 129:3 132:1    97:23,25 121:17 141:14,
        160:13,18,24 163:1
                                     134:20 139:11 145:13        15
        169:2,5 178:15
                                     146:3,12 150:24 151:2,10   26 60:19 72:13 73:10,12,
                                     154:7,9,11,16 158:17        15 74:14 97:23
                      2
                                     160:18,21,24 161:7 162:1
                                     164:23 165:10,19 169:5     27 51:24 74:16,17 98:1,2,3
       2 32:23 33:15 34:2 37:18
                                     175:15,24 176:1,12,13,     28 102:9,11
        40:1 48:22 49:1,18,24
                                     18,20 178:2
        50:20 52:7 56:17 63:20                                  29 109:3,5 129:24 130:19
        64:14 66:22 67:7 68:21      2019-46875 171:2,15          131:6
        72:3 74:10 77:9,14,18       2020 11:7 22:9 161:5,9      290 59:15 77:15 79:16,22
        80:8,9,12,13,18 91:10        162:3,6,10 173:6,7 174:3    99:7 110:5
        96:7 99:7 101:12,13,18       177:4 178:16,19 180:10,
        103:18 109:1 112:17                                     2920 98:8,11,15 166:5,6,7
                                     23
        139:12 145:23 158:21                                    2nd 11:19
        159:2 175:23 176:17         2021 27:2 60:16,17 63:25
        179:5,13                     65:12 67:3,9 80:4 81:6
                                     120:23 121:12 132:1,10,                  3
       2.1(d) 68:21                  19 133:10,11 134:17,18,
       2.6 101:23                    20 135:7 149:2 156:16      3 32:25 34:5 37:18 38:3
                                     173:4 179:2                 40:4 42:14 49:11,18,24
       20 11:12 20:1,6 26:21 28:1                                50:19 51:7 56:17 62:19,
        65:10 75:16 114:11          2023 60:8                    21 63:20 64:14 66:22
        125:18 145:13               20th 146:11                  67:7 68:24,25 72:3 74:11,
       20-plus 88:21                                             23 77:9,14,18 80:9,12
                                    21 8:10,12 35:16,21 50:5,
                                                                 96:7 97:23 98:16 99:7
       200 32:17                     9,11 132:9
                                                                 139:12 141:17 145:23
                                                                 156:24 159:2 176:2


      888-893-3767                                                  TRUSTEE1960-051972
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 50 of 76
TRUSTEE1960-051973                       Huong Le Nguyen                 s Index: 30..additional
         178:3,20 179:12            5037-B 166:7               A/b 174:14,19
       30 100:2 111:6,8 119:7,8     51 82:13,15 83:15 84:1,2   abandon 150:10
        130:21,22 131:4              85:17 129:17,20           abandoned 150:9
       31 114:11 118:9,10 119:5,                               ability 106:17
        8 137:10,12,13                            6
                                                               absolutely 99:2
       31st 161:9
                                    6 40:4 53:8,10 57:16,18    accelerate 120:9
       32 144:8,10,12                114:6,8,9,10,13,15
                                     168:21                    acceleration 120:10
       33 156:19,20,22 160:7,8
                                    600,000 100:3              accept 91:25 92:2,4,20
       34 34:11,15 160:7 163:9,
        11                                                     accepted 126:4
                                                  7            access 102:12 103:1,3,4,
       341 170:9,15
                                                                5,12,13 105:1 106:2
       35 119:6 172:25 174:11,12    7 54:23 108:21,22 109:5     108:2
       3:02 159:25                  75 65:25 66:4              accordance 8:12 160:4
       3:22 159:25                  77381 8:6                  account 84:8 88:12 89:1,3
       3:51 181:18                  77386 21:3                  108:3
                                    77388 166:7                accountant 101:21
                      4                                         126:10 139:24,25 143:2
                                                                144:18
                                                  8
       4 39:19,23 40:8,19 41:7,25
                                                               accounting 24:1
        68:23 69:5 119:13,17,18
                                    8 169:24                   ACH 98:4 99:3
        160:9
                                    845 158:6 162:25 169:2     acknowledged 177:1
       4:02 181:18
                                    847 33:16 74:23 98:17      acquire 130:10 131:11
       4:03 182:13
                                     158:6,24 162:25 169:1
       4th 182:2,3                   176:1 178:2               acquired 130:1
                                    88 11:20                   act 58:7 106:17
                      5
                                                               action 44:24 122:4,7
                                                  9             138:3
       5 40:3,8,20 41:10,12,13
        42:1,2 51:4 69:6 112:4                                 active 32:17
                                    9 43:3 170:13 175:24
        113:20 114:24 162:23                                   actual 98:10 106:8
        176:1,20                    900 109:24
                                                               ad 160:20 161:8,10,18,25
       50 8:6 13:22 14:25 15:4      903.79 176:8,20             162:10
        30:17 83:13 109:16          92 12:9                    added 45:3
       500 87:11 99:23              992,000 176:6              addendum 52:24 53:3
       500,000 84:22 87:9,10,12,                                57:16 114:4,8,20,23
        16,18,19,25 88:14                         A             117:17,25 118:10
       500- 100:3                                              adding 178:23
                                    a.m. 71:3
       5037 166:20                                             additional 104:2


      888-893-3767                                                 TRUSTEE1960-051973
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 51 of 76
TRUSTEE1960-051974                       Huong Le Nguyen                 s Index: address..asset
       address 109:19 110:16        171:19,23 172:7,10          Amy 38:7 80:15
        160:15 166:6               agrees 68:18                 and/or 28:20
       administration 96:12        ahead 35:21 72:5 80:7        Ann 51:16
       administrative 23:25        ail 90:24                    Annie 16:7,9,21 17:5
        25:13 97:19                                              51:17 53:20 57:1,5,19
                                   Alex 14:14,15,16,22,25
       administrator 75:15                                       58:12 65:16 66:10 116:22
                                    15:3,10,24 16:5 17:3 42:2
                                                                 172:4 173:10
       admit 88:5                   48:10 51:14 57:1 65:17,
                                    18 66:10 78:24 96:16        anniversary 11:20
       admonishments 5:11,14
                                    172:3                       answering 41:4
       adversary 116:5
                                   allegation 115:2             answers 19:7,20
       advice 35:5,6
                                   alleged 131:13,15,24         antibiotics 41:6
       affect 89:18,20
                                   allergies 49:14              anymore 76:12 150:7
       Affiliate 93:12
                                   allergists 24:17,22 25:5      156:6
       afterward 133:15
                                   allergy 23:6,15,17,22        AOT 88:15
       agent 122:18 170:7           24:2,3,6,16,17,21,22,24     APA 71:7 84:25 131:18
       agree 5:19 69:4,9,14,19      25:5,7,12 88:16,18,20
                                    102:15 108:16 137:23,24,    apologies 119:1
        70:10 89:12 106:18
        123:2,16 128:23 142:9       25 138:2,12,18 139:3        appears 64:9 72:24 74:22
        153:8                      Alliance 78:24 79:5,13        144:15 179:12
       agreed 169:4                 98:7,13,23 175:9,12         apply 32:13 133:18
                                    177:13,14,17,21,24 178:7
       agreement 5:23,25 6:5,7,                                 appraisal 99:12
        12 35:24 42:7,11 44:7      allowed 113:18 153:9,20,
                                    21                          approximately 11:7 52:4
        46:20 47:19,24 53:22                                     89:5 161:4
        59:5,6,20 60:25 61:4,9,    ALT 88:15
        12,15,17 62:24 64:17                                    April 11:19 63:18
                                   amazingly 128:25
        70:7,14,15,17,18 71:8,9                                 AR 84:8,21
        72:21 74:3,4,22 75:1,5     Amended 111:10 131:4
        82:11,22 83:25 84:5                                     area 140:21
                                   amendment 113:24
        86:10 90:7 91:24 92:3,15                                ARS 86:8 87:6,7
        95:16 97:23 98:4 99:3      amendments 52:13 54:11
                                    112:24 113:13 117:19        Article 62:21
        102:12 103:2 105:22,24
        106:3 107:22 108:17        America 72:25                Arts 9:21
        117:12,18 118:13 121:12                                 Askdrle@
        126:25 130:25 133:10       amount 16:14 79:25
                                    101:11 131:13,14,15,21,     1960familypractice
        137:1 145:17 152:6                                       157:21
        158:9,10,14,22 160:4        24 132:4,5 175:6 176:4
        169:25 171:21               177:12 178:6 179:7,11       Askdrle@1960fp.net
                                    181:5,6                      165:1
       agreements 34:18,25
        39:6 46:13 47:9,14 52:17   amounts 67:13,21 89:8        asks 55:13
        59:11,14 67:13,20 71:16     90:1 120:23 121:15 174:8
                                                                assessments 140:22,25
        89:9 90:2 157:6,8,10        177:1 178:15 179:15,18,
                                    21                          asset 25:9 60:25 61:19
        158:5,11,13 168:21


      888-893-3767                                                  TRUSTEE1960-051974
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 52 of 76
TRUSTEE1960-051975                        Huong Le Nguyen                      s Index: assets..bill
         62:9 64:17 69:22 71:8,9    assumption 62:21 178:24       11:5,9 12:13 14:6 16:11,
         82:22 83:5,7,13,14,19,22    179:10                       12 62:4,10 97:19 99:20
         84:4,24 85:17 86:10                                      101:17 102:6 140:11
                                    attached 8:23
         99:19 105:25 121:12                                      164:22 166:15,24 181:1,2
         129:20 130:25 145:16       attaching 98:25
                                                                 back-end 135:13
         153:15,24 154:22           attachment 98:25
                                                                 background 9:4 75:14,18
       assets 22:10,20 24:7         attempt 143:19
        48:25 61:24 62:20 63:15                                  bank 47:2,3 58:19,21,23
        64:6,9,10,13,14 65:2,21     attempts 125:20               59:5 100:14
        66:1,14 69:15 73:7 74:9     attend 9:24                  bankruptcy 15:22,24
        79:23 81:18,21 82:12                                      16:19,21,25 17:8,11 20:7,
                                    attention 164:11
        84:1,4,6 86:7 99:13,16                                    8 59:23 60:1,12,15 85:21
        103:6 107:19 129:8,11,      attorney 5:8 61:9 111:15,     88:8,9 119:25 135:16
        16,17 130:1,11 131:12        17 113:7 118:2 171:9         139:10 160:25 161:2,3,4,
        153:12,21 156:9 170:8       attorney's 137:19             12 162:9 173:3,9,19
       assign 35:24 36:12,23,25                                   174:4,6 175:3,17 177:5
                                    attorneys' 180:1,17
        37:4 38:12 69:16 93:10,                                  banks 100:10
        23,25                       August 76:6,16,22 88:3,4
                                                                 base 121:22 142:11,20,22
       assignable 93:17             authority 85:25
                                                                 based 35:4 65:25 82:21
       assigned 87:6 90:22 91:4     authorized 170:6
                                                                  145:20
        123:10 181:3,4              aware 17:10 35:10,11
                                                                 basically 52:7 54:14,16
       assigning 64:18               48:12 56:23 81:7,20
                                                                  55:4 56:12 62:23 71:15
                                     107:8 111:12,13,22
       assignment 38:3 63:10                                      100:5 104:1 106:5 145:16
                                     115:10,16 123:21 128:16
        65:3,6 89:14 91:16 93:6,8                                 156:25 157:3 163:24
                                     146:5 152:21 157:14
        94:1 149:18 152:8            169:18,20                   basis 101:10 149:20
       assignments 52:14 54:11                                    169:25
        112:24 113:14                             B              Baylor 9:25 10:1,12,20
       assistant 94:7                                            bear 135:17
                                    B1 33:8
       Associates 29:18 60:2                                     beds 31:7
        84:16,17 85:2,4 86:23       B2 32:23 33:8,9,10 34:13,
        94:11,14,19 95:4,7,9,13,     19 35:19,21,24 41:19,22     begin 6:8
        20,22 96:12,19,22,25         60:4 63:21 67:14,20 68:9,   beginning 50:5 67:8
        97:1,2,5 102:17 105:16,      15 69:4 80:3,7,10,15,18
                                     81:11,25                    behalf 34:9 106:17
        20,21 106:4,13,15,17
        107:7 147:13,25 148:7       B3 32:25 33:9,10,17,18       belong 65:9
        154:3                        34:5,15,20 35:19,25         belonged 88:19 105:6,7
       Associates' 106:23            41:19,23 60:4 63:21
                                                                 belongs 84:15 85:19,24
                                     67:14,20 68:9,15 69:4
       association 97:10 154:12                                   107:6
                                     80:3,7,11,15,20 81:25
       assume 90:7,9,10 92:14                                    benefit 93:5,8,25 147:8
                                    B4 39:21
        133:5,9                                                  bickering 96:20
                                    Bachelor 9:21
       assumed 90:24                                             bill 138:6,7,22 139:1
                                    back 8:23 9:4,5 10:17


      888-893-3767                                                   TRUSTEE1960-051975
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 53 of 76
TRUSTEE1960-051976                        Huong Le Nguyen                   s Index: billing..chairs
       billing 23:25 25:10,13        8,11,18,23,24 50:19,20
        76:12 154:13                 59:15,18,20,22,25 60:3,7,                 C
                                     11,15 64:4 74:23 77:13,
       billing/collection 88:21
                                     14,15,18,19,22 78:4,6,20,   call 6:20 29:7 32:12
        89:1
                                     22,23 79:3,12,17 80:13       101:24
       bills 139:5 143:18            91:9,10 96:7 97:23 98:8,    called 136:19 143:2
       bind 136:13                   9,11,15,16,24 99:7,8         174:13
                                     104:19 107:16,17,21
       binding 52:9 112:20           108:1,5 109:1 110:5,16      calling 143:3
       bit 9:4 25:7                  115:4,12 122:13 123:7,17    Calls 83:2
                                     124:2,5,11,17,18 126:15,
       boarded 11:2 12:1                                         CAM 142:1,2,9,15,16,17
                                     22 134:13 135:20,21,22
       books 88:6                                                 143:1 160:18 179:19
                                     140:12,18 141:17 145:23
       born 9:9                      148:6,8 154:1,2,5,7,10,     cap 112:3 114:23
                                     21,22,25 155:10,13,15,      capable 126:3
       borrow 178:10                 17,21 156:10 159:2
       boss 145:2,8                  162:22 166:4,13,19,25       capacity 38:11 156:25
                                     167:8,9 175:10,11 176:2      157:1 170:6
       bottle 40:17
                                     177:22,24 178:3,10,20       capped 113:19
       bottom 179:24                 179:4,5,6,12,13
                                                                 car 125:10,11
       bought 16:4,5,12 24:19       buildings 34:22 49:21,22
        25:9 28:2 56:16 83:5,7       56:17 59:12 63:3,20         card 125:8,9
        84:9 115:3 117:15            64:14 66:22 67:7 72:3       care 72:24 76:4 90:15
        126:15,18,22 140:18          73:1,21 74:10 77:9,10,12,    150:1 169:15
        153:14 154:22                16 98:18 99:8 123:15
                                                                 Cartwright 157:20
       breach 54:21                  139:12 145:23 154:14
                                     155:4,6 159:4 162:16,18     case 36:15 38:16 80:3
       breached 118:10               165:21 177:18,23 178:4       111:11,14
       break 6:1,2,5 70:24 71:4,6   built 105:3,5                cash 92:9 99:23
        159:22 160:1 181:15
                                    bulk 94:5                    cashed 92:6
       briefly 27:24 29:7
                                    burden 135:17                cease 26:10 27:25 96:6
       bring 160:3                                                104:7
                                    business 29:19,21 86:20
       Broadstone 34:19,20           108:16 122:25 157:22        ceased 73:4
        59:18,19 73:16 74:2
                                    businesses 23:3              Center 22:11 158:23
        77:21 114:18,20,21,25
        115:6,9,12,13,22 127:3,     buy 12:14,17 13:2 14:6,16    central 108:4,5
        25 128:6 175:13 180:5,18     15:16 16:10 61:19 62:9      CEO 31:11,12
       broke 71:12 169:22            83:13,15,22 84:2,12 85:1,
                                     2,17 99:19 115:12 126:17    certificate 50:24,25 54:10,
       broken 125:24                 153:15                       17 56:8 57:1,6,11 115:18
                                                                  126:25
       Brookstone 180:1             buyer 56:15 64:24 65:1
                                     68:18 116:11                certificates 115:3 157:9
       brown 109:12,13 154:7
                                    buyers 64:23                 chair 84:25 85:15 95:10
       building 33:15 34:2,5
        37:18 40:1,4 48:22 49:1,    buying 56:19 61:24 83:12     chairs 154:23


      888-893-3767                                                   TRUSTEE1960-051976
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 54 of 76
TRUSTEE1960-051977                       Huong Le Nguyen              s Index: chance..contract
       chance 71:5 111:16          clients 63:7 89:20,21       computers 84:21 103:9
                                    138:16 177:19               107:15 157:18
       change 13:7,9 24:18
        69:24 82:14 83:17 118:23   clinic 74:5                 concerned 144:1
        183:3                      clips 33:24                 conclusion 83:2
       changed 21:25 22:2 24:20    close 11:22 181:16          conclusions 122:1
        164:12 168:13
                                   closed 26:12,13             concurrently 44:7
       charge 28:10,11
                                   closing 87:8                condition 45:11 56:19
       charges 104:2 142:13                                     72:7
        143:11                     clue 47:18
                                                               conditioned 36:17
       charging 97:12              collect 87:8 142:20
                                    143:20                     conditions 35:1 55:7
       check 81:11 92:6 149:15,
        16 151:15,19,23,24         collected 89:5 142:22       conference 49:6
        152:3,4 172:21             collection 24:1 88:25       confused 113:15 177:20
       checked 165:15              collections 25:10           Conroe 10:15
       checks 91:22 92:10          college 9:15,25 10:1,12     consent 35:25 36:16,23
        139:19 152:24                                           37:9,11,14,17 38:6,14
                                   commitments 52:18
       children 6:25 7:7 23:3                                   66:16 69:14 71:18 72:4,8
                                   common 125:1,3,7,11          73:16,24 90:10 114:21
       Chinese 44:9 54:24           136:2,3 140:21              156:9
       choose 26:7 134:12          communication 140:10        consents 152:18
       Chundru 168:3,8              149:9 159:11 167:21
                                                               considered 141:2
                                    168:2,12,18,19
       circle 156:3                                            constitutes 52:9 112:20
                                   communications 140:7
       circles 156:5                157:19 159:9 163:3         Consultant 72:23
       cited 160:15                 167:20 168:1,10,15         Consultants 72:25
       claim 118:2                 community 124:4             contact 66:15 72:4 74:2
       claiming 175:20             company 16:10,12 17:21,     contained 142:13
                                    22,25 19:23 24:22 31:18
       clarification 119:4
                                    45:24 58:20,24 77:5 85:7   continue 49:17 70:12,19
       clear 6:9 35:20 73:23        99:25 108:13 125:9 145:4    76:13 83:18 85:25 88:22
        131:19                      153:15 180:16               90:13,15 96:13
       client 49:25 63:3 89:8      company/staffing 23:23      continued 68:12 69:23
        90:1 91:22,25 92:4,6
                                   Complete 103:3,5            continues 36:18 43:22
        111:22 112:1,5 113:18                                   44:5 52:13 178:18
        115:3,10 116:10,14         completed 10:11
        117:18,24 122:9 124:21,                                continuing 43:2
                                   comply 121:19
        22 126:15,18,22 137:22                                 continuously 30:5
        138:13 148:13,16,17,21     comprised 77:12
        153:8 160:12 177:22                                    contract 86:12,13,17,19
                                   compromise 171:20            87:3 93:16 94:12 95:8,17,
       client's 92:9 98:18 116:4   computer 83:21 84:7 86:8     19,21 96:4 108:6 119:20
        152:13 178:3                87:14 104:17 106:9 107:4


      888-893-3767                                                 TRUSTEE1960-051977
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 55 of 76
TRUSTEE1960-051978                       Huong Le Nguyen             s Index: contractor..database
       contractor 17:17,19,20        104:3 107:16,20 108:7,       125:23 135:8 148:21
        20:22 21:19,23,24,25         14,15 109:16,17 110:3,8,     161:1,2,12 175:3
        32:12                        16,17 113:22 115:4,11,      courtesy 32:17 164:9
                                     18,20,23 116:3,8,9,12,15,
       contractors 19:2 32:10
                                     21,22,24 117:3,4,6,9,10,    covenants 56:20
       contracts 85:6,8 86:15        20,21,23,25 118:4,17        cover 18:25
        94:9 95:5                    119:22 120:5,11,16,19
                                     121:15 123:10 125:13        COVID 11:6,9,10 22:9,17
       controlled 160:14 168:24
                                     128:17,25 129:2,8 130:4,     25:3
       conversation 136:10           7,11 131:23 132:11,13       CPA 127:11,12 145:4
        162:12,14 165:18             133:16,24 134:1,10,11,14     161:20 178:12
       conversations 127:24          137:17,18,20,21 138:4,9
                                                                 create 25:12
        128:8                        140:18 141:3,10,19,23,24
                                     142:23 143:22 144:16,17,    created 24:16 25:5
       conveyed 82:17
                                     21,22 145:8,9,14,15,17,     credit 125:8,9 132:6,11,15
       COO 31:11,12                  18 146:3,8,9,18,21,25        133:15,18 134:13,14
       Coo@                          147:11,17,18,20,21,23        135:3,11,23 148:23 149:1
       medicalcareoftexas.com.       149:16 150:9 151:4,7,8,
                                     21,22 152:6,7,9,10 153:2,   credited 131:14,23 134:3
        157:24
                                     9,12,25 154:1 155:6,22       135:4
       copied 74:14                  156:15 157:2 159:5,8,17     crediting 134:15
       copies 8:14 33:5              161:5,6 164:12 165:7,8,
                                                                 Creek 74:23 98:17 158:6
                                     10,22 167:18,22 168:17
       copy 8:13 34:11 75:5                                       162:25 169:2 176:2 178:2
                                     171:5,6 172:5,6 174:4,5,
        108:20 109:6 111:4
                                     8,9,20,21,22,23,25 175:1,   Crest 8:6 109:16
        163:13
                                     3,4 177:2,8,9,10 178:4,5,   crisis 100:8
       corporate 32:8                16 179:1,6,9,13,16,17,19,
                                     20,22,23 180:2,3,11,23      Cross-action 131:5
       correct 5:17 11:17 14:11
        15:7 17:1,3,4,5,6 23:14      181:5,12,14                 Cross-claim 111:11
        24:23 25:16 28:21 29:11,    CORRECTIONS 183:1            crossover 171:7,12
        12,25 30:23 34:12,13,14,
                                    correctly 36:20 127:17       current 70:15 79:2,4 80:9
        16,17,20,21 36:18,23
                                     164:13                       124:20 129:25 131:10
        37:9,14 46:1,2 47:9,12
        49:19 52:4,15,16 55:15,     correspondence 157:6,13      CVS 26:2
        22 56:17 57:24 60:18         158:3,4,22 159:9 162:23
                                                                 Cypress 74:23 77:15
        64:6,7,12,14,15 65:1,4,13    167:17
                                                                  79:16,22 98:16,17 158:6
        66:2,4,11,23 70:4,5 71:13   cost 97:19 103:23             162:25 169:2 176:1 178:2
        72:13 73:1,25 74:6 75:7
                                    counsel 8:24 160:5            180:1,18,20 181:1
        76:24 77:1,2 79:14,15
        80:6 81:4,8,14 82:4,23       163:12
        85:13,22 88:17 89:13,16,    counterclaim 111:22                         D
        18,22,24 90:11,17,22,23      118:18,20,22 131:5
        91:5,6,15,17,19 92:16,17,                                damages 48:17
                                    Counterclaims 111:10
        21 93:3 94:18 95:14                                      data 106:25
        96:17,24 97:21 98:10,18,    County 10:15
        19 99:5 100:6,7 102:18,                                  database 106:10
                                    court 5:16 6:9 13:14 45:3
        19,20,21,22 103:10,24,25


      888-893-3767                                                   TRUSTEE1960-051978
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 56 of 76
TRUSTEE1960-051979                       Huong Le Nguyen            s Index: date..double-dipping
       date 8:14 15:13,15 18:25     58:22 68:9,13 76:20,21,     directing 98:12
        26:22 46:5,8 50:2 51:20     23 77:4 81:20,23 82:3,10,   directly 90:4 139:17
        61:4 110:13 114:9,16        23 108:18 125:9              142:15,16 150:1 151:20
        121:5,7,9 154:18 176:7,    defaulted 48:5 58:19,20
        10 183:2                                                director 20:23,25 21:4,6,
                                    76:19                        14 22:13,18
       dated 39:19 118:7 145:13    defaulting 76:15
        163:4                                                   disable 104:1
                                   defaults 47:4
       dates 10:18 182:2                                        discover 146:10
                                   defendant 7:1 158:23
       daughter 27:24 28:4,7                                    discuss 42:20,21 43:12,
        29:3,4,5,11                defendants 6:23               18 48:14 55:7
       daughter's 7:13             defenses 42:17               discussed 45:21 55:14
                                                                 57:15
       David 62:7,8,11,13,16       degree 9:19
        93:19 99:17,22 129:5,6,                                 discussing 57:10 64:17
                                   delayed 36:17
        14 168:14                                                71:12,15,21
                                   delivered 110:23
       day 18:25 20:6 70:1 72:21                                discussion 7:17 57:4
        82:15 181:24               demand 42:15                  73:13 74:15 129:21
                                   demands 42:16                 145:21
       day-to-day 28:22
                                   depo 181:24                  distribution 101:2
       days 100:2
                                   deposition 5:12 9:6 40:23    dive 108:4
       deal 89:17 170:24
                                    134:10 182:13               dividend 101:3
       dealing 129:4 170:7
                                   describes 56:12              doctor 7:22 8:1,3 10:22
       debate 99:20
                                   describing 85:8 132:24        12:24 122:24 124:19
       debt 58:25 87:21,22,23                                    139:15 168:3,9 169:12,17
        89:22                      desk 94:7
                                                                doctors 10:24 12:5,12
       December 26:11 132:19       Detail 174:15,25              27:10 32:3,6,7,10,13,15
        133:10 145:13 146:3,11,    difference 33:25              61:2 94:10 97:14 148:7
        19 161:5 165:9,19 177:12                                 173:17
                                   difficult 67:25 106:12
        178:2
                                    167:11                      document 8:16 41:8
       decide 63:14                                              53:14 70:17 72:16 75:3
                                   difficulty 76:14
                                                                 130:17 132:24
       deciding 99:15
                                   Digital 102:20
                                                                documents 8:24 9:1
       decision 65:24 173:12
                                   diligence 115:13              33:11 34:9 40:10 41:1,16
       declaration 118:23                                        52:1 55:8 71:5,10 76:7
                                   diligent 123:14
        119:19                                                   160:3 168:23 171:1
                                   dime 136:15
       declarations 119:14                                      dollars 89:7,25
        148:11                     dire 100:16
                                                                door 49:9,15
       declared 174:7              direct 82:13,16 98:21
                                    140:7,10 150:5 151:19       doors 145:22 165:20
       decreased 76:12
                                    152:3,15                    double-dipping 132:6
       defamation 96:20                                          134:16
                                   directed 75:10
       default 42:16 54:21 55:17


      888-893-3767                                                  TRUSTEE1960-051979
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 57 of 76
TRUSTEE1960-051980                       Huong Le Nguyen             s Index: doxycycline..existing
       doxycycline 41:6             employ 24:25                 estoppel 50:24,25 51:1
                                                                  54:10,13,14,17 56:7,10,
       draft 93:20 141:17           employed 17:16 20:2
                                                                  14,25 57:6,10 115:2,18
                                     31:15 95:8 107:7 108:13
       drafted 75:3,9,10                                          126:24 157:9
                                    employee 21:20 25:8
       draw 121:25                                               event 54:21 76:9 82:10
                                     76:14 88:21 146:16
       drive 8:6 109:16 125:10                                   events 81:20 82:3
                                    employees 31:13 94:5
       Drs 173:10                    146:7,12                    everybody's 42:4
       duces 8:23 9:1 74:20         employer 18:17               evidence 40:9 132:23
        160:2                                                     158:11
                                    employment 95:16,17,19,
       due 67:13 77:22 79:12         21 96:4                     exact 15:15 26:22 50:2
        89:8 115:13 120:23                                        79:25
                                    empty 124:2,5 125:10,12
        121:18 131:15,24 132:3,4
                                                                 EXAMINATION 5:3
        161:8,9,21 174:8 177:2      end 10:16 26:11 94:6
                                     120:13 134:14               excess 97:12
       DULY 5:2
                                    ended 46:8 96:15 120:15      exchange 163:14
       duration 129:13
                                    ending 179:22                excuse 31:12
                      E             ends 45:22 46:1,5 120:13     execute 114:20
                                    enforce 59:6,19 143:8        executed 52:8 112:19
       earlier 8:14 29:10,24
        65:14 130:6 173:8           enforcement 45:11            execution 118:9
       early 8:25 160:5             engagement 136:25            exhausting 43:24
       educational 75:14,17         ensure 149:7,19 151:14       exhibit 8:10,12 35:17
                                                                  39:23 40:3,4 41:7,13,19,
       effect 52:9 59:22 112:20     enter 82:11 83:24 94:9
                                                                  25 50:9 51:21 53:10
        169:4                       entered 35:9,23 57:23         54:23 57:16,18 60:21,24
       effective 104:9               63:7 72:5 74:5 120:14        71:12 72:13,15,20 73:10,
                                     123:3 171:21                 12,14 74:13,16,17 75:6
       election 66:14
                                    entering 82:21                76:2 80:8,9,12,13,18
       Ellent 62:8,11,13,16 93:19                                 82:22 93:5 97:23 98:4,6
        99:18,22 129:5,6,14         entirety 118:21               102:9,11 109:3,5 111:6,8
        168:14                      entitled 132:10 133:15        112:5,12 113:25 114:8,
       else's 107:11                                              10,13,15 130:20,24 131:4
                                    entity 31:14 83:8,10,16,18
                                                                  137:10,12 141:13 144:8,
       email 18:22,23 145:10         85:4 102:15 160:10,14
                                                                  10,11 156:22 160:6,7
        157:22 162:7 163:8,21,       162:24 168:23
                                                                  163:9,11 174:11,12,13,19
        22,24 164:8,25 165:15       equipment 104:18 153:14
        167:16                                                   exhibits 40:8,19 50:7,17,
                                     155:3
                                                                  22 60:4 80:15 108:19
       emailed 163:21               equity 82:13
                                                                 exist 26:10
       emails 164:10,21             error 98:19 99:1,10
                                                                 existence 24:6 26:8 82:15
       emergency 17:21,22           essence 103:8                 95:24
        18:21 20:22,23,25 21:1,5,
        15 22:14                    estate 177:11 178:1          existing 54:22



      888-893-3767                                                   TRUSTEE1960-051980
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 58 of 76
TRUSTEE1960-051981                        Huong Le Nguyen                     s Index: expenses..firm
       expenses 76:13 77:5           119:1,8,11 120:20 121:1,     159:19 162:18,19 168:20,
        100:3,6 160:11,17            3,23,25 122:5,10 124:24      24 169:9 170:7,8 172:18
                                     125:17 129:10 130:5,8,       173:2,9,18 174:3 177:18
       expire 60:7 63:25
                                     12,16,24 131:2 132:20,23    fault 152:13
       expired 60:17                 133:4 136:25 138:9,16
                                     139:21 141:4,11,20 142:4    fee 176:1,20
       explain 116:4,6
                                     144:11 149:3 153:10         fees 137:20,25 138:5
       expound 126:2                 159:22 163:17 170:17         179:25 180:1,18
       Express 25:23 26:25 27:3,     177:3,6 180:13,15
                                     181:17,22 182:4,10          fellowships 10:9
        6,12,15,21 28:5,20
        158:16                      family 10:8 11:1,2 12:10,    felt 96:21 122:21
       extent 58:9                   11,15,18,23,25 13:1,4,11,   figure 171:10
                                     19,24 14:10,22,25 15:4,7,
       extra 111:4 163:13                                        file 17:10 58:10 79:7,9
                                     11,23 16:20,22,24 17:8,
                                                                   84:15 85:1 94:23 107:6
       eye 73:17,19 74:1,5           11 20:2,5 21:11 22:11
                                                                   119:5 161:2 173:2
        139:15 168:2,9 169:12        24:4,7,12,15,17,19 25:9,
                                     12,20,25 26:4,5 27:11,15,   filed 16:25 20:7,8 59:23
                      F              17,20 28:3 34:9,23 36:9       60:1,12,15 78:5 111:11,
                                     49:20 51:9 53:18 56:22        14,21 120:8 161:4 174:6
       face 39:12                    57:15,25 59:11,23 60:1,       175:2 177:5 180:22 181:1
                                     10,15 61:2,19 63:15 65:9,   files 84:12,14
       facility 49:20 95:10          15,22 66:6,11,20 67:6,16,
       fact 117:8                    18 68:12 69:5,21 70:13      filing 88:8,9 111:21
                                     71:17,25 72:22 73:1,4,7,    filled 26:6 27:12 181:13
       facts 68:6 121:21
                                     17,23 74:9 75:2 76:15,25
       failed 67:18                                              fills 26:1
                                     77:13 78:16,17 79:1,8,22
       failure 121:19                81:18 83:5,18 84:5,9,21     financial 48:2 59:5
                                     85:4,12,14,19 86:1,9,19,      126:11,12,16,21 127:2,4,
       fair 55:2 78:18 97:20         21,24,25 87:15,17 88:7,       7,15,16,25 128:9,15,20,
       FALCON 7:16 8:18,20           11,19,25 89:4,21 90:13        22,24
        19:4,13 20:10,13,16,20       91:6,21 92:24 93:2 94:6,    financials 127:5,6,9,14,
        24:9 29:14 31:20 32:20,      10 95:5,9,25 96:14,24         18,22 128:6,7,22
        23,25 33:4,9,21 35:2,12,     97:2,5,8,9,11,12,18 99:4,
        17,20 36:2 37:3,15,19        16,19 100:16,21,23 101:5    find 18:20 122:11 124:3,5
        38:20 39:17,19,22,25         102:16,17 103:6,9 105:7,      133:22,24 134:12
        40:3,6,14 42:5 43:10,14,     8,24 106:12,24 109:23       finding 167:10
        19 44:25 45:6,18,20          117:2,12,14 121:10 123:8
                                                                 fine 35:14 47:22 53:13
        46:10 49:2,4 50:6,12,14,     127:7,15,25 128:9,24
                                                                   113:8 134:8 136:17
        19,21 51:22 52:25 53:3,6,    130:1,11 131:11 132:13
        8,24 55:10,12,18,23          134:21 135:21 139:9         finish 6:8 126:1 134:5
        58:13 59:8 60:20,22          140:4 141:21,22 142:17        181:20 182:9,11
        63:16 66:17,24 67:1,4,10,    143:23 146:20,23 147:10,    finished 10:20,21 11:22
        15,22,24 70:24 72:14         12,14,24 148:6 149:18         30:4 66:25 181:16
        80:8,12,16,19,21 82:24       150:6,8,15,18,20 151:6,9,
        83:2 86:16 89:19 91:1        11 152:16,24 153:1,11,      firewall 108:3
        97:25 108:22,25 114:6,       13,23 154:3,8,9,12,22       firm 138:17
        10,12,15 118:15,22           155:9 156:7,12 157:1


      888-893-3767                                                   TRUSTEE1960-051981
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 59 of 76
TRUSTEE1960-051982                        Huong Le Nguyen              s Index: five-minute..hand
       five-minute 181:15           full 6:14 52:8 112:20       guarantee 41:17,22 47:25
                                                                 120:21 145:24
       fixture 84:11 87:14          furniture 83:7,14,20
                                     84:10,25 85:5,9 87:13      guaranteed 41:18 58:25
       fixtures 85:15
                                     154:23 155:3                121:14
       flash 125:11
                                    future 178:19 179:6         guaranties 39:16 41:21
       flowed 154:18                                             43:25 46:25 57:19 69:5
       flowing 100:2                              G             guarantor 43:23 44:6,23
       FM 33:16 98:11 166:7                                      50:24 51:10 53:20 54:10,
                                    gas 125:11,12                17 56:13,21 57:5,10,19
       FMFP 34:19,20                                             67:18 68:10 77:17,19
                                    gave 5:15 11:15 35:5
       follow 67:25 77:25            132:22 141:6 156:24         78:17 79:17 89:22 91:21
                                                                 112:3 114:22,23 120:6,
       force 52:8 112:20            gee 165:19                   13,19,25 121:14,18
       forceable 52:9 112:21        general 156:24               123:13,19 124:13,14,16
       form 19:4,13 20:10,13,20                                  127:1,19,22 134:15
                                    generally 42:17
        24:9 29:14 31:20 35:2,12                                 135:18,24 143:21 144:2
        36:2 37:3,15,19 42:5        generate 97:4                146:24 147:3 156:14
        43:10 44:25 45:6,18         generating 97:2              159:14 162:19
        46:10 49:2,4 53:24 58:13                                Guarantor's 43:3
                                    Genesis 62:8,16 93:20
        59:8 63:16 66:24 67:4,10,
                                     99:18,22 169:14,15,18,21   guarantors 6:23 41:25
        15,22 82:24 89:19 91:1
                                    give 5:15,22 33:5 38:7       42:15 43:5 44:6 45:3 48:6
        120:20 121:1,23 122:10
                                     81:16 99:22 106:24          51:12 52:8,10,19 67:21
        124:24 125:17 129:10
                                     108:20 109:6 113:8 114:1    79:9 92:5 112:19,21
        130:5,8,12,15 132:20
                                     122:20 124:10 163:13        171:24
        133:1,4 139:21 141:4,11,
        20 142:4 149:3,12 153:10    giving 116:13,15            guaranty 41:9,20 42:4
        177:3,6 180:13                                           43:24 44:14,20 45:12
                                    glad 122:23                  46:13,20 47:18,23 52:8,
       format 170:21
                                    glanced 39:10                14,19 53:3 54:12 59:4,6,
       forward 146:8                                             10,14,19 78:19 112:9,19,
                                    God 72:11 123:25             25 113:14,19 114:5,9,21
       forwarded 145:20 170:22
                                    good 40:16 86:2 101:11       118:10,11,12,23 123:16
       Foundation 10:15              108:7 122:17                124:17 136:14 162:6
       Foxhall 12:17                                             169:25 171:20 172:13
                                    governs 130:18
       FP 132:12,13                                             guarantying 48:2
                                    graduate 9:17 10:3,19
       frame 101:14 121:8,14                                    guess 58:18 106:11
                                    graduated 10:4
         133:3,20,21 135:5                                      guys 121:10
                                    grandkids 29:16
       Freeman 28:13
                                    Great 164:8
       Freeway 109:24                                                         H
                                    greed 122:21,22 124:25
       front 33:3 39:11 94:7                                    H-U-O-N-G 6:16
         99:23 132:25 141:6         greedy 122:21 133:25
                                    group 10:24 12:5,7,12       halfway 175:25
       fulfilled 153:5
                                     24:5 95:3 169:15           hand 34:1


      888-893-3767                                                  TRUSTEE1960-051982
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 60 of 76
TRUSTEE1960-051983                        Huong Le Nguyen              s Index: handle..information
       handle 19:19                  114:23                      hypothecated 82:17
       handwriting 34:2             hold 21:16 34:17 50:15
                                     72:10 93:9 98:6 114:7                      I
       happen 70:11
                                     135:8 144:23 145:3
       happened 15:19 94:1                                       ice 40:14
                                    holding 135:6,7
        105:7 108:10
                                                                 idea 47:20,23 123:7,18
                                    Holdings 5:6 49:25 56:14,
       hardship 127:3                                             169:21
                                     16 66:15 70:19 71:18
       heard 138:25                  81:16 129:15 138:10,13,     identified 50:1
       hearsay 136:19                19 140:17 142:10 145:12     identify 50:22 72:16 73:14
                                     176:4
       heart 122:24                                              Igo 21:8,9,11 25:11,15,17
                                    Holdings' 147:17
       Hedges 136:23 137:16                                      II 62:21
        138:2 139:1                 home 110:16,23 166:2
                                                                 iii 38:3
       held 57:9,10 94:13 95:5      honestly 48:23 123:23
                                                                 Imaging 102:20
       Hemant 144:25 145:20,21      hook 97:8
                                                                 inability 76:18
        163:25 164:3,5              hospital 10:23 30:8,14,22,
                                     25 31:3,5,7,9,13,16 32:4,   inactive 11:15 85:4,7
       hereunder 93:11
                                     7,8,16 61:2 102:22          include 62:1 63:3
       Hermann 94:24                 107:23,24,25 108:1
                                                                 including 29:3 93:12
       hey 122:19 124:1,2,11        hours 70:25 159:23            160:13 168:24 170:9
        162:8
                                    housed 107:21,23,25           179:25
       high 102:4
                                    Houston 21:1,15 30:8,15,     incorrect 178:8
       HIPAA 107:3                   22 31:1,10,13,16 32:4,16    increase 178:16
       hire 20:9,21 24:16 25:5       73:18,19 74:1 102:22
                                                                 incurred 97:18
        32:8 88:22 122:18 148:7      107:24 108:1 178:3
                                                                 indemnification 171:20
       hired 20:12,21 21:4 22:15    HR 94:8 99:25
        28:15 32:7 47:10,11                                      indemnify 171:24 172:8,
                                    hub 108:4,5
                                                                  10
       hiring 24:22                 huge 50:9
                                                                 independent 17:17,18,19
       hit 22:9 176:16              Huh-uh 125:22                 19:2 20:21 21:19,23,24,
       hits 11:9                    human 21:6 106:15             25 32:10,12
       HLEMD@HOTMAIL 165:1           124:25                      indicating 168:23
       Hlemd@hotmail.com.           hundred 14:10 30:22          indication 165:9
        158:1                        39:12 83:22
                                                                 indirect 82:13,16
       Hoang 16:7,9,21 17:5         Huong 5:1 6:16 42:2
                                                                 individual 68:9 156:25
        51:16,17 53:20 54:4 57:2,    93:13 183:2
                                                                  170:6
        5,19 58:12 65:16 66:10      husband 8:3 11:18 12:1,4
        78:19 112:3 114:23                                       individually 79:14 93:17
                                     18:7,10 19:6,9 20:8 22:22
        116:22 148:18 172:4                                       137:22 157:7
                                     27:5 29:20,25 30:2,6,20,
        173:10,18                    21 32:2 93:17               inform 129:7,15
       Hoang's 54:1 113:19                                       information 103:14


      888-893-3767                                                   TRUSTEE1960-051983
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 61 of 76
TRUSTEE1960-051984                       Huong Le Nguyen                 s Index: initial..lawsuits
         105:23 137:7               149:9 150:3 152:2,14         176:4,21 177:2 180:2,18,
                                    157:20 163:22                21
       initial 80:25 81:9,14
        134:14                     Jersey 110:1                 KME's 121:19
       Initially 49:12             joint 43:4,8 48:16 113:21    knee 181:25
       initiating 43:24            judge 47:17                  knew 64:25 72:7 73:24
                                                                 91:8 100:14 116:10 117:5
       inside 27:16 108:2          Julia 28:16
                                                                 127:2 143:10 162:6
       instance 55:11              July 63:17,18,21 64:16        180:11,23 181:7,11
                                    72:22
       institution 59:6                                         Kroger 29:9
                                   June 39:19 45:22,23 60:8
       instruction 125:23
                                    63:17,18,21,25 64:16
       insurance 86:15,17,18                                                  L
                                    67:3,8,9 80:4 81:6 120:22
        87:3 100:1 101:23,25        121:12 132:1,8,19
        102:1,6 160:23 161:7                                    L-E 6:16 13:16
                                    133:10,11 135:7 149:2
        162:17                      156:16 178:15 179:2         lack 64:11
       intent 120:9                 182:2                       lame 46:22
       interest 31:17 66:11        jury 47:18                   landlord 36:1,16,24 37:9
        82:14,16 102:4 160:11                                     43:23 44:22 45:9 48:5,9,
        180:1,17                                 K                18 50:2,4 52:18 54:22
       interested 99:19                                           56:4,14 59:15 70:7 71:18
                                   Kevin 168:12 169:16            72:4 73:24 74:2 78:5,22
       interests 30:12                                            79:13 85:9 90:4,14
                                   Khemka 144:25 163:25
       interpret 54:25                                            120:24 122:12,17 124:15
                                    164:3,5
                                                                  133:23 140:16,19 141:2,
       interview 29:1,4            kill 118:25                    7,9,18,23,25 143:24
       interviewed 28:19           Kim 109:12                     147:7,15,16 150:4
       introduced 50:3 140:16                                     151:16,19 152:23 156:8
                                   kind 34:2 52:14 54:12          160:12
        158:10                      76:4,17 78:9 93:19,20
       involuntarily 36:13 37:5     97:13 100:7 101:2 104:2     landlord's 37:14,17 38:5,
                                    108:4 112:25 113:14           13 72:8 90:10
       involved 19:12,17 28:22
                                    118:5 147:12 148:5          landlords 64:18 133:25
       issue 15:22 128:22 170:7     152:25 162:22 171:20
                                                                late 126:4,7 146:2,18
       issues 122:2 127:15         KME 5:6 49:25 56:14,16         147:5 176:1,20 179:25
         128:24                     66:15 69:9,14 70:6,8,10,
                                                                law 36:14 37:6 120:1,11
       items 77:3 105:6,7           18 71:18,24 81:16 90:20,
                                                                  180:25
                                    21 91:7 114:19 119:21
                                    120:8 121:18 126:4          lawsuit 45:4,17 77:24
                      J             128:9,19 129:7,15,24          78:1,3,5,9 79:8 119:24
                                    131:10,23 132:4 136:13        120:8 138:11,19 148:16,
       January 158:18 160:13        138:10,13,19 139:7,16,20      20 171:8,13,22,25 172:1,
        161:9 163:1 169:2           140:4,17 142:10 145:11        3 180:11,15,16,20,21,23,
       Jerry 45:23 50:1 63:24       146:11 147:17 148:22,24       25 181:7
        128:11,18 129:7 139:16      150:1,3 157:6,13,20         lawsuits 171:8 180:4,7,19
        140:8,10,19 145:11,20,22    159:15 172:1,16,19


      888-893-3767                                                  TRUSTEE1960-051984
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 62 of 76
TRUSTEE1960-051985                         Huong Le Nguyen                   s Index: lawyer..located
       lawyer 6:2 35:3,5,13 36:3      121:19 122:13 123:19          license 11:15 17:13
         37:22,24,25 38:16,17,18,     124:13,21,22 125:6            lieu 61:15
         21 39:1,2,3,7,13,14          128:13,14 131:13,16
         40:24,25 41:15 42:9,20,      132:5,8,17,18 133:9,19,       life 46:14 101:23,24
         22 43:13,17,18 44:10,11,     20 135:25 136:4,12              102:1,6
         12,16 47:5,21 54:25 55:5,    142:14 144:2 147:24           lights 84:10
         8,13,16,21,25 56:1,2         148:2,4 151:12 152:8
         61:15,16 62:14,17,18         153:8,13 157:8 159:13         limit 163:3
         74:19 75:12 95:3 126:3       168:19,22 172:13 178:25       limited 93:12 179:25
         137:8 138:15 143:2           179:10
                                                                    lines 55:16 72:12
         173:15,20                   leased 36:14 59:11
                                                                    list 84:24
       lawyer's 35:6                   147:19 153:13
                                                                    listed 84:25 116:10
       lawyers 46:23 47:6,7,13       leases 34:22 38:13,17
                                                                      138:13 141:6,18,23
                                       41:22 47:1 60:3 64:19
       layman's 41:15 70:2
                                       80:2,5 85:9 88:1 89:14       listen 38:18 55:25
       layperson 44:13                 90:25 117:22 159:15          listened 152:4
       Le 5:1,5,10 6:16,18,20,22       169:4 179:22
                                                                    listing 9:5
        7:18 8:11,15,22 11:4         leasing 59:12 123:23
        13:13,16,20,24 14:2,9,21,                                   live 8:7 165:23
                                     leave 13:24 15:10 93:24
        24 15:3 16:3,4,8,10,15,25                                   lives 29:13
                                       152:24
        19:11 32:18 40:22 42:2
        48:10,19 53:9,19 57:20       leaving 76:10 96:16            LLC 5:6 18:1,3,5,8,12,15
        58:12 71:4 79:1 93:13                                        19:3,24 20:11,19 21:16,
                                     left 12:22 14:2,9 15:20         17 22:8 23:6,7,8,12,16,
        109:5 111:7 112:2 113:17       60:14 80:1 96:19,22,23        17,22 24:3,6,21,24 26:25
        114:22 115:4 117:5,13          117:5 118:18 151:22           27:4,7,13,21 28:21 30:9,
        121:17 135:17 145:24
        156:23 160:1 164:15          legal 75:20 83:2 122:1          11,12,23 31:1,10,14,24
        165:12 183:2                                                 32:1,3 34:19,20 49:25
                                     lessee 129:25 131:11
                                                                     56:16 57:25 66:15 70:19
       Le's 116:17 118:11              134:13
                                                                     78:25 79:6,7,13 81:17
       lease 32:19 33:15 34:18       letter 56:14 124:15 126:25      95:4,13,22 129:15 137:5
         35:3,13,25 36:13,23,25      letters 109:8,14,19             138:23,25 176:5 180:18
         37:8 38:4,5 39:16 41:9,       110:13,18                    LLCS 19:9,12 22:23 139:4
         17,18,20 42:4 43:5,25
         44:7 45:24 46:24 48:1,3     Lewis 12:16                    LLLC 30:10
         52:24 54:22 55:17 57:18,    liabilities 62:21 69:4 90:6    LLP 177:13
         22,23 59:22 60:7,14           121:18 130:2,11
                                                                    loaded 135:13
         62:24 63:21,24 64:1 65:8,
                                     liability 42:4 43:3,9 45:16,
         10 67:8,13,19,20 68:17                                     loan 47:4 100:13 101:25
                                       22,25 46:5 48:16 90:4,12,
         69:17,21,22 70:17,18,19,                                    102:2,4
                                       13,14 92:14 99:24 113:20
         20 71:16 79:21 80:1,25                                     loaned 100:21 101:15
                                       114:24 118:12 122:8,9
         81:2,4,7 82:21,23 85:5
                                       131:12,18 159:18             loans 47:2,3 100:10
         89:9 90:2,8,9,11,22 91:5,
         6 95:10 110:3,5,7,15        liable 46:8 110:3,7 113:21     locate 166:12 170:2
         113:24 114:5,9 117:18         115:14 117:13 123:16
                                       135:5,6,7,8 179:12           located 18:19 21:2 27:16,
         119:21 120:10,13,14,21
                                                                     18,19 31:5 49:21 98:11


      888-893-3767                                                      TRUSTEE1960-051985
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 63 of 76
TRUSTEE1960-051986                       Huong Le Nguyen               s Index: location..meeting
         104:19 158:6,23 162:25     made 35:10 56:3,4,21         5 111:6 137:10,11 144:8,
         168:25 169:1                66:14 72:21 90:21 92:21     9 156:22 163:9 174:10,12
                                     107:22 115:10,21 125:21
       location 18:24 27:19                                     married 7:3,5,18,22,24
                                     127:9 137:16 149:1,20
        77:15 98:20 109:24                                       29:11,22,25 30:3,5,6
                                     161:18,21 169:24,25
        147:11 153:12 165:25
                                     170:1,5,9 171:23 172:7,    marry 11:18
        166:8
                                     10 173:13                  Matt 157:20
       locations 62:1,25 64:9
                                    mail 151:23                 matter 79:16 91:15 92:19
        96:7 161:11
                                    maintenance 140:21           109:13 133:2 138:10,11,
       lock 145:22 165:20                                        14 167:13
                                    majority 15:6 65:19,23,25
       locks 164:12
                                     173:11                     MATTHEWS 53:4 80:17,
       long 12:18,21 19:25 20:5                                  20 114:3 129:23 137:13
                                    make 38:21 58:25 65:24
        21:9 22:7,13 24:2 26:15                                  141:14 156:1 173:1
                                     67:18 68:10,12 69:24
        40:21 52:3 54:4 67:24                                    176:7,10 182:7,12
                                     70:12,19 74:20 82:1
        75:19 80:2 126:12
                                     90:20 100:11 103:9         Mcconnell 101:22 140:1,
       longer 16:20 77:1 86:19       109:19 124:19 128:25        2,9 143:15,17 144:15
        87:4 96:9 119:25 121:10      142:2 146:15 149:19         145:4 161:22,24 162:6
        147:10 150:14,18 151:4,      157:19 159:20 161:10,16     165:18,23 166:13,21
        5,18 169:8,9                 167:19 172:15              Mcdonnell 101:22
       looked 118:5 162:8           maker 47:4                  MD 93:13
       loop 152:25                  making 96:13 97:7 115:22    meaning 48:17 121:10
       losing 26:14,15              malpractice 100:1           means 36:4 43:9 44:3
       lot 62:13 76:10,13,14 86:2   manage 46:23                 69:25 80:18 120:12
        87:23 89:1 96:19,20                                      135:20
                                    managed 23:12 28:9 60:2
        105:17 143:1
                                     102:12 103:1,12 106:2      meant 96:23
       LP 79:1 177:14,17 178:7
                                    management 23:23 49:13      Med 18:1,3,4,8,15 19:3,24
       Lymphedema 72:22,24           102:25                      20:19 21:16 22:16
        141:6,12,13 142:1,25
                                    manager 23:9,11 24:3,11,    medical 9:22,24 11:24,25
        143:6,7,8,11 155:14
                                     20 28:16 65:24 106:20,23    17:13 20:11,23,24 21:1,4,
        168:10 169:13                                            14,15 22:8,11,13,17
                                    managers 23:12
       Lymphedema's 155:14                                       29:25 30:6 49:16,20 59:4
                                    managing 23:10,11 24:14      77:6 94:7 102:25 105:15,
                      M              28:15 173:12                18 107:5 158:23
                                    manner 6:10                 medication 41:4
       M-C-C-O-N-N-E-L-L
                                    manufacturing 77:5          medicine 9:25 10:2,12
        101:22
                                                                 27:8 32:9 62:2
                                    March 51:24 126:18
       M-E-D 18:3
                                                                meet 76:11,18 77:6 96:14
                                    Marcia 28:12 29:4
       M-I-C-H-A-E-L 7:12                                        100:9 128:11
                                    marked 8:10 33:8 40:8
       M-I-C-H-E-L-L-E 7:14                                     meeting 57:9,13 76:14
                                     41:22 50:7,8 53:10 60:21
       M-I-N-H 7:6                                               170:9,15 173:9,11,14,15,
                                     67:20 72:13,15 73:10,11
                                                                 17,25 174:2
                                     74:13,16 102:9,10 109:3,


      888-893-3767                                                  TRUSTEE1960-051986
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 64 of 76
TRUSTEE1960-051987                      Huong Le Nguyen              s Index: meetings..nonsuit
       meetings 57:8,14 58:1,7,    MOB 180:1,18,20 181:1
        11                                                                   N
                                   modification 40:5,6 112:8
       Melissa 21:8,9,11 25:11,     113:19
                                                               N-G-U-Y-E-N 6:17 7:6,14
        17,18                      modifications 52:14
                                                               named 28:13
       member 23:10,15,17           54:12 112:6,25 113:14
        27:20                       117:19                     names 7:11 14:16
       members 18:12 23:13         modified 118:11             native 170:21
        27:3 30:19                                             nature 60:4
                                   Monday 164:11 181:24
       membership 30:12                                        nay 39:14
                                   money 26:14,15 61:16
       Memorial 22:11 24:5          83:8 88:18 97:2,4,8        necessitated 76:6
        94:24                       100:18,20,23 101:5
                                    132:4,5,7,14,15,16         needed 35:11,25 37:17
       mentioned 142:25                                         72:8
                                    133:14,18,21 134:3
       messages 164:22 167:17       135:2,3,10,22 138:23       negatively 107:12 172:11
       messenger 118:25             139:1 148:23 154:15,17
                                                               network 103:4,5,8,14,23
                                    161:22 168:11 175:6,18
       met 50:1 99:18 159:12                                    104:5,7,20,24 105:3,4,6,
                                    178:10
                                                                13,14,16,17 107:4,9,10,
       Michael 7:12,18 78:25       monies 46:7 154:13           14,21,25 108:3
       Michelle 7:14,24 25:15      Montgomery 10:15            Nguyen 5:1 6:16 7:6,12,
        78:25
                                   month 91:22 99:25 100:4      14,18,24 8:5 14:14,15,16,
       mid 25:6 26:21,23            149:15,17 159:21            22,25 15:4,10,24 16:6
       million 89:7,25 100:22                                   17:3 42:2 48:10,18 51:14
                                   month's 100:6                57:1,4 58:11 65:17,18
        101:12,13,15,18,23
                                   month-to-month 60:10,11      66:10 76:11 78:19,25
       million-something 89:6                                   79:1 93:13 96:16 171:1,
                                   monthly 149:20
       mind 81:5 181:22                                         14 172:3 173:10,17 183:2
                                   months 22:4 79:25 104:9,
       mine 163:13                                             Nguyen's 15:16,19
                                    12,13 105:2,15 108:7,8,9
       Minh 7:6 93:12                                          nice 8:24 122:17 133:23
                                   Moran 168:13 169:16
                                                                150:4 164:9 181:23 182:1
       minute 9:3 68:23 89:11      morning 111:11,14
        91:14 92:10 115:25 133:8                               night 145:19
                                    118:16 163:22 164:11
        136:9 155:2                                            nodding 107:12 172:11
                                   mortgage 36:12 37:4 38:3
       minutes 57:13,14,21 58:1,                               non-suit 78:11,12
        3,11,14,16 170:16          move 25:11 38:20 49:8
                                    136:22 154:25 155:2        nonpayment 42:16
       miscellaneous 179:25         169:19                     nonprofit 84:18 94:13,15,
       mistake 118:16,17,19        moved 123:5 169:18,21        17,20,21,22,23 95:1
        119:2                       179:21                      106:19 148:4
       misunderstood 80:15         moving 123:6                Nonprofits 106:19
       mitigate 133:22             multiple 167:1              Nonresponsive 28:24
       mixed 10:18                                              63:12 69:13
                                                               nonsuit 180:5


      888-893-3767                                                 TRUSTEE1960-051987
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 65 of 76
TRUSTEE1960-051988                       Huong Le Nguyen                s Index: North..originally
       North 30:8,14,22,25         OB-GYN 49:12                  139:18 140:20 143:25
        31:10,13,16 32:4,16        object 94:4 122:6            occupied 49:11 64:14
        73:17,19 74:1 102:22                                     66:22 67:7 123:7 124:18
        107:24 108:1               objected 163:2 169:3
                                                                 162:24
                                    171:5
       Northwest 109:24                                         occupy 48:21 49:18 98:14
                                   objection 19:4,13 20:10,
       note 58:19,20,22 59:1                                     123:25 124:20 135:20,21,
                                    13,20 24:9 28:24 29:14
                                                                 22 148:8 155:13 168:25
       notes 57:8 58:4,10           31:20 35:2,12 36:2 37:3,
                                    15,19 39:15 42:5,10         occupying 59:25 64:4,10,
       notice 9:5 42:15 78:10,12
                                    43:10,14 44:25 45:6,18       11 69:22 123:17
        119:21 120:9,10 121:19
                                    46:10 49:2,4 53:24 55:10
        122:20 124:1                                            occur 131:17 151:17
                                    58:13 59:8 63:12 66:17,
       notices 42:16 108:18         24 67:4,10,15,22,23 68:2    occurred 139:10 162:13
        143:1                       69:13 82:24 83:1 89:19      October 110:11,12 114:11
       notification 81:16 125:15    91:1 92:7 120:20 121:1,2,    118:10
        140:17 142:6 146:2          23,24 122:10 124:24
                                    125:17 129:10 130:5,8,      offer 168:22
       notify 142:5                 12,14 132:20 133:1,4        office 96:11 154:5 166:13,
       November 26:11 161:5         136:16,21 139:21 141:11,     18 167:11,14,15
        173:4,6,7 174:3 176:1,20    20 142:4 149:3,12 153:10
                                                                officer 108:16
        177:4 179:1 180:10,22       156:24 177:3,6 180:13
                                                                offices 18:15 49:16
       null 38:6                   obligate 90:15 133:11
                                                                 144:21
                                    179:10
       number 32:21,23,25 41:7                                  oncology 169:15
        43:3 45:8 52:24 53:8,10    obligated 67:12 68:10
        73:12,15 74:14 82:22        91:25 92:4,13,20 123:9      ongoing 27:1
        93:5 98:3 100:7 114:5,9     125:5 133:21 146:20,24      online 18:18
        118:9 119:5 121:17          147:4 150:21 151:12
        130:20 144:10 156:18        162:20                      open 26:24 93:25 167:14
        158:20,21 160:6,7,9        obligation 76:17 77:7        opened 26:18,20
        162:23 163:11 166:9,11      96:14 112:21 120:18         opening 20:19
        168:21 169:24 170:12,13     124:22,23 129:1 150:19,
        171:2,15,19 174:11                                      operate 69:23 83:18
                                    20 153:7 159:15 162:16,
        175:25 181:3                                             88:23,24
                                    22
       numbered 103:18                                          operates 31:10
                                   obligations 44:14,19 46:7
       numbers 39:18 51:7           48:2 52:10 67:19 76:16,     operation 28:22 36:13
        176:24                      19 77:8 79:12 88:1 90:25     37:5
                                    93:11 117:14 118:11         opinion 108:6 135:12
       numeral 82:8
                                    120:15,17 121:4,13,15,18
                                    123:3,20 124:12,14          order 85:14 148:21
                      O             149:19 151:14 153:4         organization 84:19 94:13,
                                    159:16 162:17                16
       Oak 12:10,11,14,18,22,25
        31:6 78:24 79:6,7,13       obtain 69:1,2 71:17 72:4     original 41:25 57:18
        98:7,13,23 175:10,12        73:24 106:13                 114:4,9,20
        177:13,14,17,21,24 178:7   occasion 53:18 59:3          originally 9:7 12:8 13:6


      888-893-3767                                                  TRUSTEE1960-051988
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 66 of 76
TRUSTEE1960-051989                        Huong Le Nguyen             s Index: orthopedic..PDFS
         20:2 21:25 28:4 34:19      pages 51:6                  Patricia 101:21 140:1,2,9
         62:8                                                    142:24 143:15 144:15
                                    paid 77:11 87:12,13
                                                                 145:4 161:1,20 165:17,23
       orthopedic 169:17             100:18,19 102:3,5,6
                                                                 170:4 172:24 176:25
                                     120:17 132:4,5 135:22,23
       outstanding 131:15,24                                     178:9,10 181:13
                                     139:5 140:4 142:3,10,15,
       overhead 97:19                16,17,25 143:11 146:15,    Patricia's 145:2
       owe 77:11 135:14 175:16       23 147:2,4,8 148:24        pause 67:1
                                     149:5 151:14 153:4
       owed 46:7 89:9 90:1           159:16,18 160:20,23        pay 21:18 61:16 87:11,19,
        131:13,15,24 136:15          165:10,20 172:19 175:7      21,25 89:8,10,22 90:1,4,
        168:11 175:11,13,20          178:11,15                   12 92:13 97:3,5 98:13,21,
        176:21 177:12,18 178:7                                   22 102:6 103:13,22 104:8
                                    pain 49:12
       owing 67:13 120:24 174:8                                  122:13,14,16,19 134:17,
                                    Palmer 8:6 109:16            18,20,22,23 136:12,14
       owned 12:11,13 14:22                                      138:8,18,23 139:14,16
        27:15 28:5,8 58:20 65:15    paper 33:24 78:15
                                                                 140:21,24 142:7 143:6,7,
        67:6 83:17 103:9 105:23     papers 78:14                 10,20 144:1,3,5 146:20,
        155:18 160:14 168:23                                     24 147:5 149:4,10 150:1,
                                    paragraph 34:6 36:6 38:2
        177:19,22,23                                             6 152:15,16 159:13,14,15
                                     42:14 43:2 52:7 54:23
       owner 13:11 14:10,13          61:5,7 83:4,23 112:17       161:25 162:9,18,19,20,22
        78:25 98:10,24               116:11 130:19 131:6,16      167:25 172:16 177:14,17,
                                     157:2                       22 179:16,19
       owners 13:5
                                    Parkway 74:23 98:17         payable 176:4
       ownership 13:7 18:4,7
        82:14 106:14                 158:6 176:2 178:2          paying 91:9 92:18 97:10,
                                    part 64:8,13 93:11 103:6     12 105:13 136:23 137:3
       owns 29:18 30:8,10 32:1
                                     105:22,24 107:18 142:9      142:1 143:18 147:1 149:7
        84:17,18 94:14,15 105:18
                                     175:2                       153:1
        106:15 165:7
                                    parties 8:7 45:11 72:3      payment 48:6 68:12 69:24
                      P              165:6                       70:12 88:3 90:20,21
                                                                 91:15 97:7 101:17
                                    partner 65:24 173:12         131:13,14,21 170:3
       p.m. 71:3 159:25 181:18
        182:13                      partnership 30:10           payments 58:25 67:19
       PA 17:8 24:12,15 34:9        party 119:24                 68:10,15 70:20 91:25
        36:9 58:1 60:11 61:2 67:6                                92:4,20,21 126:4 137:16
                                    passed 97:19 139:19
        69:21 73:1,4,7 75:2 86:9,                                139:12 140:3 149:1,19,20
                                    passing 146:7 181:21         160:10,14,16 161:10,16,
        19,21,22,24,25 87:15
        89:4 91:21 94:6,10 95:6,    past 72:2 75:16 77:22        19 169:24 170:1,2 172:16
        25 96:24 97:3,11,12,18       79:12                       178:20,24 179:6
        99:4,16 102:17 106:13,24    patient 26:7 83:20,21       payroll 21:18 25:13 76:12,
        109:23 117:3,12,14 123:9     84:12,14,15 85:1 106:9      14,19,20,21,23 77:1
        150:16 151:9 154:13,15,      107:5 150:16 154:8,21       87:23 100:1,9,11
        19,20 169:9 173:9,18
                                    patients 26:4,6 27:6,8,9,   pays 139:2
        174:4 177:18
                                     11 87:4 96:5,6,10 148:1    PDFS 170:23
       PA's 66:21 88:12



      888-893-3767                                                  TRUSTEE1960-051989
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 67 of 76
TRUSTEE1960-051990                        Huong Le Nguyen              s Index: penalties..practice
       penalties 174:7              physician 12:16 18:24        positions 21:16 29:1
                                     30:2 32:8 60:2 83:6
       pending 180:4,6,19,20,23,                                 POYSER 68:2 98:1 108:21
                                     84:15,16,17 85:2,3,11
        25                                                        119:3,9 130:21,23 182:3
                                     86:22 94:11,12,14,19
       people 24:24 47:7 49:7,8      95:4,7,9,12,20,22 96:12,    practice 10:8,25 11:1,2
        94:8 151:22 153:7,9          18,21,22,25 97:1,2,4,5,10    12:10,11,15,19,23,25
        154:10 164:11                100:1 102:16 105:16,20,      13:1,4,12,19,25 14:6,10,
                                     21 106:4,13,14,17,23         17,22 15:1,4,7,11,17,24
       percent 13:22 14:10,25
                                     107:6,7 147:13,25 148:7      16:20,22,24 17:8,11 20:3,
        15:4 30:17,22 65:25 66:4
                                     154:3,21 177:21              5 21:12 22:11 23:1 24:4,
        82:13,15 83:13,15,22
                                                                  12,15,17,19 25:9,12,20,
        84:1,2 85:17 112:4          physicians 13:2 73:17,19      25 26:4,5 27:11,15,17
        113:20 114:24 129:17,20      74:1 76:10 78:24 79:5,7,     28:3 32:9 34:9,23 36:9
        176:1,20                     12 84:18 95:5 98:7,13,23     49:12,13,14 51:10 53:19
       percentage 148:19             147:14 154:12,17,20          54:6 56:22 57:15,25
                                     175:9,12 177:13,14,17,
       perform 96:13                                              59:12,23 60:1,11,15 61:2,
                                     21,23 178:7                  20 62:25 63:15 65:9,15,
       period 25:1,6 85:17,20       place 93:21 153:7,12,25       22 66:6,11,21 67:6,16,18
       perjury 174:7                                              68:12 69:5,21 70:13
                                    plays 152:12
                                                                  71:17,25 72:22 73:1,4,7,
       permission 63:6 106:24       pleading 122:1,3              17,23 74:10 75:2,15
        107:11 114:21 168:25
                                    pledge 36:12 37:5 38:3        76:11,12,15,25 77:13
       person 13:17 28:18 36:15                                   78:16,17 79:8,22 81:18
        117:1 132:10 140:3          pledged 82:17                 83:6,18 84:5,9,22 85:3,4,
        143:14 144:24 147:22        PLLC 137:23 138:1,2,13,       13,14,19 86:1,9,11,19,21,
        160:10 162:24 171:22         18                           24,25 87:15,18 88:7,11,
       personal 100:18,19                                         19,25 89:4,21 90:13 91:6,
                                    point 6:1 15:3 49:6,7
        138:19 145:24                                             21 92:24 93:2 94:6,10
                                     54:14,15 58:12 91:25
                                                                  95:6,9,25 96:14,24 97:3,
       personally 101:14 123:15      93:1,18,24 97:11 116:24
                                                                  5,8,9,11,12,18 99:4,16,19
        128:3,5 136:23 137:3,25      129:4 133:12 148:25
                                                                  100:2,16,21,22,24 101:6
        157:15 171:11                150:5 151:25 152:22
                                                                  102:16,17 103:6,10
                                     153:6 155:12 156:15
       pharmaceutical 25:25                                       105:7,8,24 106:13,24
                                     170:24 182:10
                                                                  109:23 117:2,12,14
       pharmacist 27:24 28:10,      pointed 81:8 113:20           121:10 123:9 127:7,15
        11,15,19 29:7
                                    points 15:6 66:21 67:6        128:1,9,24 131:11 132:13
       pharmacists 29:1                                           134:22 135:21 139:9
                                    policy 101:23,25 102:1,2,     140:4 141:21,22 142:17
       pharmacy 25:20,22,23,24       7
        26:1,8,10,13,14,15,18,20,                                 143:23 146:20,23 147:10,
        23 27:1,14,16,18,21 28:3,   Porter 136:23 137:16          12,15,24 148:6 150:7,8,
        5,8,9,20 29:9 158:15,16      138:2 139:1                  16,21 151:9,11 152:16,24
        159:3,6                                                   153:1,11,13,23 154:3,8,9,
                                    portion 12:23 14:6 15:16
                                                                  12,22 155:10 156:7,12
       phone 83:21                   16:21 37:18 38:4
                                                                  157:1 159:19 162:18,19
       physical 107:14              portions 38:13 91:9           168:20 169:9 172:18
                                    position 21:18 23:20          173:2,9,18 174:4 177:18
       physically 150:23
                                     66:21 120:11 121:6 145:3


      888-893-3767                                                   TRUSTEE1960-051990
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 68 of 76
TRUSTEE1960-051991                      Huong Le Nguyen               s Index: Practice's..quote
       Practice's 24:7 49:20       privileges 32:11,13,14,16   purport 61:17
        130:1,11 149:18 150:18     problem 126:11 153:17       purpose 24:18,21
        151:6 168:24 170:7,8
                                   problems 126:13,16          pursuant 9:1 71:16 90:7
       practices 12:6 124:19        127:4,25 128:10,15,20       97:22 175:16
       practicing 27:8 30:2,3      proceed 43:23 44:5 45:4,5   pursue 45:9,10 48:11
        62:2
                                   proceeding 16:19            put 11:15 17:8 33:24 58:4
       precipitating 76:9                                       68:13 107:8,10 108:23,
                                   produce 163:12,16,17
       premise 151:5                                            24,25 109:2 132:24
                                    168:4,6,19 169:4 170:15,
                                                                135:16 136:13 154:4
       premises 36:14 37:8,18       17
                                                                174:3,6 181:11,14
        38:5 121:11 147:20,23      produced 137:16 160:5
        150:9,10,11,12,22,23                                   puts 179:5
                                    163:6,15 171:1 172:13,14
        151:1,4,10,22 158:5,23
        159:1,2 160:12,21,24       producer 96:18
                                                                             Q
        162:1,24 167:22,23         promises 52:17
        168:25 169:9                                           Q-U-O-C 13:15
                                   pronounced 164:2
       prepare 40:22 61:9,14                                   question 5:20,22 6:3,4
        62:14,17                   proper 120:9
                                                                20:14 23:4 28:23,25 31:2
       prepared 61:12 62:5,7,18    property 178:1               35:7 39:8,9 41:3 43:15,
        74:10 75:22 76:7           prospective 56:5             16,19 44:18 47:13 55:18,
                                                                24 56:6 63:11,13 64:2,3
       prescription 26:2           protest 42:15,16
                                                                66:13 68:3,6 71:23 88:10
       prescriptions 26:6 27:12    provide 8:24 32:3 95:5       89:25 92:3,12 93:4 94:2,3
       present 58:4,10 158:19       103:3 119:21 127:6 128:7    106:11 113:11 116:2
        160:13 163:1 169:2         provided 36:17               126:1 127:8,21 128:18
                                                                131:20 137:2 148:15
       presented 74:11,19          Providence 30:8,14,22,25     162:3 173:21
       presentment 42:15            31:9,13,16 32:4,15
                                    102:22 107:23,25 108:1     questioning 6:3 71:19
       president 38:12 51:9                                    questions 5:16 6:8 19:7,
        149:21 157:2               providing 8:25 97:13
                                    120:9                       21 55:12 67:24 86:3
       pretty 11:22 181:16                                      181:20
                                   provision 37:1 42:20,22,
       previous 75:5 107:22         24 43:12 82:1,2,3 149:1    quick 93:4 159:22
       price 61:23                 pull 176:25                 Quickbooks 176:25
                                                                178:13
       primarily 149:16            pulled 163:18 178:12
                                                               quicker 86:2
       primary 10:25 43:4          purchase 60:25 61:23
        169:15                      62:9,20 63:9 64:17 69:22   quit 97:10
       prior 8:15 24:7 33:12        71:8,9 82:22 83:19 84:5,   Quoc 13:13,24 14:2,9,21,
        36:16 38:5 41:1 99:12       24 86:10 106:1 117:12       24 15:3 16:3,4,8,10,15
        168:7 179:22                130:25 145:17 158:9         42:2 48:10,19 53:19
                                   purchased 84:24 117:8        57:20 58:12 112:2 114:22
       privilege 43:16
                                                                115:4 116:17 117:5,13
       privileged 38:22,23 45:21   purchaser 56:5 62:23
                                    68:22,25 69:7              quote 83:19
        55:14,19,23 137:7

      888-893-3767                                                 TRUSTEE1960-051991
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 69 of 76
TRUSTEE1960-051992                       Huong Le Nguyen               s Index: radiologist..reply
                                   received 78:12 131:14,21    remain 88:11 117:13
                      R             132:16 135:10 139:19        120:18
                                    140:4 145:10,19 146:11     remained 67:12 84:4,6
       radiologist 12:3 30:3        160:12,14 163:21,23         123:9,14
       radiology 22:25 29:18        165:14
                                                               remaining 79:22 120:23
       rate 102:4                  receiving 135:13 139:12      121:3 156:11
                                    160:16
       Ravi 164:16 165:2,3                                     remedies 45:9
                                   recess 71:3 159:25
       Rayford 21:3                 181:18                     remedy 43:24
       reach 131:10                Recessed 182:13             remember 11:8,13,19
       reached 129:25 131:22                                    12:20 13:10,21 14:3,20
                                   recommending 27:10           15:14,15 22:3,6,16 24:13,
       read 36:5,20 38:17,19       record 6:15 7:17 22:5        14 26:21,22 28:1,6,7
        39:5,9 42:7,9,11 50:17      33:2 71:2 73:13 74:15       30:16 40:21 42:13 46:15,
        93:22 113:13 118:7          106:7 107:5 129:21 173:4    19 48:23 49:1,6,9,15
        148:19 164:12                                           50:1,2 52:2 53:15 57:3,7,
                                   records 88:7 105:15,18
       reading 39:11 68:24                                      12,21 59:2,9 62:4 74:12
        114:17                     recover 48:17,18             78:2,7,13,15 79:24,25
                                   Red 12:10,11,14,18,22,25     88:4 127:23 128:5,21
       reads 39:7 47:5,21
                                    31:6 78:24 79:6,7,13        139:13 140:15 162:2,4,
       ready 40:12,18               98:7,13,23 175:10,12        15,21 173:5
       real 177:11 178:1            177:13,14,17,21,24 178:7   remove 114:22 119:5,8,10
       realize 66:3                reference 80:18             removed 112:2 118:1,2,8,
       reason 17:14 63:8 81:5      reflects 53:23               18,20,23,24
        92:19 99:21 109:18 145:7   regard 41:7 42:4 46:25      renew 45:23 63:25 108:8
        164:21 165:13,14 168:6      123:15 160:11              renewing 128:13,14
        183:3
                                   reinstate 11:5,10           rent 70:12 77:6,7,8,10,11,
       reasons 96:15
                                   reissue 16:11,12             22 96:14 97:3,6 128:25
       recall 5:14 8:25 14:2,19                                 132:3 133:15,17,18
        15:13 49:10,24 51:25       reissued 16:14               142:12,20,22 145:24
        53:18 60:14 71:19,20       relate 171:16                146:2,11,15,18,19 147:2,
        78:4 108:19 112:6 140:14                                4 149:5,7,10,11 150:1
                                   related 6:22,24 82:18
        160:16 161:24 162:12,14,                                160:10,17 165:20 167:19,
        17 169:7                   relating 118:22 171:22       25 170:8 175:10,18
       receipt 88:11               relation 171:17              176:1,20 178:15,16,19,24
                                                                179:6
       receivable 84:8 174:15,25   relationship 13:17
        175:5,14,20                                            repeat 39:12 68:4
                                   relative 27:20
       receivables 89:2,3                                      rephrase 5:21 23:16
                                   release 148:18
       receive 78:10 88:18                                     replace 16:8
                                   relied 115:10
        101:17 131:12 132:14                                   replaced 16:9
        134:15 135:2 138:6,7       relief 29:7 148:12,19
                                                               reply 164:10
        139:1 154:11,13            relying 116:14


      888-893-3767                                                 TRUSTEE1960-051992
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 70 of 76
TRUSTEE1960-051993                      Huong Le Nguyen                   s Index: report..send
       report 143:17              responses 160:2             rug 84:10
       reporter 5:16 6:9 13:14    responsibilities 124:12     rules 125:25
        50:11 125:23 156:18,20    responsible 56:3 67:21      rumor 96:20
       represent 5:5,7 132:16      68:15 91:15 120:24         run 85:10,12 100:3 106:19
        175:5,6                    142:11,14 143:11 149:16
                                   156:11,13                  running 104:20
       representation 74:20
        115:10                    responsive 163:3            runs 23:8 31:9
       representations 56:4,21    Responsiveness 39:15        rush 76:5,6
                                   42:10                      Ryan 145:21 146:16
       representative 63:20
        71:17 128:19 145:11       rest 181:19                  164:16 165:4,5
       represented 117:18         restroom 6:2
        132:21                                                               S
                                  retail 26:1
       representing 54:20 138:2                               salary 101:1
                                  retained 103:6
       represents 132:17                                      sale 69:15 93:1 121:12
                                  retire 11:3,4,9,11 96:3
       request 103:23 127:6                                    156:9 158:16 159:6 170:8
                                  retired 11:14 12:16
       requested 53:19 56:20                                  satisfy 90:3,5 99:25
                                  revenue 154:11
        148:11,12                                             schedule 175:17 177:7,9
                                  revenues 96:23
       requesting 148:17                                       178:12 181:12,14 182:5
                                  review 35:3,13 41:1 46:24
       required 45:9 58:14                                    schedules 174:7
                                   55:5 111:16,19 113:7
        106:24 119:21 120:10                                  school 9:22,24 11:24,25
        142:10                    revolves 49:8
                                                               29:25 30:6 44:10 59:4
       requirements 121:20        revolving 49:9,14
                                                              search 157:18,21,24
       reschedule 181:23          rheumatology 169:13          158:1 163:7
       research 49:13             Rice 9:16,19 10:19          secretary 58:7
       reserve 181:19             right-hand 174:25           security 45:10
       reside 8:5 109:16          rights 93:11                seek 100:10,13
       residence 8:8              Road 21:3                   seeking 59:19
       residency 10:5,7,11,12,    Robin 5:5                   segregated 138:5
        14,16,20,21 11:23 12:9    robust 105:17               select 48:11
        30:4
                                  Roman 82:7                  sell 12:23 63:14 64:6 66:1,
       resigned 28:13                                          14 81:17 82:11 83:24,25
                                  room 17:21 20:22,23,25
       resources 21:6              21:1,5,15 22:14 49:6        104:24 153:23
       respiratory 169:12          105:10 166:15,24 167:1     Seller 93:10,12
       responding 156:25          rooms 17:22 18:21           selling 24:7 64:8 65:1,20,
                                  route 108:2                  21 96:16 99:12 129:8,11,
       response 8:25 74:19 94:4
                                                               15,17
        136:16,21 163:3           rows 116:23
                                                              send 26:5 27:11 109:20


      888-893-3767                                                TRUSTEE1960-051993
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 71 of 76
TRUSTEE1960-051994                        Huong Le Nguyen                   s Index: sending..staff
         124:15 125:9 127:16,18,    short 25:6                   six-month 132:17
         21 151:15,16,18,19         show 8:13 32:18 33:1,7       small 38:3 167:8
         152:3,4,23,24               40:7 50:8 53:9 72:12        Smith 28:12
       sending 27:6,14               73:11 74:13 81:9 102:10
                                     109:4 124:21,22 127:14      sold 22:10,19 24:4 27:2
       sense 125:1,3,7,11 136:2,
                                     137:11,16 144:9 163:6        48:25 73:7 79:23 81:21
        3
                                     164:11 174:10                95:24 100:5 129:20
       sentence 93:10                                             150:12,17 151:6 153:11
                                    shown 34:10
       separate 12:6                                             solution 147:7
                                    side 174:24 178:6
       separately 44:7                                           somebody's 107:9
                                    sign 44:16,17 47:21,22
       September 25:10,14            51:9 55:6 62:24 63:5 65:8   son 7:19
        48:25 49:18 61:8 64:25       68:16,19,22,25 69:8,11,     sort 96:19
        65:22 66:14 74:8 76:6,16,    25 70:1,8,9 109:22
        22 86:1 91:23,24 95:25       110:22 113:9 115:4          sought 59:6
        102:13 121:11 129:3          141:18                      sound 46:22
        139:11 150:24 151:2,10
                                    signatory 106:6              space 47:25 59:11 64:10
        154:16 160:18,24 163:4
        169:5 177:11 178:1          signature 41:10,12 51:2       67:7 98:14 145:22 147:9,
                                     52:2 54:1,7 74:11 75:23      14 179:12
       series 5:11 82:18
                                     116:8,17 183:1              spaces 179:22
       serve 125:21
                                    signatures 34:8 51:12        speak 7:16
       served 78:13,15
                                    signed 34:25 35:11 37:2      speakers 92:8 123:12
       server 105:9,11,23 106:8      39:6 42:8,12 44:15,20        133:7 136:7 155:25
       servers 107:15                45:13 46:14,25 54:10
                                                                 specialty 10:5 25:23
                                     55:3 57:1 62:10 63:9
       Service 102:12 103:2                                       26:25 27:3,7,13,15,21
                                     64:20,21 68:17 70:3,5
        106:3                                                     28:5,20,21 158:16
                                     76:2,7 86:9 91:3 93:22
       services 97:13 102:25         108:16 113:3,5,6 115:15     specific 25:24 118:7
        136:24 138:6,19              116:22,24,25 117:2,18       specifically 90:6
       set 52:19                    significant 29:13            spell 18:2
       setting 15:22 16:19          signing 51:25 54:17 57:5     spelled 13:14
                                     116:22
       settlement 129:25 131:10,                                 Spring 21:3 27:19 77:14
        12,14,22 171:19             similar 60:3 168:22           78:22,23 79:3,12 98:9,11,
       severally 113:21             simultaneous 92:8             15,24 99:8 166:4,7
                                     123:12 133:7 136:7           175:10 177:24
       share 65:19
                                     155:25                      Stacy 19:22,23 23:20
       shareholder 15:7 24:12
                                    single 82:17 136:15           25:11,15 58:4,6,9 61:13
        65:24 173:12                                              62:7,10,15 75:11,24
                                    sit 42:24 48:24 79:11
       shareholders 16:24 17:7                                    93:20 99:18 108:12,13
                                     83:20 113:10 148:25
        58:2 174:1                                                140:8 144:20 163:18
                                    sitting 105:9,18,23           164:5 165:17
       shares 15:19,25 117:8
                                    situation 146:5              staff 17:21 18:21 19:18,21
       shift 18:25 19:1
                                                                  20:22 23:24,25 25:11,13

      888-893-3767                                                   TRUSTEE1960-051994
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 72 of 76
TRUSTEE1960-051995                         Huong Le Nguyen                  s Index: staffing..Syed
         31:15 32:11,13,16 46:2      stock 15:19,25 16:10,11,     subtenants 139:19
         58:3 128:4 142:5,7 151:1,    12,14 101:3 117:9,14         140:21 142:21 143:17
         13                                                        144:5 160:15,17 168:1
                                     stop 25:8 123:17
                                                                   169:8 179:15,19,21
       staffing 24:21 31:15,17       stopped 27:8 96:4,6 97:7
        88:20 94:10                                               sudden 78:9
                                      101:7,10 105:13 123:18
       staffs 17:22                                               suddenly 66:3
                                     straight 97:16
       stand 102:24 145:7                                         sue 78:16 79:13 125:14
                                     straits 100:16,17
                                                                   132:7 136:13 137:24
       staple 33:22                  strike 48:14 73:5             143:8
       stapled 72:11                 stuck 81:5                   sued 47:8,14 77:18,21
       stapler 33:21                                               78:13 79:5,19 125:13,18,
                                     stuff 104:2 107:16 150:12,
       start 19:11 25:2 63:14         14,18 170:23 181:25          19 138:1 159:13
        94:19 134:7 139:8,10                                      suing 112:1 113:18
                                     sublease 37:10,13 62:24
        175:24 182:10                                              117:24 120:4,6 133:13
                                      63:7,9 65:3,6 66:16,18,19
       started 29:21 94:21,22         68:17 70:4,7 71:18,25        134:18,19,25 171:14
        95:1                          72:3,5,7,21 73:16,25        suit 6:23 169:25
                                      74:2,4,10,22 75:1,5,22
       starting 126:14 174:24                                     suite 27:16 109:24
                                      89:11 91:3,18 97:22,23
       starts 36:8 175:24                                          166:13,16,17,21,23,25
                                      98:12 99:6 122:12 141:5
                                                                   167:1,3,4,6,8,11,13
       state 6:14 103:16              143:8 149:17 168:13
                                      169:16,22                   suites 167:2
       statement 15:8,23 16:2
        28:21 30:23 49:3 62:4        subleased 123:10             super 65:25
        97:20 110:19 113:10          subleases 99:9 141:3,9,      supplier 97:6
        115:21 124:9 126:16,22        23 152:17                   supplies 85:10
        130:6 140:5 159:20
                                     subleasing 64:18 66:18
        166:22                                                    supply 25:24 77:5,6 83:7,
                                     sublet 36:14 37:8,17          14 85:5 87:24
       statements 55:21 56:3
                                      38:12 168:22
        115:23 116:13,14 170:5,9                                  supposed 18:20 69:2
                                     subletting 38:4               89:10 98:22 103:13
       states 9:7,11 43:3 131:16
                                                                   123:14 135:16 139:14
                                     subpoena 8:23 9:1 74:19
       status 11:16 22:1,2 54:15                                   147:22 152:10
                                      160:2
       stay 49:7 154:19                                           surcharge 97:13
                                     subsequently 9:22 10:9
       Stein 128:11,18 129:7          12:14 13:7,24 15:10         surety 42:17
        140:8,11 145:11 152:2,14      119:5                       surprised 123:24
        157:20 163:22
                                     substantially 66:1 81:17     suspect 178:9
       step 140:24 142:7 143:10       82:12 83:25
        152:22                                                    suspended 17:14
                                     substitute 112:3 114:22
       stepping 147:1                                             swearing 115:15
                                     subtenant 69:18,20 72:25
       steps 71:23 142:2 146:14       73:3,6,20 120:18 139:12,    swore 177:7
        147:3 149:6,13                15 140:3 142:20 150:3       SWORN 5:2
       stipulate 80:17                151:18 152:6,15 167:24
                                      168:18,20 169:4             Syed 136:10,14 152:2


      888-893-3767                                                    TRUSTEE1960-051995
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 73 of 76
TRUSTEE1960-051996                        Huong Le Nguyen                s Index: system..Tomball
         154:4 159:12 164:15         14,16 83:24 92:5 119:21,     139:14 142:11,15,16,17,
         165:7                       22 120:5 122:11,13,16,19     19,21,23 143:5 149:5
                                     123:5,11,19 124:3 127:1,     168:19 170:17 179:1
       system 84:7,8 86:8 87:14
                                     2 132:11 133:24 135:21
        104:14 105:19                                            threaten 78:9
                                     139:15 147:6,8,17 149:21
                                     152:15                      threatening 77:23 78:1
                      T                                           145:22
                                    tenant's 121:15
                                                                 throwing 40:10 50:10
       table 40:11 85:15 95:10      tenants 126:5 179:18          53:11
       tacked 97:20                 term 47:20 70:2 79:21        Thu 51:16 114:23
       takes 6:9 166:23              81:9,14 104:10 131:12
                                     134:14                      Till 176:16
       talk 6:1 38:21 124:20
                                    terminated 96:2              time 6:1 11:6 14:21 15:3,6
        145:21 163:10
                                                                   16:25 22:17 25:6 30:3
       talked 40:24 146:16          terms 35:1 41:15 71:16         36:15 37:8 39:2 46:1,7,23
        162:15                       80:25 98:19 118:11            48:19 54:14,15 57:2 59:3,
       talking 40:25 41:19 51:17    testified 5:2 29:24            23,25 60:12 63:9 64:3
        85:16 86:14,24 106:2                                       66:21 67:7 68:4 73:3,6
                                    testimony 29:10 39:5
        114:12 125:25 126:5,6                                      74:8 76:2 77:23 93:1
                                     47:17 48:15 58:6 67:5
        128:5 129:14 130:16                                        97:11 101:14 104:8
                                     68:8 135:17 138:24 139:2
                                                                   121:8,14 128:19 129:2,4,
       talks 93:5                    157:12 167:16
                                                                   13 132:18 133:3,8,20,21
       tax 161:18                   testing 24:17,22 25:6,7        135:5 140:11 141:25
                                    Texas 10:15 21:3 23:6,16,      144:5 146:10 150:15
       taxes 160:10,17,21 161:7,
                                     17,22 24:2,3,6,16,21,24       157:17 174:6
        9,10,25 162:10,15
        177:11,15,18,22,23           25:5,12 29:18 34:19,20      times 14:24 39:12
        178:1,11                     88:17,18,20 102:15,25
                                                                 timing 76:3
                                     108:16 120:11 137:23,24
       team 163:18                   138:1,2,13,18 139:3         TMMS 31:15,21,24 32:1,3
       tecum 8:23 9:1 74:20          166:7 178:3                  88:20 102:24
        160:3                       text 145:20 163:14,23        today 6:20 8:12 26:8
       telephone 84:7,21 86:8        164:22 167:17                33:12 40:20,23 41:1,5
        87:14 166:9,10                                            42:25 45:14 48:24 76:25
                                    the's 168:25
                                                                  78:2 79:11 104:15 107:19
       telling 39:2 66:19 130:3     thereof 82:15                 109:9,14 113:11 118:6,7
        153:6 155:8 156:7 167:24
                                    thick 33:24                   145:11 148:19,25 155:10
        168:11
                                                                  160:4 168:7 182:9
       tells 38:21 39:14            thing 55:5 93:20 116:1
                                     119:9 142:21 170:22         told 45:23 55:16 56:9
       ten 19:15 46:18 79:25         179:3 181:25                 63:24 65:14 68:13 112:5
        120:15,21                                                 126:10 128:12 133:22
                                    things 37:21,25 55:1          136:5,6 139:15,16 143:5
       ten-year 80:5 81:2 178:25     113:17 128:15 146:7          149:9 150:3,19 151:18
       tenant 36:8,9 43:4 44:6       165:10 169:1                 152:2,14
        45:10 46:7 48:5 50:24       thought 35:10 45:22 53:7
        54:10,17,22 56:13,22,25                                  Tomball 165:24
                                     56:9 80:5,10,14 90:17,18,
        57:5,10 73:4 81:21 82:10,    19 118:1 123:22,23

      888-893-3767                                                   TRUSTEE1960-051996
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 74 of 76
TRUSTEE1960-051997                       Huong Le Nguyen               s Index: tomorrow..Village
       tomorrow 182:5               87:12 88:22 89:10,12,17     undertake 71:24 142:2
                                    90:3,6,16 91:9 92:13,16,     149:7 151:14
       top 34:3 103:20 163:20
                                    18,23 93:1,21 94:6 97:24
        174:14,19                                               undertaken 72:4
                                    98:13,21 99:13 102:15
       toss 53:11                   103:22,24 104:5,23,24       undertook 146:14
       total 77:10,16               105:1 106:25 107:19         uneasy 96:21
                                    120:18 126:6 129:7,14,25
       training 75:20               130:10 131:11,13,23         United 9:7,11 22:11 24:5
                                    132:4,7,8 134:18,19,21       158:22
       transaction 82:18
                                    135:3,22,23 136:5,6,14      University 9:16,20
       transactions 82:18
                                    141:18 144:1,3 146:17
                                                                unknown 181:4,6
       transfer 82:11,12 83:24,     148:23 149:7,25 150:13,
         25 105:15 106:25           17 151:15 152:2,3,5         unpaid 23:20 121:13
                                    153:9,12,14,20,24 154:22     175:6
       transferred 49:25 82:17
                                    155:9,10,18 156:10          unreasonably 36:17
       trouble 126:21               158:5,14 159:7,10 165:3,
                                    5,6,7 167:19 168:18         unstable 96:21
       true 16:2 55:22 97:17
         113:3,10 115:16 130:3      169:10 174:15,22,25         users 104:1
         165:13                     175:7,15,16,21
                                                                utilize 87:19 155:8
       trustee 85:24 87:6 137:24   UMMC's 155:17
                                                                utilized 89:8 104:14 155:6
         138:1 170:10,18           unaware 142:13
                                                                utilizing 34:23 49:1 97:3
       truthful 5:22               uncured 54:21                 104:5,7 107:19
       truthfully 41:5             understand 5:6,20,22
       turn 35:15,21 38:16 39:13    23:4 30:11 31:2 35:1,5,7,                 V
        55:5 62:19 80:22 82:6,7     23 37:1,4,16 38:11 39:10,
        98:3,22 116:6 156:23        13 40:10 42:6,24 43:8       V-I-V-E-N-T-I 18:3
                                    44:3,8,10,12,19,22 45:2,
       type 41:4                                                vacated 48:24
                                    13,14,16 46:6,11 47:11
                                    48:3,7,9,16 54:9,19 56:6,   vacating 63:20
                      U             7 64:5 68:3 83:10 85:16     vaccine 87:24
                                    94:25 105:5 106:16
       Uh-huh 39:22 40:2 82:9       112:10 115:1 120:22         Valdez 28:17
        104:11 110:4 114:14         135:19 147:16 148:14        valid 52:9 112:20
        130:23 132:2 137:14         151:24 152:17,18 153:18
        156:21 157:23,25 158:2                                  valorem 160:20 161:8,10,
                                    154:24 155:16 161:4
        164:1,25 175:1                                           18,25 162:10
                                    175:16,19
       ultimately 104:24 175:11,                                variable 101:24
                                   understanding 8:11 41:8,
        12,13 176:4,21 177:12       16 42:3 46:3 68:1,11        vendor 85:6,8 87:23 97:6
        178:7                       70:2,6 83:4                  100:2
       UMMC 22:20 24:8,19          understandings 52:18         verbal 5:15
        25:9,16 27:2 28:2 48:25
                                   understood 36:22 37:12       versus 24:22 48:18
        60:2 61:3,22 63:7 68:11,
                                    44:14 46:6 56:16 69:9       Vietnam 9:10
        14 69:15 71:19,24 73:8
                                    70:3 116:21 152:5
        74:9,11 75:2,22 76:3                                    Village 110:1
        79:23 83:5 84:5 86:10


      888-893-3767                                                  TRUSTEE1960-051997
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 75 of 76
TRUSTEE1960-051998                        Huong Le Nguyen                   s Index: Viventi..Ziek
       Viventi 18:1,3,4,7,15 19:2,    25:16 28:4 29:5,9 47:10,   years 10:1 11:21 20:1,6
        24 20:11,19 21:16 22:8,       11 54:4 62:13 75:15 89:2    21:10 52:4 54:5,6 75:16
        16                            95:13 145:4,6 147:7         81:10,14 117:17 120:15,
                                      154:14,17 164:11 165:5      21 160:21
       voicemails 164:10
                                      166:3,4 167:15 182:4       yes-or-no 113:11
       void 38:6
                                     worked 12:4,8 21:11 22:7,   you-all 31:17 58:7 156:1
       voluntarily 36:13 37:5         22 27:10 28:2,7,19 89:4
       vote 17:8 65:19,25             145:8
                                                                              Z
                                     working 17:19 21:14,15
                      W               24:15 27:21,23,25 94:6     Ziek 5:4,5 7:18 8:11,22
                                      108:15 166:1                19:6,15 20:11,14,18,24
       W-2 21:20,21,22 22:1          works 19:24 144:20           24:11 28:24,25 29:16
       wait 68:23 89:11 91:14         165:18,25 166:22            31:22 32:18,19,21,24
        115:25 133:8 136:9 155:2                                  33:1,5,7,10,11,22 34:1
                                     worries 80:16
                                                                  35:4,15,18,21 36:5 37:7,
       waive 42:15                   worth 84:10,22 99:16,17      16,20 38:7,9,23 39:15,18,
       Walgreens 26:2                 100:6 178:23 179:5          21,24 40:2,5,7,19 42:7,
                                     Wound 72:23,24               10,11 43:12,17,22 45:2,8,
       walk 155:9 167:14,15
                                                                  25 46:13 49:3,10,17 50:5,
       wanted 95:13 168:8            wow 53:1                     8,13,15,20,22 51:23
       warranting 54:19              write 127:3 149:15,16        52:23 53:1,5,7,9 54:1
                                                                  55:11,15,20 56:2 57:17,
       water 40:14,17                writing 91:21
                                                                  18 58:16 59:10 60:19,23,
       website 86:12                 written 36:16 37:6 38:5      24 63:12,13,19 66:20,25
                                      118:12 119:20 123:3         67:2,5,12,17,23 68:3
       week 103:17
                                      159:11                      69:13,14 71:1,4 72:16,17,
       whatsoever 92:19                                           20 73:11,14 74:17 80:10,
                                     wrong 47:8 98:25 176:7,
       Whoever's 167:14               10                          14,22 83:1,3 86:18 89:20
                                                                  91:2 92:7,9 94:3,5 98:2,3
       Williams 19:22,23,25          wrote 127:1                  102:10 108:18,24 109:2,
        20:9,12,18 23:20 25:11,                                   4,6,8 111:4,7 114:1,4,7,
        15 58:4,6,9 61:13,14                       X              14,16 115:1 118:20
        62:7,15 75:11,12 99:18                                    119:7,12,13 120:22
        101:20 108:12,13 140:9       xiv 82:7,8                   121:2,7,9,24 122:3,7,15
        144:20 164:5 165:17                                       123:13 125:3,20,24
       Williams' 75:14                                            129:11,22,24 130:6,10,
                                                   Y
                                                                  14,19,22 131:1,3,6
       wire 151:23 172:21
                                                                  132:21 133:2,5,8 136:9,
                                     y'all 122:19 124:5 181:22
       withheld 36:17                                             16,18,21,22 137:2,11,14,
                                     yea 39:14                    15 138:12,18 139:23
       wonderful 116:5
                                     year 9:17 22:15 26:17        141:5,15,22 142:6 144:9,
       Woodlands 8:6                                              12,13 149:6,12,13 153:11
                                      102:3 125:18 161:19
       word 64:11 124:4               162:1 164:23 178:19         156:4,21,23 159:24 160:1
                                                                  163:10,20 170:19,25
       words 111:25                  year's 178:23 179:5          172:25 173:2 174:13
       work 10:22,24 19:23           yearly 101:9                 176:8,12 177:4,7 180:17


      888-893-3767                                                   TRUSTEE1960-051998
      www.lexitaslegal.com
    Case 20-35493 Document 113-40
                           112-40 Filed in TXSB on 01/09/23
                                                   01/08/23 Page 76 of 76
TRUSTEE1960-051999                   Huong Le Nguyen                        s Index: ..Ziek
         181:15,19




      888-893-3767                                            TRUSTEE1960-051999
      www.lexitaslegal.com
